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          Exhibit 1
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        David Burnett                                                                           NXP Semiconductors
                                                                                                                                    People Also Viewed
        SRAM Design and Technology                                                              University of California,
                                                                                                Berkeley
        Austin, Texas · 281 connections · Contact info                                                                                         Sue Boonyong • 3rd
                                                                                                                                               TCAD Engineer at ON Semicondu


                                                                                                                                               Robert Tu • 3rd
        Experience                                                                                                                             Senior Staff Technology and Inte
                                                                                                                                               Engineer at Global Foundries
                    SRAM Design and Technology
                    NXP Semiconductors                                                                                                         Chao Shi • 3rd
                    Aug 2018 – Present · 1 yr 1 mo
                                                                                                                                               Design Engineer at Linear Techno
                    Austin, Texas Area

                                                                                                                                               Abdigani Hussein, PMP • 3rd
                    Advanced SRAM Technology                                                                                                   Sr. PDK Developement Engineer
                    GLOBALFOUNDRIES
                    Jul 2012 – Aug 2018 · 6 yrs 2 mos
                                                                                                                                               Steve Gualandri • 3rd
                                                                                                                                               SRAM Compiler Design at NXP
                                                                                                                                               Semiconductor
                    Freescale Semiconductor
                    22 yrs
                                                                                                                                               brad garni • 3rd
                    Design Engineer                                                                                                            SRAM Design Manager at Freesc
                    2004 – Jul 2012 · 8 yrs                                                                                                    Semiconductor


                                                                                                                                               Sanjay Parihar • 3rd
                    Device Engineer
                    1990 – 2004 · 14 yrs                                                                                                       Member Technical Staff at
                                                                                                                                               GLOBALFOUNDRIES


                                                                                                                                               Karl Wimmer • 3rd
                    R&D SRAM Technology                                                                                                        Director Design Enablement
                    Motorola SPS
                    1990 – 2005 · 15 yrs                                                                                                       Bill Johnstone
                                                                                                                                               Technical Director at NXP
                                                                                                                                               Semiconductors

        Education
                                                                                                                                               Konstantin Loiko • 3rd
                    University of California, Berkeley                                                                                         Highly Accomplished Device Eng
                                                                                                                                               NVM and TCAD Expert
                    Phd, MS, Electrical Engineering & Computer Science
                    1984 – 1990
                                                                                                                                    Learn the skills David has
                    Texas A&M University
                                                                                                                                                     CMO Foundations: Wo
                    BS, Electrical Engineering
                    1980 – 1984                                                                                                                      with Leadership and B
                                                                                                                             Your connections can nowof-Directors
                                                                                                                                                      see your active
                                                                                                                             status by default. You canViewers:
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                                                                                                                             online or reachable. Learn more
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                                                                                                                                              Manage settings   Got it
                                                                                                                                                      with Tkinter
       Control what appears on your profile and if your network is notified of changes you make. View settings                                        Viewers: 11,803
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https://www.linkedin.com/in/david-j-burnett/                                                                                                                                  1/2
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          Exhibit 2
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                                                                                                    Message           More…                 1993.



       Prashant Kenkare               · 3rd                                                    Samsung Austin Research
                                                                                               Center
       Senior Director at Samsung Austin Research Center                                       Princeton University
                                                                                                                               Learn the skills Prashant has
       Austin, Texas Area · 437 connections · Contact info
                                                                                                                                                   Electronics Foundatio
                                                                                                                                                   Basic Circuits
                                                                                                                                                   Viewers: 117,097

       About                                                                                                                                       When: The Scientific S
                                                                                                                                                   of Perfect Timing (Blin
       Specialties: Custom circuit design for microprocessors;
       Low-voltage SRAM design;                                                                                                                    Summary)
       Team management and mentoring;... see more                                                                                                  Viewers: 2,917

                                                                                                                                                   Learning PCB Design w
                                                                                                                                                   OrCAD
       Experience
                                                                                                                               See more courses
                    Samsung Austin Research Center
                    8 yrs 6 mos                                                                                                  Promoted

                    Senior Director
                    Mar 2015 – Present · 4 yrs 6 mos
                    Austin, Texas Area

                                                                                                                                    Internet Expert                  Talk To Us
                    Director, Circuit Design
                                                                                                                                       Witnesses                 Personal or Busin
                    Mar 2013 – Feb 2015 · 2 yrs
                                                                                                                                  Don't use a mediocre          insurance questio
                                                                                                                                    expert. Get an elite       We're here to help

                    Senior Manager, Circuit Design                                                                              Internet IP expert for your
                                                                                                                                           case!
                    Mar 2011 – Feb 2013 · 2 yrs
                                                                                                                                       Learn more                   Learn more



                    Distinguished Member of Technical Staff
                    Freescale Semiconductor
                    2004 – Mar 2011 · 7 yrs
                    Custom Circuit Design for Networking Microprocessors;
                    Includes managing designers, providing technical leadership, and individual hands-on contributions
                    towards high-speed, power-aware design of circuits and memories.



                    Motorola
                    14 yrs

                    Senior Member of Technical Staff
                    2000 – 2004 · 4 yrs
                    Custom Circuit Design for Networking Microprocessors;
                    Includes managing designers, providing technical leadership, and individual hands-on contributions
                    towards high-speed, power-aware design of circuits and memories.


                    Embedded SRAM Design
                    1998 – 2000 · 2 yrs
                    Memory Designer for low-power microprocessors used in portable electronics                                Messaging

https://www.linkedin.com/in/prashant-kenkare-9753902/                                                                                                                        1/3
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       Education
                    Princeton University
                    MS / PhD, Electrical Engineering


                    Doctoral thesis covered radiation effects in MOS devices



                    Kettering University
                    BS, Electrical Engineering


                    Formerly General Motors Institute; Five year work-study program included cooperative work
                    experience with Delco Electronics (formerly a division of General Motors)




       Skills & Endorsements

       IC · 21
       Mangesh Kulkarni and 20 connections have given endorsements for this skill


       Circuit Design · 18
                                                                          Endorsed by 16 of Prashant’s colleagues at NXP
             Endorsed by Art Piejko, who is highly skilled at this
                                                                          acquires Freescale Semiconductor



       Semiconductors · 11
             Endorsed by Carmine Nicoletta and 2 others who               Endorsed by 10 of Prashant’s colleagues at NXP
             are highly skilled at this                                   acquires Freescale Semiconductor


                                                            Show more



       Recommendations
         Received (1)       Given (6)


                  Kent Berry                        Prashant possesses excellent management skills, and I consider
                  Virtualization Systems            him an artist at motivating his employees. He provided detailed
                  Administrator
                                                    and authentic feedback, both positive and negative, in a way that
                  January 28, 2012, Kent reported
                  directly to Prashant              left me feeling highly enthusiastic. I would seek to work for
                                                    Prashant again. Prashant has an exemplary work ethic, ... See more




                                                                                                                           Messaging

https://www.linkedin.com/in/prashant-kenkare-9753902/                                                                                                     2/3
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https://www.linkedin.com/in/prashant-kenkare-9753902/                                                                   3/3
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          Exhibit 3
8/13/2019              Case 6:19-cv-00254-ADA Document   56-3russell
                                                   (4) andrew    Filed     08/14/19 Page 9 of 175
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                                                                                                                                   CNBC ..

        andrew russell                                                                Freescale Semiconductor
                                                                                                                       People Also Viewed
        circuit designer
        Austin, Texas Area · 26 connections · Contact info                                                                        Naras Iyengar • 3rd
                                                                                                                                  SoC Manager ~ Drive All Phases
                                                                                                                                  Development of Fully Integrated
                                                                                                                                  System-on-a-Chip Products for M
                                                                                                                                  Markets
        Experience

                    circuit designer                                                                                              Tao Chen • 3rd
                    Freescale Semiconductor                                                                                       Staff Engineer at MediaTek


                                                                                                                                  Dan Brookshire • 3rd
                                                                                                                                  Managing Member at LariatIP LL

        Interests                                                                                                                 Steve Flannagan
                                                                                                                                  President at Flannagan IC Techni
                    NXP acquires Freescale Semicondu…                                                                             Services and Semiconductors
                    107,065 followers                                                                                             Consultant


                                                                                                                                  Sergio Ajuria, Ph.D. • 3rd
                                                                                                                                  Senior Program Manager at AMD


                                                                                                                                  Perry Pelley • 3rd
                                                                                                                                  Circuit Expert at Freescale


                                                                                                                                  George P. Hoekstra • 3rd
                                                                                                                                  IP Technical Consultant


                                                                                                                                  Frank Miller • 3rd
                                                                                                                                  Operations Management, PMO,
                                                                                                                                  Product Introduction, Continuou
                                                                                                                                  Improvements, Quality Enhancem
                                                                                                                                  Customer Support


                                                                                                                                  Shruti Saxena
                                                                                                                                  Physical Design Engineer at NXP
                                                                                                                                  Semiconductors


                                                                                                                                  Michael Zimin • 3rd
                                                                                                                                  Chief Engineer, HW Design and
                                                                                                                                  Architecture, Digital Networking
                                                                                                                                  Semiconductors


                                                                                                                       Learn the skills andrew has

                                                                                                                                         CMO Foundations: Wo
                                                                                                                                         with Leadership and B
                                                                                                                                         of-Directors
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                                                                                                                                         Viewers: 4,553

https://www.linkedin.com/in/andrew-russell-36067a14/                                                                                                                1/2
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                                                   (4) andrew   Filed     08/14/19 Page 10 of 175
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                                                                                                            for 1 Month

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                                                                                                     Learning PCB Design w
                                                                                                     OrCAD


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https://www.linkedin.com/in/andrew-russell-36067a14/                                                                        2/2
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           Exhibit 4
8/13/2019              Case 6:19-cv-00254-ADA Document
                                                 (4) Shayan56-3
                                                            (ZHANG)Filed
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                                                                                                                                               See jobs
       Shayan (ZHANG) Zhang                   · 3rd                                         TSMC North America

       Memory Compiler Design and Verification                                              University of Colorado
       Austin, Texas Area · 204 connections · Contact info                                                               People Also Viewed

                                                                                                                                    Shi Zhi • 3rd
                                                                                                                                    Student at University of Illinois at
       About                                                                                                                        Urbana-Champaign

       TSMC North America:                                                                                                          Hamed Ghassemi • 3rd
       Memory Compiler Design and Verification in 40nm/12nm/7nm/5nm technologies.
                                                                                                                                    Seeking opportunities
       ... see more

                                                                                                                                    Eric Pettus
                                                                                                                                    Physical Design at Apple
       Experience
                                                                                                                                    Chien-Ping Lu • 3rd
                  TSMC North America                                                                                                "The view that machines cannot
                  2 yrs 10 mos                                                                                                      rise to surprises is due, I believe,
                                                                                                                                    fallacy ..." Alan Turing
                  Technical Manager
                  Nov 2016 – Present · 2 yrs 10 mos                                                                                 George P. Hoekstra • 3rd
                  Austin, Texas Area
                                                                                                                                    IP Technical Consultant
                  Memory Compiler Design/Custom cache memory design and design verification in 12nm/7nm/5nm
                  technology.
                                                                                                                                    Huy Pham
                                                                                                                                    Compiler Memory Circuit Design
                  Technical Manager at TSMC
                  Nov 2016 – Present · 2 yrs 10 mos
                  Austin, Texas Area                                                                                                Brad Johnson • 3rd
                  Memory Compiler Design/Custom Cache memory design and verification in 12nm/7nm/5nm Finfet                         Experienced Custom Integrated C
                  technology.                                                                                                       Designer


                                                                                                                                    Tao Jiang • 3rd
                  Senior Member of the Technical Staff                                                                              IC Design, Broadcom
                  NXP Semiconductors
                  Dec 2015 – Present · 3 yrs 9 mos
                  Austin, Texas Area                                                                                                Youngmoon Choi • 3rd
                                                                                                                                    Sr. Staff Engineer at Samsung SA
                  1) Manager with integrated experiences of design, technology development and product definition.
                  2) Innovator with strategic IP portfolios and edge of competition and value to customers.
                  3) Chief designer in memory and analog circuits.                                                                  Fernando Morales • 3rd
                  4) Leader with creative thinking and emotional strength to turn things around;                                    Senior Member of Technical Staff
                                                                                                                                    NXP Semiconductors

                  Freescale Semiconductor (China) Ltd.
                  25 yrs 8 mos                                                                                           Learn the skills Shayan has

                  Licensed USPTO Patent Agent                                                                                              Creating a Product-Ce
                  Jun 2007 – Present · 12 yrs 3 mos                                                                                        Organization
                  Austin, Texas Area                                                                                                       Viewers: 4,429
                  Working with patent attorneys in patent application and prosecutions; Conducting design
                  innovation training seminars; Serving as leading member in patent committees.                                            IoT Foundations:
                                                                                                                                           Fundamentals
                                                                                                                        Messaging
                  Senior Member of Technical Staff                                                                                         Viewers: 58,861
                     1           1
https://www.linkedin.com/in/shayanzhang/                                                                                                                            1/3
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                                               (4) Shayan56-3
                                                          (ZHANG)Filed
                                                                  Zhang 08/14/19
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                   Jan 1994 – Dec 2015 · 22 yrs
                   Austin, Texas Area                                                                                     4              Try Premium
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                  1) Manager with integrated experiences of design, technology development and product definition.                   Strength
                  2) Innovator with strategic IP portfolios and edge of competition and value to customers.                          Viewers: 1,377
                  3) Chief designer in memory and analog circuits.
                  4) Leader with creative thinking and emotional strength to turn things around.                      See more courses

                  Show 4 more roles


                  Product Marketing Manager and Manufacturing Engineering Manager
                  Hewlett-Packard
                  May 1985 – Jun 1991 · 6 yrs 2 mos
                  Responsibilities included:
                  1. Product positioning and definition, especially for China local market.
                  2. Marketing research and developments;
                  3. Sales and distribution channel development and support;... See more




       Education

                  University of Colorado
                  P.h.D., E.E.
                  1991 – 1993



                  Tsinghua University
                  M.S., E.E.
                  1982 – 1985
                  Activities and Societies: 清華大學電子工程系



                  Harbin Institute of Technology
                  B.S., E.E.
                  1978 – 1982
                  Activities and Societies: 哈爾濱工業大學




       Licenses & Certifications
                  Licensed USPTO Patent Agent (Reg. No. 60536)
                  USPTO
                  Issued Jun 2007 · No Expiration Date
                  Credential ID 60536
                  See credential




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https://www.linkedin.com/in/shayanzhang/                                                                                                                  2/3
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https://www.linkedin.com/in/shayanzhang/                                                                                 3/3
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           Exhibit 5
8/13/2019               Case 6:19-cv-00254-ADA Document   56-3Snyder
                                                    (4) Michael  Filed    08/14/19 Page 16 of 175
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                                                                                                                                       Trademark Paralegal
                                                                                                                                       Cupertino, CA, US

                                                                                                                                       Legal Counsel, App Store
                                                                                                                                       Cupertino, CA, US

                                                                                                                                       Legal Counsel, Global Supply C
                                                                                                                                       Cupertino, CA, US

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       Michael Snyder                                                                          Apple
                                                                                                                           People Also Viewed
       CPU Architect at Apple                                                                  University of Michigan
       Austin, Texas Area · 338 connections · Contact info                                                                            David Kroesche • 3rd
                                                                                                                                      CPU Microarchitect at Apple


                                                                                                                                      Mike Filippo • 3rd
       Experience                                                                                                                     Apple

                    CPU Architect
                    Apple
                                                                                                                                      Deepak Limaye • 3rd
                    Nov 2017 – Present · 1 yr 10 mos                                                                                  CPU Performance Architect at Ap


                                                                                                                                      Ramana Rachakonda • 3rd
                    Processor Architect
                                                                                                                                      SOC Architect at Apple
                    Oracle
                    Feb 2010 – Oct 2017 · 7 yrs 9 mos
                                                                                                                                      Sribalan Santhanam • 3rd
                                                                                                                                      Vice President Silicon Engineerin
                    Distinguished Member of Technical Staff                                                                           Group at Apple
                    Freescale Semiconductor Inc.
                    Jun 1992 – Jan 2010 · 17 yrs 8 mos                                                                                Eric Tian • 3rd
                                                                                                                                      chip integration lead at Samsung
                                                                                                                                      Research America
                    Processor Architect
                    Motorola
                                                                                                                                      Manu Gulati • 3rd
                    1992 – 2003 · 11 yrs
                                                                                                                                      Lead SOC Architect at Google


                                                                                                                                      Anand Iyer • 3rd
       Education
                                                                                                                                      Low Power Design - We are hirin

                    University of Michigan
                    1986 – 1992                                                                                                       Ann Chin • 3rd
                                                                                                                                      ARM Fellow


                                                                                                                                      Vu Tran • 3rd
                                                                                                                                      Design Engineer at Apple
       Recommendations
         Received (0)       Given (2)
                                                                                                                           Learn the skills Michael has

                 Eric Quintana                      I worked with Eric for several years in the development of two                            Electronics Foundatio
                 at Intel                           Power Architecture cores. Eric is a very competent logic designer                         Fundamentals
                 October 26, 2009, Michael was
                 senior to Eric but didn’t manage
                                                    and an expert in floating point and integer execution unit design.                        Viewers: 92,925
                 directly                           Eric is very responsive to challenges for improvements in the
                                                                                                                                              Electronics Foundatio
                                                    design of execution units and always delivered high qu... See more
                                                                                                                                              Basic Circuits
                                                                                                                                              Viewers: 117,097
                 Dennis Ackerman                    Dennis is a highly motivated detailed oriented engineer who
                 Technology Specialist, Patent
                                                                                                                                              Raspberry Pi: Home
                                                    thrived on solving difficult technical problems in a post-silicon
                 Agent at Fish & Richardson                                                                                                   Monitoring and Contr
                                                    debug environment.
                 P.C.                                                                                                     Messaging           Viewers: 89,655

https://www.linkedin.com/in/michael-snyder-73950b3/                                                                                                                   1/2
8/13/2019             Case 6:19-cv-00254-ADA Document   56-3Snyder
                                                  (4) Michael  Filed    08/14/19 Page 17 of 175
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                July 23, 2007, Michael worked                                       See more courses
                with Dennis in different groups                                         4              Try Premium Free
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https://www.linkedin.com/in/michael-snyder-73950b3/                                                                       2/2
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           Exhibit 6
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                                                                                                                                 Internet IP expert for your    Psychology progra
                                                                                                                                            case!                     GRE req'd.
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       Hema Ramamurthy                   · 3rd                                                 IBM

       POWER Circuit Design at IBM                                                             The University of Texas at       Learn the skills Hema has
                                                                                               Austin
       Austin, Texas · 500+ connections · Contact info
                                                                                                                                                    UX Design: 7
                                                                                                                                                    Implementation Plann
                                                                                                                                                    Viewers: 13,774

       Highlights                                                                                                                                   UX Foundations: Mak
                                                                                                                                                    the Case for Usability
               Reach out to Hema for...
                                                                                                                                                    Testing
               Probono consulting and volunteering.
                                                                                                                                                    Viewers: 8,503
                 Message Hema
                                                                                                                                                    UX Research Methods
                                                                                                                                                    Sorting
                                                                                                                                                    Viewers: 8,380

       About                                                                                                                    See more courses

       Results driven technology, circuit design and design enablement lead for Advanced SRAM Technology, technology risk         Promoted
       evaluation, PPA analysis, SRAM circuit and bitcell design and qualification strategy with over 20 years experience on
       bulk, PDSOI, FDSOI and FinFET CMOS technologies. Lead customer interface for design enablement, SRAM ... see more




                                                                                                                                     Internet Expert                Transition to
                                                                                                                                        Witnesses                   Engineering
       Experience                                                                                                                  Don't use a mediocre        Liberal Arts Grads: L
                                                                                                                                     expert. Get an elite      a New Engineering
                   POWER Circuit Design                                                                                          Internet IP expert for your    w/ a BU Master's i
                   IBM                                                                                                                      case!
                   Oct 2018 – Present · 11 mos
                                                                                                                                        Learn more                   Learn more
                   Austin, Texas Area



                   GlobalFoundries
                   6 yrs 2 mos

                   Principal Member of Technical Staff
                   Dec 2016 – Oct 2018 · 1 yr 11 mos
                   Austin, TX


                   Senior Member of Technical Staff
                   Sep 2012 – Dec 2016 · 4 yrs 4 mos




                   Senior Member Technical Staff
                   Freescale Semiconductor
                   Aug 2003 – Sep 2012 · 9 yrs 2 mos



                   Senior Design Engineer
                   Motorola Inc.,
                   Dec 1995 – Aug 2003 · 7 yrs 9 mos                                                                           Messaging

https://www.linkedin.com/in/hema-ramamurthy-952b644/                                                                                                                           1/3
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                                                            Ramamurthy   08/14/19 Page 20 of 175
                                                                                                                                  4      Try Premium Free
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       Education

                      The University of Texas at Austin
                      2009 – 2015




                      Bangalore University
                      Bachelor of Engineering (B.Eng.), Electrical Engineering




                      New Mexico State University
                      MSEE, Computer Engineering




       Skills & Endorsements

       Low-power Design · 13

            Endorsed by 4 of Hema’s colleagues at NXP acquires Freescale Semiconductor



       VLSI · 10
       Mydung Pham and 9 connections have given endorsements for this skill


       CMOS · 10
            Endorsed by Karl Wimmer, who is highly skilled at                    Endorsed by 4 of Hema’s colleagues at NXP
            this                                                                 acquires Freescale Semiconductor


                                                               Show more



       Recommendations
        Received (0)          Given (1)


                   Gayathri Easwaran                   Gayathri has excellent analog design skills and a thorough
                   Sr. Principal Engineer at NXP       knowledge of PDK and design enablement needs of analog design
                   Semiconductors
                                                       teams. She has a good working knowledge of the RTL - GDS SoC
                   October 19, 2013, Hema worked
                   with Gayathri in different groups   design cycle and experience in silicon debug that complements her
                                                       design skills. She meticulously drives design and e... See more




                                                                                                                             Messaging

https://www.linkedin.com/in/hema-ramamurthy-952b644/                                                                                                        2/3
8/13/2019              Case 6:19-cv-00254-ADA Document   56-3
                                                  (4) Hema      Filed| LinkedIn
                                                           Ramamurthy   08/14/19 Page 21 of 175
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https://www.linkedin.com/in/hema-ramamurthy-952b644/                                                                 3/3
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           Exhibit 7
8/13/2019                  Case 6:19-cv-00254-ADA Document 56-3
                                                        Robert       Filed
                                                               Ehrlich        08/14/19 Page 23 of 175
                                                                       | LinkedIn

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                                Criminal Justice Degrees - Full- or Part-time, Evening & Online at Boston Univ. No GRE/GMAT Required. Ad

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                                                                                                                                   Full- or Part-time, Evening & Online
                                                                                                                                   Boston Univ. No GRE/GMAT Require


                                                                                                                                   Income $102,306+ a year?
                                                                                                                                   Get $2MM in life insurance from
                                                                                                                                   $63/mo* and save up to 41%.


                                                                                                                                   Monitor Claimants Online
                                                                                                                                   Tracks activities on Twitter, Facebook
                                                                                            Message        More…                   MySpace, blogs, boards, social news



        Robert Ehrlich            · 3rd                                                Intel Corporation
                                                                                                                       People Also Viewed
        Programmable Solutions Architect at Intel Corporation                          The University of Texas at
                                                                                       Austin
        Austin, Texas Area · 494 connections · Contact info                                                                       Tony Reipold
                                                                                                                                  Principle Engineer - Automotive
                                                                                                                                  Architect at Intel Programmable
                                                                                                                                  Solutions Group

        Experience
                                                                                                                                  Bala Chavali • 3rd
                      Programmable Solutions SoC Architect                                                                        SoC Architect @ Intel Corporatio
                      Intel Corporation
                      Nov 2016 – Present · 2 yrs 10 mos                                                                           Sandhya Seshadri • 3rd
                                                                                                                                  SoC Design Engineer at Apple

                      ASIC Design
                      NXP / Freescale / Motorola Semiconductor                                                                    Galen Blake
                      Jun 1990 – Oct 2016 · 26 yrs 5 mos                                                                          Architecture at Intel PSG


                                                                                                                                  Carlos Cabral • 3rd
                      MCU Applications & Development Tools
                      Nippon Motorola Ltd                                                                                         ASIC Developer at Ericsson
                      1990 – 1995 · 5 yrs
                                                                                                                                  Henry Stracovsky • 3rd
                                                                                                                                  Architect at Altera/Intel
                      Student / Lab Asst (Squeaky 14 Software)
                      Applied Research Laboratories, University of Texas
                      1985 – 1990 · 5 yrs                                                                                         Akhila Reddy Garlapati
                                                                                                                                  Product Engineering Intern at ON
                                                                                                                                  Semiconductor| Actively looking
                                                                                                                                  full-time opportunities
        Education
                                                                                                                                  Matthew E King • 3rd
                      The University of Texas at Austin
                                                                                                                                  Senior Hardware Design Enginee


                                                                                                                                  Stephen Turnbull • 3rd
                                                                                                                                  Director of Marketing at AMD


        Skills & Endorsements                                                                                                     Darcy LaVeau • 3rd
                                                                                                                                  VP of Hardware at Test Spectrum
        ASIC · 31
        Lea Hwang Lee and 30 connections have given endorsements for this skill
                                                                                                                       Learn the skills Robert has

        SoC · 26                                                                                                                         Learning FPGA
        Ron Halversen and 25 connections have given endorsements for this skill                                                          Development
                                                                                                                                         Viewers: 3,914

        IC · 22                                                                                                                          Electronics Foundatio
        Homer Hegedus and 21 connections have given endorsements for this skill
                                                                                                                                         Semiconductor Device
                                                                                                                                         Viewers: 44,661

                                                             Show more
                                                                                                                      Messaging

https://www.linkedin.com/in/rehrlich/                                                                                                                               1/2
8/13/2019               Case 6:19-cv-00254-ADA Document 56-3
                                                     Robert       Filed
                                                            Ehrlich        08/14/19 Page 24 of 175
                                                                    | LinkedIn

                                                                                           4          Electronics  Foundatio
                                                                                                          Try Premium Free
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                                                                                                      Fundamentals
                                                                                                           for 1 Month

                                                                                                      Viewers: 92,925

                                                                                       See more courses




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https://www.linkedin.com/in/rehrlich/                                                                                    2/2
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           Exhibit 8
8/13/2019               Case 6:19-cv-00254-ADA Document  56-3ShawFiled
                                                     (4) Craig           08/14/19 Page 26 of 175
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                                Internet Expert Witnesses - Don't use a mediocre expert. Get an elite Internet IP expert for your case! Ad


                                                                                                                                                                           A




                                                                                                                                         Matt, explore jobs at NXP
                                                                                                                                    Semiconductors that match your sk

                                                                                                                                                     See jobs
                                                                                                     Message           More…


        Craig Shaw         · 3rd                                                                Freescale Semiconductor
                                                                                                                                People Also Viewed
        Senior Principal Staff Engineer at NXP Semiconductors                                   Texas Tech University
        Austin, Texas Area · 345 connections · Contact info                                                                                Michael Zimin • 3rd
                                                                                                                                           Chief Engineer, HW Design and
                                                                                                                                           Architecture, Digital Networking
                                                                                                                                           Semiconductors

        Highlights
                                                                                                                                           Nelda Currah • 3rd
                Reach out to Craig for...                                                                                                  Director, Corporate Marketing at
                                                                                                                                           Freescale Semiconductor, Inc.
                Probono consulting and volunteering, Joining a nonprofit board.

                  Message Craig                                                                                                            George Grimmer • 3rd
                                                                                                                                           Design Engineer at NXP
                                                                                                                                           Semiconductors


                                                                                                                                           Edward Swarthout • 3rd
        About
                                                                                                                                           Member of Technical Staff at NXP
        Specialties: Low power microprocessor system architecture, design, and verification. ARM-based processor system                    Semiconductors
        design, AMBA AXI and AHB bus protocols and systems.
                                                                                                                                           Khanh Nguyen
                                                                                                                                           IC Design Engineer ð


        Experience                                                                                                                         John Ferloni
                                                                                                                                           Specification Sales/ Clear Advant
                    Freescale Semiconductor                                                                                                Lighting
                    40 yrs 2 mos
                                                                                                                                           John Ferloni • 3rd
                    Distinguished Member of Technical Staff
                                                                                                                                           --
                    Apr 2009 – Present · 10 yrs 5 mos
                    Austin, Texas Area
                    Team leader for Architecture and design of communications processor systems.                                           Charlie Mixon
                                                                                                                                           Salesman at Clear Advantage Lig
                    Design Team Manager
                    Jun 1998 – Apr 2009 · 10 yrs 11 mos                                                                                    Glen Hickerson
                    I manage a team of logic design and verification engineers. We create CPU platforms for wireless                       --
                    ICs, mostly cellular.

                                                                                                                                           Teresa Bush
                    Design Engineer
                                                                                                                                           --
                    Jul 1983 – Jun 1998 · 15 yrs
                    Logic and circuit design, debug.
                                                                                                                                Learn the skills Craig has
                    Test engr
                    Jul 1979 – Jul 1983 · 4 yrs 1 mo                                                                                              IoT Foundations:
                    CMOS SSI/MSI/LSI test engineer.                                                                                               Fundamentals
                                                                                                                                                  Viewers: 58,861


                    Senior Principal Engineer                                                                                                     C Standard Library
                    NXP Semiconductors                                                                                                            Viewers: 3,399
                    1979 – Present · 40 yrs
                    Austin, Texas Area
                                                                                                                               Messaging

https://www.linkedin.com/in/craig-shaw-a905854/                                                                                                                           1/3
8/13/2019           Case 6:19-cv-00254-ADA Document  56-3ShawFiled
                                                 (4) Craig           08/14/19 Page 27 of 175
                                                              | LinkedIn
                   DSP Architect/Design Lead                                                         Raspberry    Pi: Free
                                                                                                                      Home
                                                                                          4              Try Premium
              Search
                                                                                                     Monitoring   and Contr
                                                                                                          for 1 Month

                                                                                                     Viewers: 89,655

        Education                                                                     See more courses

                  Texas Tech University
                  Bachelor of Science (BS), Electrical and Electronics Engineering
                  1975 – 1979



                  Skyline HS
                  HS diploma, Electronics
                  1972 – 1975




                                                                                     Messaging

https://www.linkedin.com/in/craig-shaw-a905854/                                                                         2/3
8/13/2019              Case 6:19-cv-00254-ADA Document  56-3ShawFiled
                                                    (4) Craig           08/14/19 Page 28 of 175
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https://www.linkedin.com/in/craig-shaw-a905854/                                                                      3/3
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           Exhibit 9
8/13/2019               Case 6:19-cv-00254-ADA Document  56-3
                                                    (4) Brett      Filed
                                                              Murdock       08/14/19 Page 30 of 175
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                             Criminal Justice Degrees - Full- or Part-time, Evening & Online at Boston Univ. No GRE/GMAT Required. Ad


                                                                                                                                                                          A




                                                                                                                                 Matt, explore jobs at Synopsys Inc t
                                                                                                                                            match your skills

                                                                                                                                                 See jobs
                                                                                                  Message           More…


        Brett Murdock            · 3rd                                                       Synopsys Inc

        Product Marketing Manager at Synopsys Inc                                            Kansas State University         Learn the skills Brett has
        Austin, Texas Area · 497 connections · Contact info
                                                                                                                                              Advanced Lead Gener
                                                                                                                                              Viewers: 38,930



        Experience                                                                                                                            Top 10 Marketing
                                                                                                                                              Challenges
                   Synopsys Inc                                                                                                               Viewers: 22,153
                   3 yrs 6 mos
                                                                                                                                              Marketing to Humans
                   Product Marketing Manager                                                                                                  Viewers: 8,732
                   Mar 2017 – Present · 2 yrs 6 mos
                   Austin, Texas Area
                                                                                                                             See more courses
                   PMM for External Memory Interfaces.

                                                                                                                               Promoted
                   Solutions Architect
                   Mar 2016 – Mar 2017 · 1 yr 1 mo                                                                                      Transition to Engineering
                                                                                                                                        Liberal Arts Grads: Launch a New
                   Austin, Texas Area
                                                                                                                                        Engineering Career w/ a BU Master's
                   Member of the DDR PHY Architecture Team focusing on technical pre-sale engagements.                                  Eng

                                                                                                                                        Criminal Justice Degrees
                                                                                                                                        Full- or Part-time, Evening & Online
                   Senior Director, IP Products                                                                                         Boston Univ. No GRE/GMAT Require
                   Uniquify Inc
                   Oct 2014 – Mar 2016 · 1 yr 6 mos                                                                                     Are You an Attorney?
                   Austin, Texas Area                                                                                                   Apply for membership to expand yo
                                                                                                                                        business, get more valuable
                   Responsible for managing and marketing DDR controller and PHY IP.                                                    customers.



                   Cadence Design Systems
                   4 yrs 4 mos

                   Director of Engineering - DDR Design IP Customer Support
                   Feb 2014 – Sep 2014 · 8 mos
                   Austin, Texas Area
                   Ran the world wide support organization for DDR design IP. My team was responsible for product
                   deliveries, documentation, final Q&A and customer support.


                   Solutions Architect
                   Jun 2010 – Jan 2014 · 3 yrs 8 mos
                   Austin, Texas Area
                   After Denali was acquired by Cadence I continued to own world wide customer support for the
                   Cadence DDR controller until mid 2012.
                   I am now in charge of technical pre-sales within the Cadence DDR R&D team, covering our entire
                   DDR solution (Controller and PHY).



                   Senior Technical Marketing Engineer
                   Denali Software
                   May 2008 – Jun 2010 · 2 yrs 2 mos
                   Austin, Texas Area
                                                                                                                            Messaging

https://www.linkedin.com/in/brettmurdock/                                                                                                                               1/3
8/13/2019             Case 6:19-cv-00254-ADA Document  56-3
                                                  (4) Brett      Filed
                                                            Murdock       08/14/19 Page 31 of 175
                                                                    | LinkedIn
                    Technical marketing of Denali DDR controller.
                                                                                                                             4      Try Premium Free
               Search
                    Owner of world wide post sales support for Denali DDR controller.                                                  for 1 Month
                    Acting FAE in Central and West Coast US regions for Denali DDR controller.

                   Firefighter / Driver / NREMT-B
                   Sam Bass Fire Department
                   2002 – 2010 · 8 yrs
                   Round Rock, Texas

        Show 1 more experience



        Education

                   Kansas State University
                   Bachelor of Science (BS) (dual degree), Electrical Engineering / Computer Engineering
                   1989 – 1996

                   The focus of my Bachelor of Science degrees was in logic design, state machine design and
                   processor architecture. Additionally I took 24 hours of graduate courses with an emphasis on logic
                   design.




                                                                                                                        Messaging

https://www.linkedin.com/in/brettmurdock/                                                                                                              2/3
8/13/2019               Case 6:19-cv-00254-ADA Document  56-3
                                                    (4) Brett      Filed
                                                              Murdock       08/14/19 Page 32 of 175
                                                                      | LinkedIn

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https://www.linkedin.com/in/brettmurdock/                                                                                3/3
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        Exhibit 10
8/13/2019               Case 6:19-cv-00254-ADA Document   56-3Hunter
                                                    (4) Bradford Filed    08/14/19 Page 34 of 175
                                                                     | LinkedIn

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                                                                                                                                 year?              We need more atto
                                                                                                                               Get $2MM in life     in your area. Apply
                                                                                                                           insurance from $63/mo*       for membershi
                                                                                                                             and save up to 41%.

                                                                                             Connect           More…
                                                                                                                                 Learn more                Learn more

        Bradford Hunter                · 3rd                                            Texas Instruments
                                                                                                                         People Also Viewed
        Analog IC Design Engineer                                                       Georgia Institute of
                                                                                        Technology
        Austin, Texas Area · 63 connections · Contact info                                                                         Dean Gray • 3rd
                                                                                                                                   Director of Engineering - GCi
                                                                                                                                   Technologies


        Experience                                                                                                                 Gaurang Shah • 3rd
                                                                                                                                   EVP and GM at YI Technology
                    Senior Member of Technical Staff
                    Texas Instruments                                                                                              Kris Schobert • 3rd
                    Aug 2008 – Present · 11 yrs 1 mo                                                                               Consumer Electronics Refurbishm
                                                                                                                                   Engineer at Liquidity Services

                    Analog Design Engineer
                                                                                                                                   Pat Tovery • 3rd
                    IBM
                                                                                                                                   Senior Member of Technical Staff
                    Jul 2006 – Aug 2008 · 2 yrs 2 mos
                                                                                                                                   Support at Maxim Integrated


                    Engineer                                                                                                       Bill Clark
                    Freescale Semiconductor                                                                                        Vice President of Engineering, Sa
                    2004 – 2006 · 2 yrs                                                                                            Corporation


                                                                                                                                   Benjamin Sarpong • 3rd
                                                                                                                                   Engineering Manager at Texas
        Education                                                                                                                  Instruments

                    Georgia Institute of Technology
                    Master of Science, Electrical and Computer Engineering
                                                                                                                                   Casey Teague • 3rd
                    1998 – 2004                                                                                                    HR Generalist at Builders FirstSou


                                                                                                                                   Ted Brennan • 3rd
                                                                                                                                   Brentech Management Co
        Skills & Endorsements
                                                                                                                                   Sherri Gibbs
        Mixed Signal · 6
                                                                                                                                   Office Manager
        Robert Fisak and 5 connections have given endorsements for this skill

                                                                                                                                   Tom Bishop
        Analog Circuit Design · 6                                                                                                  associate professor at Louisiana T
                                                                                                                                   University
        Valerie Hunter and 5 connections have given endorsements for this skill

                                                                                                                         Learn the skills Bradford has
        CMOS · 5
        Robert Fisak and 4 connections have given endorsements for this skill                                                             Electronics Foundatio
                                                                                                                                          Basic Circuits
                                                                                                                                          Viewers: 117,097
                                                           Show more
                                                                                                                                          CompTIA A+ (220-100
                                                                                                                                          Cert Prep 2
        Recommendations                                                                                                                   Microprocessing and
                                                                                                                                          Viewers: 3,921
         Received (0)      Given (1)                                                                                   Messaging

https://www.linkedin.com/in/bradfordhunter/                                                                                                                        1/2
8/13/2019             Case 6:19-cv-00254-ADA Document   56-3Hunter
                                                  (4) Bradford Filed    08/14/19 Page 35 of 175
                                                                   | LinkedIn

                                                                                                                           4          When:  The Scientific
                                                                                                                                         Try Premium Free   S
               Search
                 Shayan Zhang                  Shayan is a talented circuit design engineer as well as an excellent                   of Perfect  Timing (Blin
                                                                                                                                            for 1 Month
                 Memory Compiler Design        manager. He was the first design manager that I worked for after                       Summary)
                 and Verification
                                               graduating college as engineer. He taught me best practices to                         Viewers: 2,917
                 August 31, 2012, Bradford
                 reported directly to Shayan   follow as a design engineer to successfully execute projects from
                                               start to finish.                                                        See more courses




                                                                                                                      Messaging

https://www.linkedin.com/in/bradfordhunter/                                                                                                               2/2
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        Exhibit 11
8/13/2019                   Case 6:19-cv-00254-ADA Document Olga
                                                            56-3      Filed 08/14/19 Page 37 of 175
                                                                 Lu | LinkedIn

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                                                                                                                                         Online                         Finance
                                                                                                                                  Tracks activities on Twitter,      In just 4 months
                                                                                                                                  Facebook, MySpace, blogs,       Columbia Business
                                                                                                                                      boards, social news             - 100% online, 3
                                                                                                                                                                           hrs/week
                                                                                                     Message       More…
                                                                                                                                          Learn more                    Learn more

        Olga Lu                                                                                Intel Corporation
                                                                                                                                 People Also Viewed
        SRAM/FUSE Design manager at Intel Corporation
        Austin, Texas Area · 144 connections · Contact info                                                                                  Rohit Hooda
                                                                                                                                             Engineering Manager at Intel


                                                                                                                                             Rohit Yedida • 3rd
        Experience                                                                                                                           Analog Design Engineer at Intel
                                                                                                                                             Communications and Devices Gr
                        SRAM/FUSE design manager                                                                                             (Modem Group) since 2017, look
                        Intel Corporation                                                                                                    explore new opportunities
                        Jan 2011 – Present · 8 yrs 8 mos
                                                                                                                                             Richard Smith • 3rd
                                                                                                                                             Digital Design Engineer at Intel
                        Project lead for memory compiler design team.
                        Freescale Semiconductor
                        2000 – Jan 2011 · 11 yrs                                                                                             Jeff Waldrip • 3rd
                                                                                                                                             circuit design engineer at Intel

                        Staff device engineer
                                                                                                                                             Claudia Abullarade • 3rd
                        Motorola
                        1998 – 2000 · 2 yrs                                                                                                  NVM Common Design Manager


                                                                                                                                             Pat Liston
                        Staff product engineer                                                                                               SRAM Memory Compiler Method
                        Xilinx                                                                                                               Manager at Intel Corporation
                        1996 – 1998 · 2 yrs
                                                                                                                                             David Chiang
                                                                                                                                             SOC SRAM Design Manager Inte
                        Device engineer
                                                                                                                                             Corporation
                        Cypress Semiconductor
                        1994 – 1996 · 2 yrs
                                                                                                                                             Kristel Deems
                                                                                                                                             Circuit Design Engineer at Intel
                                                                                                                                             Corporation

        Skills & Endorsements                                                                                                                Troy New • 3rd
                                                                                                                                             Manager at Intel Corporation
        Semiconductors · 12

                 Endorsed by 2 of Olga’s colleagues at Intel
                                                                           Endorsed by 7 people who know Semiconductors                      Ross Dudek • 3rd
                 Corporation
                                                                                                                                             Mask Design Manager at Intel


        CMOS · 10
                                                                                                                                 Learn the skills Olga has
                 Endorsed by lawrence herr, who is highly skilled at       Endorsed by 7 of Olga’s colleagues at NXP acquires
                 this                                                      Freescale Semiconductor                                                    CMO Foundations: Wo
                                                                                                                                                      with Leadership and B
                                                                                                                                                      of-Directors
        IC · 9                                                                                                                                        Viewers: 4,553
        Junald Wang and 8 connections have given endorsements for this skill
                                                                                                                                                      PowerPoint: Silicon Va
                                                                                                                                                      Presentation Secrets
                                                               Show more                                                        Messaging             Viewers: 10,856

https://www.linkedin.com/in/olga-lu-b4ab0611/                                                                                                                                    1/2
8/13/2019               Case 6:19-cv-00254-ADA Document Olga
                                                        56-3      Filed 08/14/19 Page 38 of 175
                                                             Lu | LinkedIn

                                                                                                                            4          When:  The Scientific
                                                                                                                                          Try Premium Free   S
               Search
        Recommendations                                                                                                                of Perfect  Timing (Blin
                                                                                                                                             for 1 Month

                                                                                                                                       Summary)
         Received (0)      Given (1)
                                                                                                                                       Viewers: 2,917


                 Chandrani C.                    I worked with Chandrani at Freescale Semiconductor during past         See more courses
                 EPM at Apple                    year. She is very detailed oriented person, she helped me to bring
                 December 9, 2009, Olga worked
                                                 new statistical internal tool for the analysis of the memory design
                 with Chandrani in different
                 groups                          margins. I enjoy working with Chandrani, she was very helpful in
                                                 her job as a member of internal tool development team... See more




                                                                                                                       Messaging

https://www.linkedin.com/in/olga-lu-b4ab0611/                                                                                                              2/2
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        Exhibit 12
8/13/2019               Case 6:19-cv-00254-ADA Document   56-3
                                                     (4) Larry      Filed
                                                               Childs       08/14/19 Page 40 of 175
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                                                                                                                                        Tracks activities on Twitter, Facebook
                                                                                                                                        MySpace, blogs, boards, social news


                                                                                                                                        Don't Litigate - Mediate!
                                                                                                                                        America's Top Rated Civil Mediators
                                                                                                                                        Bios and Calendars online for free...


                                                                                                                                        Get Certified in Finance
                                                                                                                                        In just 4 months by Columbia Busine
                                                                                                Connect        More…                    School - 100% online, 3-5 hrs/week



        Larry Childs                                                                       Freescale
                                                                                                                            People Also Viewed
        Design Engineer at Freescale                                                       University at Buffalo
        Austin, Texas Area · 4 connections · Contact info                                                                              Kevin Locker
                                                                                                                                       Engineer at Intel


                                                                                                                                       Olga Lu
        Experience                                                                                                                     SRAM/FUSE Design manager at I
                                                                                                                                       Corporation
                    Design Engineer
                    Freescale                                                                                                          Kevin Locker
                                                                                                                                       --


                                                                                                                                       Craig Gunderson • 3rd
        Education                                                                                                                      Global NVM Design Technology
                                                                                                                                       Manager
                    University at Buffalo
                    1970 – 1974
                                                                                                                            Learn the skills Larry has

                                                                                                                                               Learning the Arturia
                                                                                                                                               Collection
        Interests
                                                                                                                                               CMO Foundations: Cre
                    University at Buffalo                                   NXP acquires Freescale Semicondu…
                                                                                                                                               a Marketing Culture
                    179,292 followers                                       107,065 followers
                                                                                                                                               Viewers: 3,301

                                                                                                                                               When: The Scientific S
                                                                                                                                               of Perfect Timing (Blin
                                                                                                                                               Summary)
                                                                                                                                               Viewers: 2,917

                                                                                                                            See more courses




                                                                                                                           Messaging

https://www.linkedin.com/in/larry-childs-b2bb5b4/                                                                                                                        1/2
8/13/2019               Case 6:19-cv-00254-ADA Document   56-3
                                                     (4) Larry      Filed
                                                               Childs       08/14/19 Page 41 of 175
                                                                      | LinkedIn

                                                                                            4         Try Premium Free
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                                                                                       Messaging

https://www.linkedin.com/in/larry-childs-b2bb5b4/                                                                        2/2
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        Exhibit 13
8/13/2019               Case 6:19-cv-00254-ADA Document    56-3
                                                    (4) Craig      Filed
                                                              Gunderson     08/14/19 Page 43 of 175
                                                                        | LinkedIn

                                                                                                                                 4                  Try Premium Free
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                                                                                                                                                                        A




                                                                                                                                      Matt, explore jobs at NXP
                                                                                                                                 Semiconductors that match your sk

                                                                                                                                                  See jobs
                                                                                                     Message       More…


       Craig Gunderson                  · 3rd                                                   NXP Semiconductors
                                                                                                                             People Also Viewed
       Global NVM Design Technology Manager                                                     University of Minnesota
       Austin, Texas Area · 426 connections · Contact info                                                                              Sunitha K. • 3rd
                                                                                                                                        Architect at Google


                                                                                                                                        Gowrishankar Chindalore, P
       Experience                                                                                                                       Head of Technology & Business
                                                                                                                                        Strategy - Embedded Processors
                    Global NVM Design Technology Manager                                                                                Semiconductors
                    NXP Semiconductors
                    Jul 1987 – Present · 32 yrs 2 mos                                                                                   Todd Dedow, PMP • 3rd
                    Austin, Texas Area
                                                                                                                                        Test Engineering Manager


                                                                                                                                        Kelly Baker • 3rd
       Education                                                                                                                        NXP Fellow, Platform and Partne
                                                                                                                                        Management Group, Global Tech
                    University of Minnesota                                                                                             Innovation
                    1982 – 1985
                                                                                                                                        George Mantaring • 3rd
                                                                                                                                        Design Verification Engineer at A
                                                                                                                                        Web Services

       Recommendations                                                                                                                  John Spahr • 3rd
         Received (0)       Given (2)                                                                                                   Test Engineer at NXP



                 Brian Hutchison                     To Whom it may Concern, I have worked with Brian Hutchison in                      Ken Scheuer
                 Layout Design Consultant at                                                                                            Test Engineering at NXP Semicon
                                                     the Memory Design group at Freescale/Motorola for several years.
                 Everspin Technologies
                                                     Brian is very professional, well organized, quality orientated,
                 January 3, 2010, Craig was senior                                                                                      Gary Bronner • 3rd
                 to Brian but didn’t manage          motivated, and a skilled layout designer. Brian is very easy to work
                 directly                                                                                                               Senior Vice President and deputy
                                                     with and always open to discuss technical challenges a... See more                 at Rambus


                 Denis Kuznetsov                     Denis has led our web development and support activities at                        Brent Bullock • 3rd
                 Head of marketing                                                                                                      Application Engineering - Consu
                                                     Freescale. He is very skilled and easy to work with on all types of
                 technology platforms, Mail.ru                                                                                          Manager at Advantest America In
                                                     projects. Denis is very responsive and I highly recommend him.
                 April 14, 2008, Craig worked with
                 Denis in different groups                                                                                              Amy Chu • 3rd
                                                                                                                                        Product Engineering, Quality
                                                                                                                                        Engineering, and Failure Analysis
                                                                                                                                        amy_chu@alum.mit.edu
       Interests
                                                                                                                             Learn the skills Craig has
                    University of Minnesota                                      Door64: High Tech Professionals
                    365,106 followers                                            26,379 members
                                                                                                                                               Electronics Foundatio
                                                                                                                                               Semiconductor Device
                                                                                                                                               Viewers: 44,661
                    Memory Circuit Design Talent                                 NXP Semiconductors
                    2,399 members                                                218,385 followers
                                                                                                                                               CMO Foundations: Cre
                                                                                                                            Messaging          a Marketing Culture

https://www.linkedin.com/in/craig-gunderson-1893262/                                                                                                                   1/2
8/13/2019           Case 6:19-cv-00254-ADA Document    56-3
                                                (4) Craig      Filed
                                                          Gunderson     08/14/19 Page 44 of 175
                                                                    | LinkedIn
                  Freescale Semiconductor                        SRAM memory                       Viewers: 3,301
                                                                                        4              Try Premium Free
              Search
                   6,997 members                                 843 members                              for 1 Month




                                                       See all                                     CMO Foundations: Wo
                                                                                                   with Leadership and B
                                                                                                   of-Directors
                                                                                                   Viewers: 4,553

                                                                                    See more courses




                                                                                   Messaging

https://www.linkedin.com/in/craig-gunderson-1893262/                                                                      2/2
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        Exhibit 14
8/13/2019              Case 6:19-cv-00254-ADA Document
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                                                        Mark MayFiled   08/14/19 Page 46 of 175
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                                                                                                                                                                            A




                                                                                                                                   Matt, explore jobs at Cirrus Logic th
                                                                                                                                              match your skills

                                                                                                                                                    See jobs
                                                                                                     Message          More…


       Mark May         · 3rd                                                                   Cirrus Logic
                                                                                                                               People Also Viewed
       design engineer at Cirrus Logic                                                          Stanford University
       Austin, Texas Area · 282 connections · Contact info                                                                                Kandace Hansen • 3rd
                                                                                                                                          HR Director


                                                                                                                                          Farron Silverman • 3rd
       Experience                                                                                                                         Marketing Manager, Greater Texa
                                                                                                                                          PwC
                  design engineer
                  Cirrus Logic                                                                                                            Maryam Mortazavi • 3rd
                  Mar 2014 – Present · 5 yrs 6 mos
                                                                                                                                          Analog Design Engineer at Apple
                  Austin
                  analog circuit and system design
                                                                                                                                          Seung Bae Lee • 3rd
                                                                                                                                          Analog Design Engineer at Cirrus
                  RF design engineer
                  Silicon Laboratories                                                                                                    Eric Smith • 3rd
                  Feb 2008 – Mar 2014 · 6 yrs 2 mos
                                                                                                                                          Senior Design Manager at Cirrus
                  Austin
                  RF circuit design , LNA, mixer, continuous time ADC , resistive/capacitive attenuators
                                                                                                                                          Ed Schneider
                                                                                                                                          Design Engineer at Cirrus Logic
                  Analog Designer (Director)
                  Sigmatel                                                                                                                Akin Adekeye • 3rd
                  1999 – 2008 · 9 yrs                                                                                                     Tech General Counsel and Busine
                  Austin                                                                                                                  Executive
                  Audio dac and adcs
                  Dc-Dc converters and power management                                                                                   Minela Bajrovic • 3rd
                  Analog system design
                                                                                                                                          Technical Sales Consultant at PAS


                  analog designer                                                                                                         Charles Dykes • 3rd
                  Motorola                                                                                                                Applied AI - Food Waste &
                  Sep 1992 – Feb 1999 · 6 yrs 6 mos                                                                                       Sustainability
                  Austin
                  Analog design of audio circuits, dac, adcs, etc.                                                                        Terry Bowness • 3rd
                                                                                                                                          Integrated Circuit Designer, Mus


       Education                                                                                                               Learn the skills Mark has

                  Stanford University                                                                                                            Pro Tools: Virtual
                  MSEE, Analog Design                                                                                                            Instruments
                  1991 – 1992
                                                                                                                                                 Viewers: 2,956
                  Activities and Societies: Stanford Ultimate Frisbee
                                                                                                                                                 When: The Scientific S
                  Rice University                                                                                                                of Perfect Timing (Blin
                  BSEE, Electrical Engineering and Applied Physics                                                                               Summary)
                  1987 – 1991                                                                                                                    Viewers: 2,917
                  Activities and Societies: College Bike Team Ulitmate Frisbee Orientation Week advisor
                                                                                                                              Messaging

https://www.linkedin.com/in/mark-may-92211a7/                                                                                                                              1/2
8/13/2019              Case 6:19-cv-00254-ADA Document
                                                    (4) 56-3
                                                        Mark MayFiled   08/14/19 Page 47 of 175
                                                                 | LinkedIn

                                                                                                                              4          Learning   Reason
                                                                                                                                             Try Premium Free 10: C
              Search
       Recommendations                                                                                                                   Feature
                                                                                                                                               forFlashback
                                                                                                                                                  1 Month


        Received (0)      Given (1)
                                                                                                                          See more courses

                Sean Cummings                     Sean is a solid layout designer. He is thorough, fast, easy-to-work-
                Senior Layout Designer at         with, and has a good head on his shoulders. He is certainly in the
                Silicon Labs
                                                  top tier of layout designers I've worked with. I was excited to get
                March 7, 2012, Mark worked with
                Sean in different groups          the chance to write this recommendation, as I'm going to contact
                                                  HR and see if my present employer ha... See more




                                                                                                                         Messaging

https://www.linkedin.com/in/mark-may-92211a7/                                                                                                                  2/2
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     Exhibit 15a
8/13/2019              Case 6:19-cv-00254-ADA Document   56-3
                                                   (4) Danny      Filed
                                                             Mulligan      08/14/19 Page 49 of 175
                                                                      | LinkedIn

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                                                                                                                             We need more attorneys         Mediate!
                                                                                                                             in your area. Apply now   America's Top Rate
                                                                                                                                 for membership.         Mediators - Bios
                                                                                                                                                       Calendars online fo

                                                                                              Connect      More…
                                                                                                                                   Learn more                 Learn more

        Danny Mulligan                                                                   SigmaTel
                                                                                                                           People Also Viewed
        VP at SigmaTel
        Austin, Texas Area · 1 connection · Contact info                                                                             Mark Middleton
                                                                                                                                     Hardware Design Engineer at Fre
                                                                                                                                     Semiconductor


                                                                                                                                     Anna Worthy • 3rd
        Experience
                                                                                                                                     Professional Services Project Man
                    VP                                                                                                               at Freescale Semiconductor
                    SigmaTel
                                                                                                                                     Bobbi Bone • 3rd
                                                                                                                                     Marketing Manager


                                                                                                                                     Patrick Kelly • 3rd
        Interests                                                                                                                    CVP of Wireless IP, AMD. Former
                                                                                                                                     founder and CEO at Nitero. Pione
                    SigmaTel                                                                                                         Wireless VR.
                    555 followers
                                                                                                                                     Russell Schultz • 3rd
                                                                                                                                     at Silicon Laboratories


                                                                                                                                     Cass Meyer • 3rd
                                                                                                                                     Senior Data Scientist at Cubic, CG


                                                                                                                                     Antonio Torrini • 3rd
                                                                                                                                     Consultant at Silicon Labs


                                                                                                                                     Tom Zudock • 3rd
                                                                                                                                     Sr. Director, Software Developme
                                                                                                                                     Silicon Labs


                                                                                                                                     Ray Vargas • 3rd
                                                                                                                                     Chip Design Expert


                                                                                                                                     Seror Jasim • 3rd
                                                                                                                                     Software Engineer at SLTX



                                                                                                                           Learn the skills Danny has

                                                                                                                                             CMO Foundations: Wo
                                                                                                                                             with Leadership and B
                                                                                                                                             of-Directors
                                                                                                                                             Viewers: 4,553

                                                                                                                                             CMO Foundations: Cre
                                                                                                                                             a Marketing Culture
                                                                                                                                             Viewers: 3,301
                                                                                                                         Messaging

https://www.linkedin.com/in/danny-mulligan-5ab416/                                                                                                                    1/2
8/13/2019              Case 6:19-cv-00254-ADA Document   56-3
                                                   (4) Danny      Filed
                                                             Mulligan      08/14/19 Page 50 of 175
                                                                      | LinkedIn

                                                                                           4          CompTIA    A+ (220-100
                                                                                                         Try Premium Free
              Search
                                                                                                      Cert Prep   2
                                                                                                            for 1 Month

                                                                                                      Microprocessing and
                                                                                                      Viewers: 3,921

                                                                                       See more courses




                                                                                      Messaging

https://www.linkedin.com/in/danny-mulligan-5ab416/                                                                        2/2
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     Exhibit 15b
8/13/2019               Case 6:19-cv-00254-ADA Document   56-3
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                                                              Mulligan      08/14/19 Page 52 of 175
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                                                                                                                                             Get $2MM in life insurance from
                                                                                                                                             $63/mo* and save up to 41%.


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                                                                                                                                             Be an exhibitorr at Air Force
                                                                                                                                             Entertainment events - impact the
                                                                                                                                             warfighter

                                                                                                                                             47 New MA Clients
                                                                                                                                             47 new legal clients seeking a MA
                                                                                                         Connect        More…                attorney. View their cases today.



        Danny Mulligan             · 3rd                                                           The University of Texas at
                                                                                                   Austin - The Red McCombs…
        Entrepreneur                                                                                                             Popular courses on LinkedIn Learning
        Austin, Texas Area · 500+ connections · Contact info
                                                                                                                                                   Seán Duggan's Fire an
                                                                                                                                                   Photo Composite: Sta
                                                                                                                                                   Finish
                                                                                                                                                   Viewers: 10,878
        About
                                                                                                                                                   Adonna Khare Large S
        Entrepreneur
        Technology Executive                                                                                                                       Art
        ... see more                                                                                                                               Viewers: 8,985

                                                                                                                                                   Body Language for W
                                                                                                                                                   Viewers: 173,568

        Experience
                                                                                                                                 See more courses
                    Director NPD Marketing, Networking & Multimedia Group
                    Freescale Semiconductor                                                                                        Promoted
                    Jan 2011 – Jul 2011 · 7 mos
                    Manage the marketing team for the Network Products Group.



                    Marketing Manager, Broadcast Products                                                                          Income $102,306+ a               Talk To Us
                    Silicon Laboratories                                                                                                 year?                  Personal or Busin
                    Mar 2010 – Jan 2011 · 11 mos                                                                                       Get $2MM in life        insurance questio
                                                                                                                                   insurance from $63/mo*     We're here to help
                    Marketing FM tuner products into cellphones. Defined a new product targeting the same market.
                                                                                                                                     and save up to 41%.


                    Founder/CEO                                                                                                          Learn more                 Learn more
                    MultiXtor Inc.
                    Mar 2008 – Sep 2009 · 1 yr 7 mos
                    Early stage startup, working on high performance storage products.
                    Based in Austin, TX.



                    VP & GM of the MP3 product line
                    SigmaTel
                    Aug 1999 – Jul 2007 · 8 yrs
                    I started the MP3 group, and was general manager of that group until October 2004.

                    I held various other VP/Sr. VP titles after that, working on operations, design services, and business
                    development.



                    Design Manager
                    Conexant
                    Oct 1993 – Apr 1999 · 5 yrs 7 mos
                    I joined Brooktree in 1993.
                    Brooktree was acquired by Rockwell Semiconductor Systems in 1996.
                    Rockwell Semiconductor Systems was spun off as Conexant in 1998.
                    1 job + 6 years = 3 different company names.
                                                                                                                                Messaging

https://www.linkedin.com/in/dannymulligan/                                                                                                                                  1/3
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                                                    (4) Danny      Filed
                                                              Mulligan      08/14/19 Page 53 of 175
                                                                       | LinkedIn
        Show 2 more experiences                                                                  4      Try Premium Free
               Search                                                                                      for 1 Month



        Education

                   The University of Texas at Austin - The Red McCombs School of Business
                   MBA
                   1996 – 1998

                   Option II - Executive MBA program



                   University of Limerick
                   Bachelor of Engineering, Electronic Engineering
                   1983 – 1987




                                                                                            Messaging

https://www.linkedin.com/in/dannymulligan/                                                                                 2/3
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                                                    (4) Danny      Filed
                                                              Mulligan      08/14/19 Page 54 of 175
                                                                       | LinkedIn

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https://www.linkedin.com/in/dannymulligan/                                                                               3/3
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        Exhibit 16
8/13/2019              Case 6:19-cv-00254-ADA Document
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                                                        Mike MayFiled   08/14/19 Page 56 of 175
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                                                                                                                             America's Top Rated Civil      Tracks activities on T
                                                                                                                               Mediators - Bios and         Facebook, MySpace
                                                                                                                             Calendars online for free...       boards, social ne

                                                                                                 Message           More…
                                                                                                                                    Learn more                     Learn more

       Mike May            · 3rd                                                            Silicon Laboratories
                                                                                                                            People Also Viewed
       Analog system and circuit designer at Silicon Laboratories
       Austin, Texas Area · 276 connections · Contact info                                                                             Matthew Powell • 3rd
                                                                                                                                       Director Engineering at GOODIX
                                                                                                                                       Technology INC.


       Experience                                                                                                                      Dave Trager • 3rd
                                                                                                                                       Director Of Engineering at Silicon
                   analog/rf design
                   Silicon Laboratories                                                                                                Stefan Mastovich • 3rd
                   2008 – Present · 11 yrs                                                                                             Design Engineering Director at S
                                                                                                                                       Laboratories

                   Staff design engineer
                                                                                                                                       Sherry Wu
                   Silicon Labs
                                                                                                                                       Mixed signal Principal Design en
                   2008 – Present · 11 yrs
                                                                                                                                       at Silicon Labs


                   Analog system and circuit designer                                                                                  Sarah Walton • 3rd
                   Sigmatel                                                                                                            Senior IC Layout Designer at App
                   2005 – 2008 · 3 yrs

                                                                                                                                       Xiaowen Wang • 3rd
                   Freescale Semiconductor                                                                                             CAD Engineer of Silicon Labs
                   7 yrs
                                                                                                                                       Steve Richmond • 3rd
                   analog designer engineer                                                                                            Design Engineering Manager at S
                   1992 – 1999 · 7 yrs                                                                                                 Labs


                   design engineer                                                                                                     Xun Yang • 3rd
                   1992 – 1999 · 7 yrs                                                                                                 Design Engineering Manager at S
                                                                                                                                       Labs


                                                                                                                                       Jeremy Smith • 3rd
                   Design Engineer                                                                                                     Senior ESD Design Manager at S
                   Motorola Semiconductor Products Sector                                                                              Labs
                   1992 – 1999 · 7 yrs
                                                                                                                                       Dan Kasha • 3rd
       Show 1 more experience                                                                                                          Distinguished Engineer at Silicon



                                                                                                                            Learn the skills Mike has
       Recommendations
                                                                                                                                                CMO Foundations: Cre
        Received (0)        Given (1)                                                                                                           a Marketing Culture
                                                                                                                                                Viewers: 3,301
                Sean Cummings                       Sean and I worked together on various projects at Sigmatel over
                                                                                                                                                When: The Scientific S
                Senior Layout Designer at           the course of several years. Sean was consistenly detail oriented,
                Silicon Labs                                                                                                                    of Perfect Timing (Blin
                                                    asked appropriate questions and produced high volumes of quality
                March 8, 2012, Mike was senior to                                                                                               Summary)
                Sean but didn’t manage directly     work. He is one of the most productive layout designers I have
                                                                                                                                                Viewers: 2,917
                                                    worked with. Sean had a reputation in the analog desi... See more      Messaging

https://www.linkedin.com/in/mike-may-777b114/                                                                                                                               1/2
8/13/2019              Case 6:19-cv-00254-ADA Document
                                                    (4) 56-3
                                                        Mike MayFiled   08/14/19 Page 57 of 175
                                                                 | LinkedIn

                                                                                        4          CMOTryFoundations:
                                                                                                          Premium Free Wo
              Search
                                                                                                   with Leadership
                                                                                                         for 1 Month and B

                                                                                                   of-Directors
                                                                                                   Viewers: 4,553

                                                                                    See more courses




                                                                                   Messaging

https://www.linkedin.com/in/mike-may-777b114/                                                                         2/2
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        Exhibit 17
8/13/2019               Case 6:19-cv-00254-ADA Document 56-3
                                                     Kevin LockerFiled   08/14/19 Page 59 of 175
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        Kevin Locker                                                                    Intel
                                                                                                                          People Also Viewed
        Engineer at Intel
        Phoenix, Arizona Area · 14 connections · Contact info                                                                       Larry Childs
                                                                                                                                    Design Engineer at Freescale


                                                                                                                                    Kevin C. Wheeler • 3rd
        Experience                                                                                                                  IT Exec/ Director/ Sr. Program Ma

                    Engineer
                    Intel
                                                                                                                                    Navid Jafri
                                                                                                                                    Design Manager at ST-Ericsson


                                                                                                                                    Olga Lu
                                                                                                                                    SRAM/FUSE Design manager at I
        Interests                                                                                                                   Corporation


                    Intel Corporation                                                                                               Ravi Kesiraju
                    1,436,637 followers                                                                                             Sales Process Manager at Honey
                                                                                                                                    Process Solutions


                                                                                                                                    Craig Gunderson • 3rd
                                                                                                                                    Global NVM Design Technology
                                                                                                                                    Manager


                                                                                                                                    Allie Clark • 3rd
                                                                                                                                    Fulfillment Manager at TFG Card
                                                                                                                                    Solutions, Inc.


                                                                                                                                    Terri Lucher
                                                                                                                                    Registered Nurse at Self-Employe


                                                                                                                                    Ninad Shinde • 3rd
                                                                                                                                    Business Functional Analyst at De
                                                                                                                                    Bank


                                                                                                                                    Charlie Lucher • 3rd
                                                                                                                                    Senior Account Manager at Hone
                                                                                                                                    International


                                                                                                                          Learn the skills Kevin has

                                                                                                                                           Python GUI Developm
                                                                                                                                           with Tkinter
                                                                                                                                           Viewers: 11,803

                                                                                                                                           When: The Scientific S
                                                                                                                                           of Perfect Timing (Blin
                                                                                                                                           Summary)
                                                                                                                                           Viewers: 2,917
                                                                                                                        Messaging

https://www.linkedin.com/in/kevin-locker-7a916232/                                                                                                                    1/2
8/13/2019               Case 6:19-cv-00254-ADA Document 56-3
                                                     Kevin LockerFiled   08/14/19 Page 60 of 175
                                                                  | LinkedIn

                                                                                         4          The Try
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               Search
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                                                                                                    When There Are No E
                                                                                                    Answers (Blinkist)
                                                                                                    Viewers: 5,517

                                                                                     See more courses




                                                                                    Messaging

https://www.linkedin.com/in/kevin-locker-7a916232/                                                                       2/2
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        Exhibit 18
8/13/2019              Case 6:19-cv-00254-ADA Document 56-3
                                                     Matt HensonFiled   08/14/19 Page 62 of 175
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                                                                                                                                       The TopTrial Laywers In America. Sin
                                                                                                                                       1993.


                                                                                                                                       47 New MA Clients
                                                                                                                                       47 new legal clients seeking a MA
                                                                                                                                       attorney. View their cases today.


                                                                                                                                       Monitor Claimants Online
                                                                                                                                       Tracks activities on Twitter, Facebook
                                                                                                  Connect       More…                  MySpace, blogs, boards, social news



       Matt Henson          · 3rd                                                            NA
                                                                                                                           People Also Viewed
       May 22, 1976 - February 16, 2011                                                      Carnegie Mellon University
       Austin, Texas Area · 231 connections · Contact info                                                                            Clarice Keegan • 3rd
                                                                                                                                      Deceased at ArtlinesbyClarice.co


                                                                                                                                      Gowri Thampi • 3rd
       About                                                                                                                          I am not looking for new opportu

       www.matthenson.com
                                                                                                                                      Cory Franklin • 3rd
                                                                                                                                      Deceased


       Experience                                                                                                                     Aaron E. • 3rd
                                                                                                                                      Deceased
                  Deceased
                  NA
                                                                                                                                      Abe Chin • 3rd
                  Feb 2011 – Present · 8 yrs 7 mos
                                                                                                                                      Dead


                  Senior Product Manager                                                                                              Dave Trager • 3rd
                  Silicon Laboratories                                                                                                Director Of Engineering at Silicon
                  Feb 2009 – Feb 2011 · 2 yrs 1 mo

                                                                                                                                      Sarah Walton • 3rd
                  Founder                                                                                                             Senior IC Layout Designer at App
                  LiveMosaic
                  Apr 2007 – Feb 2011 · 3 yrs 11 mos                                                                                  Steve Richmond • 3rd
                                                                                                                                      Design Engineering Manager at S
                                                                                                                                      Labs
                  Director, Strategic Innovation
                  Integral Wave Technologies
                                                                                                                                      Abhay Misra • 3rd
                  Aug 2006 – Apr 2007 · 9 mos
                                                                                                                                      Semiconductor Technology and S
                                                                                                                                      Chain Executive
                  CTO
                  Xware Technologies                                                                                                  Mike May • 3rd
                  Jan 2006 – Aug 2006 · 8 mos                                                                                         Analog system and circuit design
                                                                                                                                      Silicon Laboratories
                  I'm responsible for developing Xware's marketing, business and technology strategy.

       Show 4 more experiences
                                                                                                                           Learn the skills Matt has

                                                                                                                                             Business Ethics for
       Education                                                                                                                             Managers and Leader
                                                                                                                                             Viewers: 1,200
                  Carnegie Mellon University
                  BSECE, Electrical Engineering, Psychology                                                                                  Become an Entreprene
                  1994 – 1998                                                                                                                Inside a Company
                  Activities and Societies: Student Government                                                                               Viewers: 10,127

                                                                                                                                             Electronics Foundatio
                                                                                                                                             Basic Circuits
                                                                                                                          Messaging
                                                                                                                                             Viewers: 117,097
https://www.linkedin.com/in/mhenson/                                                                                                                                    1/3
8/13/2019                 Case 6:19-cv-00254-ADA Document 56-3
                                                        Matt HensonFiled   08/14/19 Page 63 of 175
                                                                    | LinkedIn

       Skills & Endorsements                                                                                                   See more
                                                                                                                                   4    courses   Try Premium Free
                 Search                                                                                                                              for 1 Month
       Embedded Systems · 9
             Endorsed by Franz Weller and 1 other who is highly
                                                                             Endorsed by 6 of Matt’s colleagues at SigmaTel
             skilled at this



       SoC · 9
       Mike Warren and 8 connections have given endorsements for this skill


       Semiconductors · 8

             Endorsed by Steve Cox, who is highly skilled at this            Endorsed by 4 of Matt’s colleagues at SigmaTel



                                                               Show more



       Recommendations
         Received (2)          Given (3)


                   Aaron Martin                        By far the most intelligent person I've ever worked with in my
                   Senior VP Secure                    career. Outgoing, Vocal, and highly creative.
                   Engineering, CHO BLAKFX
                   September 4, 2006, Matt worked
                   with Aaron in the same group



                   Josef Zeevi                         Matt's a brilliant architect with a broad understanding of the needs
                   Responsible for customer-           and requirements of the market. He's knowledgable about how to
                   facing issue resolution and
                                                       get there, and smart enough to know how to drive and focus
                   new technologies and
                   internal FW development             others in the same quest.
                   processes.
                   April 12, 2006, Josef worked with
                   Matt in different groups




                                                                                                                              Messaging

https://www.linkedin.com/in/mhenson/                                                                                                                                 2/3
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                                                     Matt HensonFiled   08/14/19 Page 64 of 175
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                                                                                        4         Try Premium Free
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                                                                                   Messaging

https://www.linkedin.com/in/mhenson/                                                                                 3/3
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                                                                           1



 1                    IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE WESTERN DISTRICT OF TEXAS

 3                                 WACO DIVISION

 4   VLSI TECHNOLOGY, LLC              *
                                       *
 5                                     *
     VS.                               * CIVIL ACTION NO. W-19-CV-254
 6                                     *
     INTEL CORPORATION                 *     July 31, 2019
 7
           BEFORE THE HONORABLE ALAN D ALBRIGHT, JUDGE PRESIDING
 8                             MOTION HEARING

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 1   Court Reporter:               Kristie M. Davis
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                                   Waco, Texas 76702-0994
 3

 4

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 1   (July 31, 2019, 2:01)

 2           THE BAILIFF:    All rise.

 3           (Call to Order of the Court)

 4           THE BAILIFF:    Court is now in session.     Please be seated.

 5           THE COURT:     Good afternoon.

 6           DEPUTY CLERK:     Motion hearing/scheduling conference in

 7   Civil Action W-19-CV-254, styled VLSI Technology, LLC vs. Intel

 8   Corporation.

 9           THE COURT:     Counsel, if you would be so kind as to

10   introduce yourselves, introduce any clients you might have.

11   Primarily let me know who is going to be speaking on each

12   side's behalf.

13           And then -- Mr. Ravel, you're not willing to wait your

14   turn?

15           (Laughter.)

16           THE COURT:     I'm kidding.   Go ahead.

17           MR. TINDEL:     Good afternoon, Your Honor.    Andy Tindel.

18   I'm here on behalf of the plaintiff VLSI, Inc., and with me

19   today we have Morgan Chu.

20           MR. CHU:     Good afternoon, Your Honor.

21           THE COURT:     What an honor to have you here.

22           MR. CHU:     Thank you.

23           THE COURT:     We met earlier this year at a dinner I believe

24   either in California or in Virginia.        I was giving a speech at

25   a CLE and -- was it in Virginia?         There was a --
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 1         MR. CHU:     It was actually California and I think Judge

 2   Schroeder introduced us.

 3         THE COURT:    That's absolutely right.      Okay.    I forgot.    I

 4   gave three speeches that week and I couldn't remember where it

 5   was, but it was a privilege.       And that's right.      And then we

 6   had the wonderful talk at that speech where they honored you.

 7   That was a wonderful evening.

 8         MR. CHU:     My honor to be in your courtroom.

 9         THE COURT:    Pleasure to be here.

10         MR. TINDEL:     Your Honor, we also have Ben Hattenbach with

11   the Irell & Manella firm.

12         MR. HATTENBACH:       Good afternoon, Your Honor.

13         THE COURT:    Okay.

14         MR. TINDEL:     Charlotte Wen of Irell & Manella.

15         MS. WEN:     Good afternoon, Your Honor.

16         MR. TINDEL:     And last and certainly least is our local

17   counsel Craig Cherry.       We're ready to proceed, Your Honor.

18         (Laughter.)

19         THE COURT:    Hard to do better than that, Mr. Ravel?

20         MR. RAVEL:    I'll do my best, Judge.      Steve Ravel.    Pleased

21   and proud to be here representing Intel Corporation.           Along

22   with me are two people from the Wilmer firm Greg Lantier and

23   Bill Lee.

24         MR. LEE:     Good afternoon, Your Honor.

25         THE COURT:    Mr. Lee, quite an honor to have you here.
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 1   This is a -- this -- I'm going to go on the record and say I

 2   doubt lawyers of this -- I don't want to insult -- I'm sure in

 3   other cases there have been lawyers of this caliber, but I

 4   would suggest that in patent cases this is probably a landmark

 5   day.     And so I appreciate everyone who's here.

 6          MR. RAVEL:   And back in the pews is our client Mashood

 7   Rassam, and you know Sven Stricker my colleague.

 8          THE COURT:   I do.

 9          MR. STRICKER:    Good afternoon, Your Honor.

10          THE COURT:   Before we get started, I need to put on the

11   record I think I'm going to list everyone.         As you all know, at

12   least a couple of you know, I did practice in this area a

13   little bit and I think I've got it straight.          Maybe I'm missing

14   something, but as best I can tell, during the course of my

15   practice of those people who are in this case, I've represented

16   Intel.    I represented Freescale.      I've represented SigmaTel.

17   I've sued SigmaTel.      But I have never represented the

18   plaintiff.    And so I don't believe I have any conflict.            All of

19   that was a substantial amount of time ago that I represented

20   any of those companies, probably at least six or seven or eight

21   years since I've had that representation, but I wanted to let

22   you all know that -- especially because I practiced in Austin,

23   you know, I'm familiar with the Austin companies.           And so if

24   someone has a problem with that and wants to at some point

25   raise it, let me know.      You know, I think I can be fair and
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 1   impartial, given how I've represented companies on -- you know,

 2   on every side, but, you know, I wanted to make sure I

 3   disclosed.

 4         So with that being said, I believe probably the motions

 5   that I want to take up were filed by the defendant and I'm

 6   happy to hear from you.

 7         MR. RAVEL:    You'd like to hear the transfer motion first?

 8         THE COURT:    Entirely up to you.

 9         MR. RAVEL:    All right.    Mr. Lee is going to take care of

10   that for us.     How many booklets for the Court and staff, Judge?

11         THE COURT:    I need one.     Lewis probably needs one and the

12   court reporter for sure will want one.

13         Yes, sir.

14         MR. LEE:     May I proceed, Your Honor?

15         THE COURT:    Please.

16         MR. LEE:     Thank you.    Your Honor, I'll address the

17   transfer motion first, and let me start by saying two things

18   that I think distinguish this from many of the transfer motions

19   Your Honor saw in practice and Your Honor has seen since you

20   assumed the bench.      The first is that this is a different type

21   of transfer motion where the focus is on forum shopping.             The

22   second is this is a different type of transfer motion because

23   the chronology of events that bring us to your courtroom are

24   largely undisputed.      They're just events that happened on

25   specific days and specific things occurred, and it is those
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 1   series of events that we suggest and have argued to Your Honor

 2   justify transfer.

 3         So if, Your Honor, I would take you to Slide -- go

 4   immediately to the chronology because I think it's the

 5   chronology that distinguishes this case from others and it's a

 6   chronology that makes fights about who did what, when, where

 7   less relevant in this case than it would be in another transfer

 8   motion.

 9         So if I take Your Honor to that first Slide 2, this is, as

10   Your Honor knows, the third, fourth and fifth case among the

11   parties.    And the first case was in California and Slide No. 2

12   gives Your Honor the background of the California case before

13   it was stayed.

14         And without taking Your Honor through each of the events,

15   let me just identify some of the important events.           First, it

16   was indisputably the first case filed.         As Your Honor can see,

17   it was filed on October 2nd, 2017.

18         Second, a lot occurred in that case, including, if Your

19   Honor goes to June 21st, 2018, the filing of damages

20   contentions claiming damages in the neighborhood of one to $8

21   billion, a number that's been made on the public record.

22         After that point in time several important things

23   occurred.    First, the magistrate judge in California found the

24   defendant -- the plaintiff's damages contentions deficient and

25   ordered them to be revised or represented.
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 1         Second, we sought IPRs on all of the eight patents.            They

 2   were allowed as to six.      Those are proceeding.

 3         And then there was a claim --

 4         THE COURT:    May I interrupt you?

 5         MR. LEE:     Surely.

 6         THE COURT:    On the IPRs that were instituted between

 7   December 4 and March 1st of 2019 on the six patents, are those

 8   on all the claims of those six patents?

 9         MR. LEE:     All the asserted claims.     Yes, Your Honor.

10         THE COURT:    Okay.

11         MR. LEE:     And after that occurred so that we had six

12   patents where IPRs had been asserted on all the asserted

13   claims, two not instituted, there was a Markman hearing where

14   Judge Freeman allowed us to argue and she construed

15   approximately ten terms.       At the end there was not a dispute

16   about a couple.

17         After that series of events after the damages contentions

18   and the billions of dollars have been found to be deficient,

19   after the IPRs had been instituted, after the Markman hearing

20   occurred and had been decided, we told VLSI we were going to

21   move to stay the proceeding.       They ultimately agreed.      Then

22   what happens?     If I turn Your Honor to Slide 3, I'm going to

23   take you through the chronology again because I think it speaks

24   volumes.

25         On June 28th, 2018 VLSI files Action No. 2, what we call
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 1   the first Delaware action.       It was filed seven days after the

 2   district court in California found the infringement contentions

 3   of VLSI to be deficient.

 4         If I take you to Slide No. 4, Your Honor, the next event

 5   is a motion to transfer where we suggested that the case be

 6   transferred to California in part because Judge Freeman had

 7   done an awful lot of work, was up to speed and that there were

 8   efficiencies to be gained.       I think what's important for our

 9   purposes today, Your Honor, is what VLSI said in opposition to

10   that motion.     And I think I'm going to be able to show Your

11   Honor shortly that what they said then is the opposite of what

12   they said to you.

13         So if I turn you to Slide No. 5, these are quotes from

14   their brief.     And I'm not going to go through each, in the

15   interest of time, but to focus Your Honor on the third quote

16   from the brief, it says:       Delaware has a strong interest in

17   adjudicating disputes among its corporate citizens.           As Your

18   Honor knows, both VLSI and Intel are Delaware corporate

19   citizens.    But they went further in an effort to defeat the

20   transfer motion and they filed an affidavit by Michael

21   Stolarski, the only employee of VLSI and the CEO.

22         And I take you to Paragraph 9 which is the second

23   paragraph on Slide No. 6:       I am not aware of any VLSI witnesses

24   who would be unwilling or unavailable to travel to the District

25   of Delaware for trial or any other court proceeding.
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 1         Those are the arguments that were made in opposition to

 2   the motion to transfer.

 3         THE COURT:    Well, who would VLSI witnesses be?

 4         MR. LEE:     Your Honor, it's hard for me to predict, but the

 5   VLSI witnesses could include Mr. Stolarski.

 6         THE COURT:    Got that.

 7         MR. LEE:     They also could include some of the inventors

 8   who have been described to you of the patents inventions

 9   originally who might travel to the trial to testify about their

10   inventions, their patents.

11         THE COURT:    But they couldn't be compelled to go to

12   Delaware?

13         MR. LEE:     They could not be compelled.      They are not

14   within the subpoena power of Delaware.         Some of them would be

15   within the subpoena power of this Court, and that's an argument

16   that VLSI has made to you.

17         THE COURT:    And that's an important argument I think.        How

18   many of the -- with respect to the patents that are asserted in

19   this case, what is Intel's position with respect to how many of

20   the inventors are in this district?

21         MR. LEE:     It's 14 out of 16.    And, Your Honor, if I could

22   just add one point to that fact.

23         THE COURT:    You have -- take all the time you want.

24         MR. LEE:     All right.   Thank you, Your Honor.

25         The fact that 14 of the 16 of these inventors are in this
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 1   district and in Austin, that was a fact that was true the day

 2   this case was filed in -- the second case was filed in

 3   Delaware.    That was a fact which was true while the case was

 4   pending in Delaware.      Not withstanding that fact, VLSI filed on

 5   six of the eight patents before Your Honor in Delaware.              So

 6   that fact hasn't changed.

 7         THE COURT:    I understand.     Again, that's why -- I'll ask,

 8   you know, Mr. Chu as well, but, you know, I'm not sure what

 9   VLSI witnesses which they're talking about.          In other words,

10   I'm actually also saying maybe -- maybe this was a statement

11   that may have looked bold in Delaware without really meaning

12   very much, because when you peel it back, Mr. Stolarski may

13   have been the only VLSI witness he was talking about.

14         MR. LEE:     Your Honor, I think that may well be true.             I

15   don't know because I wasn't involved, but I had to take it at

16   face value.    I think if Your Honor looks at Paragraphs 8 and 9,

17   Paragraph 8 talks about the convenience to him of the case

18   being in Delaware.      Paragraph 9, at least as I read it and

19   fairly interpret it, is talking about others.

20         THE COURT:    Well, and also -- I mean, look.       I know a

21   lawyer wrote this and I'm not letting Mr. Stolarski slide, but

22   by him saying I'm not aware of any VLSI witnesses who would be

23   unwilling or unable to travel to the District of Delaware for

24   trial or any other court proceedings, the reality is -- and

25   you've tried probably a thousand more patent trials than I ever
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 1   had.   Maybe I'll catch up to you on this side of the bench, but

 2   it'll take awhile, but, I mean, the reality is that in this

 3   district the inventors can be compelled to testify.

 4          MR. LEE:     Your Honor, we don't dispute that for a second.

 5          THE COURT:    And in Delaware or California they cannot.

 6          MR. LEE:     Your Honor, that's -- we don't dispute that for

 7   a second.

 8          THE COURT:    Okay.

 9          MR. LEE:     Now, in California there would have been Intel

10   witnesses and former Intel employees who were involved in

11   designing the products -- designing the products that were at

12   issue in the California case that could have been compelled.

13   Some of them are current employees would have brought them.

14          THE COURT:    But my experience typically from the handful

15   of times I was on the plaintiff's side, one of which

16   unfortunately your firm was on the other side and I think it's

17   the only case I lost.        Not that I would hold it against your

18   firm for that.      They did a great job, but I think as far as the

19   plaintiff is concerned in terms of being able to compel

20   witnesses, they can depose those guys and then Intel decides

21   whether or not to call them to trial or present them by -- is

22   my experience.      Here as far as the plaintiff's concerned -- I'm

23   going to ask these hard questions of the other side too.

24          MR. LEE:     Sure.

25          THE COURT:    But here in fairness to the plaintiff and what
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 1   they want to do, certainly this district allows them to have

 2   folks that I think most plaintiffs would want to be able to

 3   call in their case and be able to compel them.

 4         MR. LEE:     Your Honor, we don't dispute for a second that

 5   what you said is correct that 14 of the 16 are here.           They can

 6   be compelled.     As I said, that was known before when the case

 7   was filed in Delaware.       So the disadvantages that Your Honor is

 8   articulating are in fact true based upon your experience and

 9   mine which is the same.       They were precisely the same

10   disadvantages on the day that they filed the suit, and if I

11   could, I'd like to skip ahead with that in mind just -- and

12   then I'll come back to the chronology.

13         THE COURT:    However you want to do it.

14         MR. LEE:     If I could take Your Honor to Slide No. 15, and

15   I'm going to come back to the series of events that lead to the

16   filing of the second Delaware action, but what I'd like to do,

17   having in mind the hard question Your Honor has just asked is

18   to do this:     As I said, on the date Delaware 2 is filed, these

19   14 folks, or actually a substantial portion of them, lived in

20   Austin.    They were here.     They knew about it, but the case was

21   filed in Delaware.      So when we moved to transfer to California,

22   largely for efficiency reasons because it was so far along, I

23   think it's helpful to see what VLSI said, and I'm just going to

24   show you VLSI's words.

25         So if I take you to Slide 16.       And the reason I want to
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 1   skip ahead is because the very first comparison is I think at

 2   least relevant to what Your Honor has identified as an issue

 3   for us.    So on Page 16 when they were opposing the motion to

 4   transfer, VLSI said, quote:       Delaware is more convenient for

 5   VLSI witnesses in this case.       Now, it's just not talking about

 6   Mr. Stolarski now.      It's witnesses, plural.      When they oppose

 7   the motion before Your Honor, the District of Delaware is

 8   remote from all known witnesses and relevant events.

 9         Now, for sure these are drafted by lawyers, but they're

10   drafted for a reason.      In one case a defeated transfer motion,

11   in a second case a defeated transfer motion, and to me they are

12   the opposite, but it's not the only occurrence.

13         If I take Your Honor to Slide 17, this goes to the

14   question of design and development, and Your Honor knows from

15   the papers that have been filed the question of whether these

16   were designed and developed within this district is we think

17   undisputed, but VLSI has suggested it is disputed, but let's

18   just look at what they said again, again their words.           Quote:

19   In opposing the motion in Delaware as a matter of law, a claim

20   for patent infringement arises wherever someone has committed

21   acts of infringement.      Intel attempts to shift the analysis to

22   the location of the design and development of accused products.

23         What do they say to Your Honor?        The accused Intel

24   products include key features that are accused of infringement

25   here, the technology for which appears to have been designed
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 1   and developed at least in significant part by Intel engineers

 2   in this district.

 3         Slide No. 18, Your Honor.

 4         THE COURT:    Let me ask you this.

 5         MR. LEE:     Sure.

 6         THE COURT:    Leaving that aside for a second what the

 7   lawyers may have said in trying to protect wherever they were

 8   trying to protect at the moment, does Intel have a position on

 9   whether or not -- ignoring just for a second the Delaware

10   statement, does Intel have a position on whether or not the

11   statement that was made that you just read about Texas is

12   correct or not?

13         MR. LEE:     Your Honor, the answer is the statement is the

14   principle's correct.       It factually doesn't have an effect here

15   because what Your Honor has before you is a sworn declaration

16   from one of our witnesses Mr. Herrgott who says, based upon his

17   investigation, none of the design and development work for the

18   accused products in this case was done in Austin.           And that's

19   the only sworn statement before you.        So the reason I'm trying

20   to break down and I --

21         THE COURT:    No.    No.   That's a perfect answer.

22         MR. LEE:     Yeah.

23         THE COURT:    That's what I'm trying to get to is leaving

24   aside the potential inconsistency between the two statements,

25   is it Intel's position that the accused Intel products and the
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 1   features therein were not designed in the Western District?

 2         MR. LEE:     As far as we can determine based upon what we

 3   have now, yes.

 4         THE COURT:    Okay.

 5         MR. LEE:     And that's the declaration that we've put in.

 6   And so that's why I say, Your Honor, the principle's correct,

 7   has no factual application here.

 8         THE COURT:    And I've reviewed that.      I knew that, but it's

 9   helpful because I -- obviously when counsel for the plaintiff

10   gets up, I'm assuming he's going to say something different,

11   but I just wanted on the record to have your position on this.

12         MR. LEE:     No.   I appreciate it.    And, you know, I'm sure

13   they will say something different.        I guess the point I'm

14   trying to make is they already have said something different --

15         THE COURT:    Yeah.

16         MR. LEE:     -- on two different occasions.

17         So if I take you to Slide No. 18, Your Honor.          When

18   they're opposing the motion in Delaware, quote:          Delaware has a

19   strong interest in adjudicating disputes among its corporate

20   citizens.    I had mentioned that to Your Honor before.

21         To Your Honor they say:      The Federal Circuit has reversed

22   courts that have allowed cases to proceed in venues to which

23   the only real connection was party incorporation.

24         THE COURT:    I bet they'd have ten Federal Circuit cases

25   that supported both of those statements.
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 1           MR. LEE:     I think you can have them go both ways, but I

 2   think, Your Honor, when you have the same case or the same set

 3   of cases and the same parties and you're articulating a

 4   principle in order to get an advantage because the motion to

 5   transfer to California was denied.        To then reverse course and

 6   take a different position is at least something that Your Honor

 7   can consider.      And I'm not suggesting that it's all by itself

 8   ipso facto dispositive, but it's something that Your Honor can

 9   consider for sure, and there's a couple more --

10           THE COURT:    I hate to interrupt you, but -- and you'll all

11   appreciate why I am though.       We have a jury out and I just got

12   a couple of notes, and so if I could have the other lawyers

13   step up for just a second so I can respond to the jury.              I

14   apologize, Mr. Lee, but I bet you've been in this position as

15   well.

16           MR. LEE:     I have.

17           THE COURT:    And so...

18           MR. LEE:     And I know that when I was, I thought they were

19   much more important than me.

20           (Recess taken from 2:23 to 2:24.)

21           THE COURT:    Mr. Lee, you're back up.

22           MR. LEE:     Thank you, Your Honor.

23           Your Honor, I took you to Slide 19.

24           THE COURT:    Okay.

25           MR. LEE:     And I won't read the quotation, but again this
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 1   is just another contradiction, in our view, in representations

 2   made to the two different courts, Judge Connolly in Delaware

 3   and Your Honor here.      I think the important point here, Your

 4   Honor, and the reason I skipped to this part quickly is in

 5   light of Your Honor's question about the undisputed fact it's

 6   the location of the inventors.        What the cases say and the

 7   cases that follow on Page 19, 21 and 22, and I won't belabor

 8   them, is they say when forum shopping has occurred, when the

 9   privilege of picking your own forum has in some sense been

10   manipulated for whatever reason, that can trump the traditional

11   factors of convenience of the parties, convenience of the

12   witnesses.    So what I would say to Your Honor is if you just

13   focused exclusively on the location of the inventors and that

14   were dispositive in some way, it would be a harder motion for

15   us to bring to Your Honor.

16         THE COURT:    Well, tell me this, Mr. Lee.       What -- in terms

17   of the things I am supposed to consider, I don't care which of

18   the -- regardless of where else we're talking about, the

19   reality is that this Court can get you to trial 12 months from

20   now, 16 months from now.       And whatever Delaware is, it's longer

21   and probably at least twice as long if that.          I mean, and so

22   what -- and I'll ask plaintiffs of course, but where does that

23   rank in the scale of things I should consider that the reality

24   that really virtually compared to any other court you could

25   mention I can get you to trial quicker?
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 1           MR. LEE:     Your Honor, it's a perfect question and I think

 2   crystalizes what I hope was correct when I first started this

 3   which is this case is different.        And what makes it different?

 4   The first is there is a case with related technologies,

 5   overlapping inventors, almost overlapping products that's

 6   scheduled in Delaware for November of 2020.          So we have a trial

 7   date.    It's not two and a half years off.       It's in November of

 8   2020, and Judge Connolly has had three or four different

 9   hearings already and has a Markman hearing scheduled for

10   November of this year.

11           I think, Your Honor, what the cases say, and the cases I'm

12   referring to are the ones at 21, 22 and 23, are saying is --

13   and without belaboring the law because I know Your Honor has

14   seen it before, Section 1404 says in the interest of justice.

15           THE COURT:    Uh-huh.

16           MR. LEE:     And forum shopping is not in the interest of

17   justice.    And if you have forum shopping, even if you were to

18   create a checklist of the public and private factors and that

19   checklist in a particular case might counsel you to denying

20   transfer, you can't ignore the forum shopping.          And I think the

21   reason this case is different, Your Honor, is this:           These are

22   the third, fourth and fifth cases.        There has been, in our

23   view, they'll disagree, forum shopping at the outset when

24   California was stayed and we moved to Delaware.          Then a series

25   of events occurred which I'd like to take Your Honor through
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 1   very briefly because there's a reason that the Delaware case

 2   got dismissed when it got dismissed and we appeared here.

 3         THE COURT:    Okay.

 4         MR. LEE:     So what these cases say, Your Honor, is VLSI

 5   would like Your Honor to think that the Volkswagen case has

 6   created a checklist and you just go through and you check them

 7   off plus, minus, neutral and see where you come out.           What

 8   Volkswagen and the Fifth Circuit said is, no.          That's not what

 9   the law is.    The law looks at all the factors, and they even

10   say, even if you look at the location of the inventors, 1404

11   here, even if we take as given that Your Honor could get us to

12   trial on these cases let's say ten months earlier, we can't

13   look at that in isolation.       And if we look at it in the context

14   of the California action, the first Delaware action, what

15   occurred in the Delaware action before the cases came to Your

16   Honor, that type of forum shopping is not in the interest of

17   justice.    And I understand that the lawyers drafted the briefs

18   that create what I think are the contradictions, but part of

19   the interest of justice analysis, Your Honor, is, is it in the

20   interest of justice for Your Honor to deny a transfer motion

21   when this is what has occurred?        And that's why if this were a

22   garden variety transfer case, Your Honor, I'd be the first

23   person to suggest -- to admit in response to Your Honor's

24   questions that it is, but what the case is at Slide 20 says if

25   you have someone who takes one position at one time and then
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 1   changes it for another, you at least ought to look at it

 2   skeptically.

 3         When you move to Slide 21, it says:        Judicial economy and

 4   the interest of justice are paramount considerations.

 5         And at Slide 22, Your Honor, and I'm hoping this is the

 6   answer to Your Honor's specific question, the cases have

 7   specifically said that even if you look at the public and

 8   private factors and they would indicate to you that the motion

 9   should be denied, the interest of justice can trump those, and

10   the cases have specifically said -- if I turn Your Honor to

11   Slide 25 and 26, they have specifically said forum shopping is

12   the type of public interest that justifies transferring even if

13   walking through the public and private factors would lead you

14   to a different result in isolation.

15         So I think the answer to Your Honor's question is it is a

16   critically important question.        The facts that Your Honor has

17   identified are probably the most difficult for me to address.

18   My response is, you can't view them in the abstract.           You have

19   to view them in the context of what occurred before we arrived

20   in Waco.    We have to view them in the context of the two cases

21   that occurred before and we have to view them in the context of

22   whether this series of events could fairly be characterized by

23   Your Honor as someone acting in the interest of justice.

24         THE COURT:    Okay.

25         MR. LEE:     If I --
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 1           THE COURT:    Can I ask you a couple of questions?

 2           MR. LEE:     Sure.    Sure.

 3           THE COURT:    First I understand that there is a -- there

 4   are patents with related technology that would go to trial in

 5   November of 2020 with -- the Markman is in November of this

 6   year.

 7           MR. LEE:     Right.

 8           THE COURT:    And then trial would be November of 2020.          Did

 9   I --

10           MR. LEE:     November 2020.

11           THE COURT:    What would your estimate be if this case were

12   transferred to Delaware?         What is your estimate for when it

13   would be tried?

14           MR. LEE:     Your Honor, I'll give the honest answer.        I

15   don't know.    Right before the cases were brought to Your Honor,

16   we had moved to consolidate the two, the two sets of cases.

17   Now, there are some differences in the patents in the

18   technology to be sure, but for us the overlap in the accused

19   products, the overlap in the witnesses, the overlap in the

20   damages theory led us to move to consolidate.          So what

21   occurred, Your Honor, and it's in the slides, but let me

22   summarize it if I could is once the second -- what happened is

23   this:    The California action is stayed.       On the very same day

24   VLSI files the second Delaware action.         And that's on Slide No.

25   8, Your Honor, just in terms of the chronology.          So we now have
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 1   six of the patents before Your Honor in Delaware as of March of

 2   this year.    We tell VLSI we're going to move to consolidate

 3   them for efficiency purposes and we move on March the 20th.                So

 4   we tried to do it promptly.       They opposed.    On March the

 5   26th -- so all of this is happening close to the same time.

 6         THE COURT:    Of this year?

 7         MR. LEE:     This year.

 8         Judge Connolly has a motion that is the mirror image of

 9   the motion you have on indirect infringement, induced

10   infringement, contributory infringement and willfulness.              He

11   did not have the patent issue that Your Honor has.           Judge

12   Connolly grants that motion.       It's virtually identical to the

13   motion Your Honor's being asked to hear and decide now.              We

14   tell VLSI immediately that we're going to move in the second

15   action for the same six patents that are before Your Honor that

16   we're going to move to dismiss those same claims.           Then

17   something happens that I didn't quite figure out at the time

18   but I now have figured it out.        VLSI's response is to say,

19   we'll give you a two week extension of the time to answer.

20   Well, we didn't --

21         THE COURT:    Which means they can -- which means they can

22   dismiss it?

23         MR. LEE:     What it means is in that two week period there's

24   a hearing before Judge Connolly.        They can see what happens at

25   the hearing and they can then decide, and that's in fact what
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 1   occurred.    And, Your Honor, I've asked for extensions a lot of

 2   times.    It's very infrequent that you are granted one when you

 3   haven't even picked up the phone to ask.         So this one was

 4   granted unilaterally, and then what happens is there's a

 5   hearing before Judge Connolly, and this is on Slide No. 12 just

 6   chronologically, and it occurs on April 13th.          And I'm not

 7   going to -- Mr. Hattenbach and I argued it.          We probably

 8   disagree about what happened and what the end result was, but I

 9   think I can fairly say to Your Honor we argued it.           The end

10   result was an order requiring substantial claim narrowing and

11   the judge asked the question about consolidation with the

12   second case.     So that's on April the 8th.      If I then take --

13   April the 3rd.

14          If I then take you eight days later, the case is

15   voluntarily dismissed and refiled before Your Honor on the same

16   day.     Now, let me just say three things.      One is to reiterate

17   that on April -- in March -- on March 1st when the case was

18   filed in Delaware, the inventors lived where they lived.             Most

19   of them live within the district.        The documents and the

20   designs occurred years ago.       This is all fixed and VLSI filed

21   in Delaware and made those express representations to the

22   Delaware court.     And again, if they hadn't made them, it would

23   be different.

24          The second is that they suggest that the decision to file

25   was because Your Honor had arrived on the bench.          You might be
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 1   able to get us to trial faster, but as the slides demonstrate,

 2   Your Honor had been seated seven months before.          The catalyzing

 3   event was not Your Honor being seated on the bench but things

 4   that were happening in Delaware.

 5         And the third thing is the motion on indirect infringement

 6   and willfulness -- enhancement based upon willfulness I think

 7   is a fair characterization of it had been denied with opinion

 8   by Judge Connolly.      We were going to renew it because the

 9   allegations were virtually identical, and instead what happens

10   is cases are dismissed.      Cases are refiled here.      Allegations

11   are substantially identical and Your Honor is now being asked

12   to decide differently the very same motion that Judge Connolly

13   has decided between the same parties in the same general area

14   of technology involving the same accused products.           So that's

15   why we would suggest, Your Honor, that this is different, and

16   Slide No. 14 just pulls it all together and identifies the

17   seven month period that lapsed between Your Honor's taking the

18   bench and the filing of these cases.

19         So if we put it all together, if we don't try to just look

20   at a checklist in the abstract and check off plus, minus.            Your

21   Honor remembers from your practice days when experts would get

22   up with the Georgia Pacific factors and just go plus, minus,

23   neutral.    That's not the exercise.      The statute says in the

24   interest of justice for a reason.        It just doesn't say for the

25   convenience of the parties.       It just doesn't say for the
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 1   convenience of the witnesses.       It says in the interest of

 2   justice.    And so the question for Your Honor that we've argued

 3   is in the context of these five different lawsuits, in the

 4   context of these events, in the context of the representations

 5   that I took you through, the difference, in our view, between

 6   what was said to the judge in Delaware, and he denied the

 7   motion, and what is being said to you today, what is the only

 8   fair characterization of that, and that is we're moving from

 9   forum to forum to forum.       And we're not only moving from forum

10   to forum to forum.      We're asking you, Judge Albright, to decide

11   the very same motion Judge Connolly decided, and the way we can

12   be sure that Judge Connolly is not going to decide it is we

13   dismiss the case in front of him.        And that's why the cases in

14   those pages, without going through them, say what they say,

15   which is the interest of justice is paramount.          The interest of

16   justice can trump the private and public factors, number of

17   inventors, subpoena power, and it's why it says at the end of

18   the day if there has been forum shopping, and the facts of the

19   cases that are cited in the slides are in some ways I think

20   more benign than what we have here, but the words are there.

21   They say forum shopping is not an interest of justice.

22         Now, Your Honor, even if --

23         THE COURT:    Can I ask you a question?

24         MR. LEE:     Surely.

25         THE COURT:    And this is completely off track.        So if it'd
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 1   be easier for you to keep going, I'll let you keep going.             If

 2   not --

 3           MR. LEE:     No.     If I give you a completely off track

 4   answer, you'll know why.

 5           THE COURT:    Okay.     I want to go back for just a second.

 6   With respect -- we were talking about where folks -- both the

 7   inventors are located here.

 8           MR. LEE:     Right.

 9           THE COURT:    And then I asked you questions about whether

10   or not there are relevant Intel witnesses here.

11           MR. LEE:     Yes.

12           THE COURT:    Do you know whether or not anyone that was

13   involved in designing the accused features, allegedly

14   infringing features is located in the Western District?              Is

15   it -- do you know what -- are there any here?          I couldn't tell

16   from y'all's briefing whether it was clearly a goodly

17   percentage are in California.

18           MR. LEE:     Yeah.    Let me confirm with Mr. Lantier.

19           THE COURT:    Because I know that y'all have a big operation

20   in Austin and so I'm curious.

21           MR. LEE:     Let me say what I think is correct, and if he

22   gives me the look, Your Honor will know why.          The answer is for

23   the accused features of the products that are at issue before

24   Your Honor, our best information is none of them were designed

25   here.    Not -- they're not made here.        There are 1,700 Intel
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 1   employees in Austin, but they're not associated with these

 2   accused products.     And in fact if I skipped ahead, Your Honor,

 3   to Slide 31, it's an effort by us to identify the locations of

 4   the witnesses.     So Intel's witnesses who were involved in

 5   designing, developing and manufacturing these products are

 6   located in Arizona, Portland, Oregon, and Israel which is what

 7   the far right has intended to show.        We have put the Intel logo

 8   round about Austin because we do have employees here, but as

 9   Mr. Herrgott says in his declaration, they were not involved in

10   the design and development of the accused products.           So we are

11   going to have to bring witnesses, which we will, from Arizona,

12   Oregon and Israel.

13         Now, Your Honor, to anticipate the next question, we would

14   have to bring them to Delaware too.        The real question is if

15   these two cases had stayed in Delaware in parallel or in

16   companion, whether they were consolidated or not, would these

17   witnesses have to be deposed twice in Delaware?          Probably not.

18   Would they have to appear twice for trial?         Maybe not.    So what

19   I think the law recognizes is when you have cases that could be

20   consolidated for some purposes, and I should say Your Honor has

21   recognized that by saying our three cases will be consolidated

22   for discovery purposes at least, there are efficiencies that

23   can be gained.     Witnesses that overlap technically won't have

24   to be deposed once in Texas, once in Delaware.          They could have

25   been done together.      I think it's the reason -- I don't know
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 1   for sure, but I think it's the reason that Judge Connolly

 2   inquired about the motion to consolidate because we were just

 3   entering the heavy duty discovery period.

 4         So I took Your Honor to Slide 27.        I do think that even if

 5   you try to tote up the private and public interest factors, and

 6   I think Your Honor has asked us about the two that are most

 7   difficult for us which is one is the location of the inventors

 8   and the question is whose testimony can you compel or whose

 9   attendance can you compel, along with the question of time.

10   There are other factors though that if you balance it all out

11   would at least make it neutral, we suggest maybe balance in our

12   favor, but when you balance all of that together with what I've

13   focused the argument on, it doesn't make sense to us that you

14   should be able to, to quote the cases, abuse the privilege of

15   selecting a forum not once, not twice but three times.           Now --

16         THE COURT:    I'm sorry.

17         MR. LEE:     No.   I'm sorry.    You go ahead.

18         THE COURT:    With respect to the folks -- the Intel folks

19   who are located primarily in California, do you have a sense --

20   and again you can turn to your learned co-counsel.           I think

21   it's nice of him to let you have an opportunity to stand on

22   your feet and speak in court.         But can you give me an idea of

23   what the frequency is or how ordinary it is in the Intel world

24   for the folks who are located in California who are doing the

25   design work to travel to Texas to work on projects?           That may
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 1   be too ambiguous for you, but in terms -- you know, I think --

 2   I think we're headed -- I'll just give you -- this isn't

 3   particular to this case, but it seems to me -- and you and your

 4   opposing counsel are probably two of the smartest people in the

 5   world on patent issues.      I think a coming issue that courts

 6   will have to address is for a company like Intel, Apple,

 7   Google, Dell, doesn't matter, if they are making the argument

 8   that their people are located wherever they're located,

 9   California or Austin or wherever, if it is the practice of that

10   company for those people to routinely travel to this area --

11   you know, if your engineers are working on a project with

12   Austin people and Engineer Smith is in Austin three weeks out

13   of the year doing stuff, then it seems to me the burden on him

14   of having to be here maybe for a day of trial isn't as extreme

15   as another situation.      That's just an issue I see coming.        I

16   don't even know that people have been making that argument yet.

17   I haven't seen cases where that's been a factor, but it seems

18   to me it's something that's coming that I'm curious.

19         MR. LEE:    I agree.   I've had some cases where the location

20   of the witness had to be amplified by what their duties were

21   and where they traveled to.       I think my best information is

22   that the people designed in the design of the accused features

23   are not traveling to Austin to work on those or other purposes.

24   They -- we're sufficiently large that people in Austin are

25   doing something different.       For different of these features so
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 1   for some of the accused features the work's entirely done in

 2   Israel.

 3          THE COURT:    I got it.

 4          MR. LEE:     We're going to bring some of those folks whether

 5   the case is in Delaware or here.

 6          THE COURT:    I had forgotten that y'all had such a big

 7   Israel presence.

 8          MR. LEE:     And the Portland, Oregon facility is quite large

 9   too.   So, you know, would I say that, you know, whatever

10   travel's done -- no.      My guess is --

11          THE COURT:    Of course for the Israeli folks probably

12   flying to Delaware or Austin or California probably is a really

13   long flight regardless.      So there's that too.      But I'd

14   forgotten there were -- do you have off the top of your head a

15   sort of a broad picture breakdown of what percentage of them

16   are located primarily in California versus the number that

17   might have to travel somewhere regardless?

18          MR. LEE:     I don't, Your Honor.   We're in -- you know, the

19   best indication I can give you is that in the first Delaware

20   case but the second case but what we call Delaware 1, we're in

21   the process of scheduling depositions now and some of them are

22   going to take place in Israel.        Some of them are going to take

23   place in California.      Some of them are going to take place in

24   Oregon.    It's going to be where folks are located.         Now, part

25   of this is just trying to work things out as agreements between
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 1   counsel.    What I can fairly say to Your Honor is this:         Whether

 2   the case is in Texas, in Waco, Austin, Delaware, for each of

 3   the patents that remain when we get to trial -- I mean, there

 4   are eight now, but as Your Honor knows, it could be eight,

 5   could be two.

 6         THE COURT:    Yeah.

 7         MR. LEE:     We will have an engineer who is intimately

 8   involved in the design and development of our accused feature

 9   come to testify, and if it's in Waco, it would be in Waco.               If

10   it's in Wilmington, Delaware, it will be in Wilmington.              I

11   think the real question is whether before you get to that point

12   if I -- to use a hypothetical, if Your Honor had all of these

13   cases, one, two, three, four, five, and a witness, an engineer,

14   had something to say about one of the California patents, one

15   of the Delaware 1 patents, one of the Waco 3 patents, there

16   would be a way for Your Honor to say, okay.          He's going to

17   testify for eight hours, but have your day and that's going to

18   be it.

19         The way things work now or as the landscape is now, they

20   could get him once in Delaware.        They could get him once here

21   and we have two separate judges, and the best indication that

22   that's what's going on is why should Your Honor have to decide

23   the motion to dismiss that we're going to maybe find time to

24   argue to Your Honor when Judge Connolly has already decided it?

25   Same parties, same allegation, and what he found specifically
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 1   was there wasn't any allegation or sufficient allegation of

 2   willful blindness of the act of infringements presuit.           Why

 3   should Your Honor have to decide it?        And then, equally

 4   important, why should there be competing determinations from

 5   two district courts?      If Your Honor had all five cases, my bet

 6   is it'd be very unlikely that you would reach two different

 7   decisions in two different cases.        That's -- that's the issue.

 8   I mean, Intel's got 1,700 folks in Austin.         We do important

 9   work there.    We sell nationally.      We're going to be in Your

10   Honor's court.     And if there are garden variety transfer cases,

11   you're not going to hear the arguments that we're making today.

12   That's why I think that we've made the argument to you on the

13   overlap in the accused products.        We've made the argument to

14   you on the general overlap in technologies.          We've made the

15   argument to you about the possibility that there will be

16   witness overlap and duplication, and we've made the argument to

17   you that some of that can be ameliorated if all the cases are

18   before Your Honor or all the cases are before Judge Connolly or

19   all the cases are before Judge Freeman.         The one thing I'm

20   certain of at my advanced age is having over three different

21   judges in three different locales is not going to promote

22   efficiency, and that's why we suggest, Your Honor, that at the

23   end of the day if you take all of the things that are in the

24   remaining slides, and I won't go through them, the issues that

25   Your Honor has identified, the competing considerations of
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 1   where Intel's witnesses are, where the documents are, the fact

 2   the witnesses are going to have to travel in any event, the

 3   possibility of repetitive depositions, repetitive discovery --

 4         THE COURT:    Well, I can assure you if -- and I haven't

 5   made up my mind at all.      I mean, I really was looking forward

 6   to this.    It's an odd person that really looks forward to a

 7   hearing like this, but I spent all morning sentencing.           So it

 8   gives you an idea of how my day was, but I can assure you if

 9   with respect to at least the issues on duplicative discovery,

10   if the case were to stay here, I would be pretty sensitive to

11   make sure that there was no unfair burden on any of the parties

12   because the cases were in different locations.

13         MR. LEE:     And, Your Honor, we assumed so and we trust it

14   would be so.     I don't think it -- I'm not sure it's the most

15   efficient thing for us to have to come back and explain to you

16   that it's duplicative because in Delaware Judge Connolly

17   ordered this.     In California Judge Freeman --

18         THE COURT:    I bet you I could resolve that issue.        I bet

19   you, number one, having said this, it would be unlikely the

20   plaintiffs would make it an issue that had to be brought back

21   to me, but I resolve discovery issues within a 24-hour period.

22   Just -- and I'm saying I don't know what I'm going to do in

23   this case and maybe that's just information going forward.

24   Like you said, Intel may very well be a plaintiff here tomorrow

25   for all I know.     And so -- but just for the record, you know,
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 1    discovery motions don't -- that's not going to persuade me.                 I

 2    get your point.

 3          MR. LEE:     Right.

 4          THE COURT:    There's no question I get it, but that's

 5    something that I can handle pretty quickly.

 6          MR. LEE:     And, Your Honor, if you go to the last slide and

 7    then I'll yield the floor unless Your Honor has additional

 8    questions.

 9          THE COURT:    Okay.

10          MR. LEE:     Sometimes I found that it helps to step back

11    from the details and the checklists and just look at the

12    chronology and the sequence of events and say to ourselves, so

13    what happened here?     And we would suggest that if we do that,

14    the big picture's pretty clear.       We start in California.         It's

15    not going so great.     We file a second case in Delaware.           It's

16    going fine, but then California gets stayed and we filed a

17    second case in Delaware.       And in March or April of this year,

18    our characterization, not theirs, things are not headed in

19    their direction.     And what happens?     Case gets voluntarily

20    dismissed.    They get refiled here.

21          At the end of the day, as I said, the chronology is what

22    the chronology is.     It speaks volumes.     When you overlay, Your

23    Honor, those competing quotations that I gave Your Honor on

24    that chronology, it tells you -- tells us exactly what the

25    Volkswagen case said.       The interest of justice is paramount.
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 1    And if someone has abused the privilege of picking their own

 2    forum, then a transfer motion should be granted.            And this is

 3    not a question of VLSI having come to Your Honor as its first

 4    stopping point.       This is the third, fourth and fifth stopping

 5    point and the questions are why and what's the right remedy?

 6            THE COURT:    I apologize.    I focused I think primarily on

 7    the issue that is Delaware or Austin.         Can you tell me exactly

 8    where the California -- I don't know that I'm -- I know as well

 9    as I should what the status of the California case is.

10            MR. LEE:     The California action is stayed.

11            THE COURT:    Okay.

12            MR. LEE:     The IPRs are proceeding.   There are a whole host

13    of arguments in November -- the fall, the later fall of this

14    year.

15            THE COURT:    Okay.

16            MR. LEE:     The California action is stayed pending those

17    determinations.       There has been some third party discovery from

18    the California court that has continued because it's relevant

19    to Delaware.

20            THE COURT:    Okay.

21            MR. LEE:     If Your Honor's -- it may be implicit in Your

22    Honor's question of --

23            THE COURT:    No.     There was nothing implicit.

24            MR. LEE:     Okay.

25            THE COURT:    I just -- I realized that I'd focused -- I was
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 1    doing the what I should do and I realized I wasn't as intimate

 2    with -- because your point is California, Delaware, Waco, and I

 3    just want to make sure I understood where it was at in

 4    California.

 5           MR. LEE:     Yeah.   Your Honor, that's exactly where it is at

 6    now.     The reason that we're not moving to ask Your Honor to

 7    transfer it to California is twofold.        One is it's stayed.       The

 8    second is the Court that has gotten up to speed further in the

 9    period of time since California was stayed is the Delaware

10    court.    And because it's had two or three hearings, because

11    it's -- the Markman briefing is almost done, the hearing's in

12    November, witnesses are being deposed today, we're arguing over

13    discovery and contention issues, the logic of it said to us

14    that send this back to where it came from.

15           THE COURT:    Doesn't the fact that the Markman briefing is

16    almost done for the cases in Delaware right now though indicate

17    to you -- I know I'm asking you to -- it's a mystical question,

18    but it would indicate to me if I were -- if someone -- if I

19    had -- if I knew I was going to a Markman in X couple of months

20    and the Markman briefing was done in that case right now, I'm

21    not sure how I would consolidate other -- six more patents into

22    the case without either the plaintiff saying they don't have

23    enough time or you saying you don't have enough time.           So I

24    will confess I'm skeptical that a motion to consolidate that

25    would keep -- that would put these patents on the same track as
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 1    your other case is really very likely.

 2            MR. LEE:     Your Honor, I think that's a very fair question.

 3    It's one we thought about, but I think here's the answer I've

 4    at least given myself.       We were going to move in March.         If the

 5    case hadn't been pulled out from under us, that would have been

 6    decided by now and Judge Connolly could easily have

 7    consolidated the Markman briefing for November of this year

 8    around that.       You're right in terms of what you just

 9    articulated as the challenges now, but that would be rewarding

10    VLSI for having taken the case from Judge Connolly at the very

11    moment that he was asking about the motion to consolidate,

12    bring it down here, taking the time for Your Honor to get your

13    arm's around this collective dispute, get the briefing, get it

14    argued, have Your Honor have a chance to decide it.          And I

15    guess the best argument I can make to you is if there's a

16    problem that results from that delay, I don't think it should

17    be visited on us because we moved to consolidate three days

18    after we could, and if the judge had been able to decide it

19    then, all of the things that Your Honor has defined as problems

20    wouldn't have been problems.

21            THE COURT:    So let me summarize what I'm taking away from

22    this.    Correct me, I mean, if I'm wrong.       But it seems to me

23    that the issue we're discussing right now cuts a little bit in

24    both ways, and what I mean by that is it cuts against probably

25    to some extent your argument that if I send this back, there's
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 1    a likelihood it will get on the same track and it is going to

 2    be -- these folks will get to trial anywhere as close as what I

 3    could get to trial just because even though he has a Markman

 4    hearing set in November and a trial set in the following

 5    November, I think it's unlikely.       The thing that enures to your

 6    benefit out of that argument though is, if anything, it

 7    strengthens your argument about the concept of forum shopping

 8    that, well, that's too bad, but it's their fault because if we

 9    had heard the motion to consolidate in Delaware in March, the

10    Court could have had the opportunity at that time to integrate

11    a Markman on all the patents and a trial on all the patents

12    into the same schedule and we wouldn't be facing.          Is that a

13    fair summary?

14          MR. LEE:     That's a very fair summary.

15          THE COURT:    Okay.

16          MR. LEE:     And, Your Honor, the best articulation I can

17    give you to end the argument is this.        We would ask Your Honor

18    to put yourself -- let's reverse the positions so that Your

19    Honor had the second and third cases.        Your Honor decided in

20    another case, maybe not even between Intel and VLSI, a motion

21    under 101, a motion for induced infringement, and as Your Honor

22    has done, you did just a day or two before you issued an

23    opinion.   And what happens is one of the parties gets to look

24    at it and says, we don't want to be here anymore.          And --

25          THE COURT:    I can't imagine anyone not wanting to be here.
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 1          MR. LEE:     That's why --

 2          THE COURT:    But I'll -- just hypothetically.

 3          MR. LEE:     This is all hypothetical.

 4          THE COURT:    Yes.

 5          MR. LEE:     And all of a sudden the cases are dismissed from

 6    your docket and they reappear on Judge Connolly's docket with

 7    the very same motions that you've already decided.          I think if

 8    we asked ourselves just the broad question is, is this really

 9    the way the system's supposed to work?        Is this the efficient

10    way for the system to work?        Is this in the interest of

11    justice?   We think the answer is no.

12          THE COURT:    Understood.

13          MR. LEE:     Thank you, Your Honor.

14          THE COURT:    Thank you.

15          And before I forget, when you see John Regan, please give

16    him my best.     He was one of the best lawyers I've ever had the

17    pleasure of being in a case against.

18          MR. LEE:     So was he on the other side of that one case?

19          THE COURT:    Yes.     He was.

20          MR. LEE:     All right.    I'll remind him both of two things.

21          THE COURT:    Okay.

22          Yes, sir.

23          MR. HATTENBACH:       Ready for us to respond, Your Honor?

24          THE COURT:    I am.

25          MR. HATTENBACH:       My colleague Mrs. Wen will hand out some
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 1    slides.   By the way, I'm Mr. Hattenbach from Irell & Manella.

 2    It's good to meet you.

 3          THE COURT:    My pleasure.

 4          MR. HATTENBACH:    I don't think we've met before.

 5          THE COURT:    We have the best firms in America here.              It's

 6    an honor to be sitting in front of you.

 7          MR. RAVEL:    Your Honor, may we trouble the VLSI side for

 8    copies of their slides, please?

 9          MS. WEN:     I just -- my arms aren't long enough.

10          MR. HATTENBACH:    Before jumping into our slides, I think

11    I'm going to start by addressing some of the things that Mr.

12    Lee had to say, and before I do that, I suppose I want to say

13    I've only been doing this 23 years, not as long as Mr. Lee, but

14    I don't think I've ever had a case where the case actually had

15    more of a connection to the jurisdiction in which it was

16    pending than this case.      And I'll describe some of the reasons

17    for that as we proceed.

18          THE COURT:    Well, I'm going to speak on Mr. Lee's behalf

19    here, and he can tell me if I'm wrong.        My sense is from the

20    concessions he made which showed you why he has the reputation

21    he does, any of us would have to make in terms of that.              I

22    think you would do best spending your time on Mr. Lee's point

23    which is doesn't matter.      I mean, for example no one can

24    contest that 95 percent of the inventors are in the Western

25    District, and I think he would concede, but he can tell me
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 1    later if he wouldn't, had you all filed here first, he probably

 2    wouldn't have filed this motion in this case.         Maybe he would

 3    have because Intel probably wouldn't want him to, but I'm

 4    saying it would be a lot tougher starting off with that.             I

 5    think Mr. Lee is telling the Court that in this situation

 6    because of the unique facts that you are in California and what

 7    happened in Delaware and what happened that you shouldn't get a

 8    third bite at the apple as a public policy matter and that in

 9    an ordinary course this would be the perfect place to file the

10    suit.    Maybe they'd want me to transfer it to Austin instead of

11    Waco, but they would be conceding the Western District is

12    appropriate.    So I would focus primarily on persuading me that

13    Mr. Lee's wrong about the forum shopping argument.

14            MR. HATTENBACH:   Sure.   Will do, Your Honor.

15            So I suppose to start off with on that point, if it was

16    the same case that had been filed in California and then

17    Delaware and then here, it'd be a very different subject, but

18    the fact is each of the patents that were filed in each of

19    those cases is different.      Each patent is its own cause of

20    action, and I'd like to just start out by saying it wasn't that

21    anything bad happened in either of those forums that caused us

22    to come here.    It was that we learned about Your Honor's

23    expertise in this area.      We put it together with the fact that

24    almost all of the inventors and the companies at which the

25    inventions took place were based here and it made perfect sense
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 1    to have the case filed here.          Now, why didn't we do it to begin

 2    with?    I'll take the blame for that.        I didn't know about Your

 3    Honor's expertise in the area until around the second half of

 4    March of this year.        That's -- that's what happened.     It wasn't

 5    that we had a bad ruling and we decided to run from some judge,

 6    and, in fact, there weren't bad rulings.          The way they've

 7    described those rulings to you I believe was -- is not only

 8    incomplete but misleading, and I will get to that.          If you want

 9    me to address it now, I could.

10            THE COURT:   No.    No.     You do it however you want.   You

11    don't need to spend a lot of time persuading me that this is an

12    appropriate forum.

13            MR. HATTENBACH:     Okay.    Very well.

14            To start with, Mr. Lee said the focus here is on forum

15    shopping.    Forum shopping is not in the interest of justice,

16    and the interest of justice can trump the public and private

17    interest factors.     That's what he told you.       That is not the

18    law, and if you turn to Slide 4 of VLSI's slide, you'll see

19    this is a quote from the Eastern District of Texas, but it's

20    quoting a U.S. Supreme Court case and they say, plaintiffs are

21    ordinarily allowed to select whatever forum they consider most

22    advantageous, consistent with jurisdictional and venue

23    limitations.    And there's no argument here that the selection

24    of this forum is consistent with jurisdictional and venue

25    limitations.    And this isn't news to Mr. Lee or to Intel
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 1    because they made the same argument in Delaware.          They told

 2    Judge Connolly exactly the same thing.        And you'll see on Page

 3    5 what Judge Connolly told them in response, and we cut the

 4    quote short, but he went on to say, the Supreme Court has

 5    actually held this twice.      The principle that a plaintiff can

 6    lawfully engage in forum shopping is fundamental to our federal

 7    system.   And so what the Supreme Court and Judge Connolly and

 8    the Fifth Circuit has said is fundamental to our system is what

 9    he says is not the law.      We respectfully disagree with his

10    statement of the law.

11          I think there's another related point on Slide 10 as to

12    Mr. Lee's point that the interest of justice can trump the

13    other factors.    This is the Volkswagen case itself out of the

14    Fifth Circuit.    And the standard is for the convenience of the

15    parties and witnesses and in the interest of justice, not or,

16    but it's and.    And that's an issue that we also addressed in

17    greater length in our brief, but you can't just look at part of

18    the analysis and call it a day.       You need to look at the full

19    analysis that the Fifth Circuit says needs to be undertaken.

20          So let's -- just a quick factual matter.        Mr. Lee said in

21    the California case all of the asserted claims were currently

22    subject to IPRs except for the one patent where the IPR wasn't

23    instituted.     That's factually incorrect.      They didn't even file

24    IPRs on multiple of the asserted claims in the case.

25          Your Honor had a question about --
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 1          THE COURT:    Do you have any -- and you may have -- I don't

 2    remember it being in the briefing.        I don't remember quite that

 3    focus, but do you -- are you -- do you have available to you

 4    right now a couple of examples of that, or --

 5          MR. HATTENBACH:    Could I look that up?      I remember there

 6    was at least one patent.      It was --

 7          (Conference between plaintiff counsel.)

 8          MR. HATTENBACH:    We'll try to find that.

 9          THE COURT:    If you could find that, I'd like it to be on

10    the record.     That way Mr. Lee can respond.

11          MR. HATTENBACH:    Sure.     I know the '836 patent was the one

12    that IPR was not instituted on, but, again, I'd say this --

13    frankly, I don't see the connection between it and anything

14    that's going on here today.       I only mention it because it came

15    up while he was speaking and it's just not correct.

16          THE COURT:    That's fine.    I just want to make sure you

17    give us enough specific information if possible that Mr. Lee

18    can -- you know, I want to make sure he has a chance to respond

19    to that.

20          MR. HATTENBACH:    Certainly.

21          Okay.    Well, let's -- if we could turn to Mr. Lee's Slide

22    No. 6.     This was one that Your Honor had a few questions about.

23    It's the one where Mr. Stolarski said it would be more

24    convenient for him to travel to Delaware.         Now, and the

25    suggestion was made that this supports the position that it'd
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 1    be more convenient for him to travel to Delaware than here.

 2    What Mr. Stolarski was saying is it would be more convenient

 3    for him to travel from Chicago to Delaware than from Chicago to

 4    San Jose, California.      This is in a different case where a

 5    motion was being made to transfer to California, not here, and

 6    this is just one of many examples where suggestions were made

 7    about statements being inconsistent with our positions here

 8    where the statements are being taken massively out of context.

 9          Your Honor's question about Paragraph 9 where

10    Mr. Stolarski said, I'm not aware of any other VLSI witnesses,

11    et cetera, on that slide.      He, I believe, was just referring to

12    himself.   He's the only employee of VLSI.        And in that -- in

13    that section.    That's my understanding.      He was just referring

14    to himself.     I think -- my sense of it is that it's probably

15    equally convenient for him to come to Waco as it would be to

16    Delaware from Chicago.      I haven't checked the airline routes,

17    but I don't think that's something that this motion should turn

18    on.

19          I do want to talk about Slide 19 from Mr. Lee's

20    presentation.    That's where he had those four points and he

21    presented them as alleged inconsistencies between our positions

22    in Delaware and our positions here, and I want to go through

23    each one of them because I don't think there is any

24    inconsistency between any of them.

25          So the first one -- and, again, it's Mr. Lee's Slide 19.
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 1    We said Delaware is more convenient for VLSI's witnesses in

 2    this case.    He skipped over the in this case part.

 3          THE COURT:    Oh, I caught it.

 4          MR. HATTENBACH:    Yeah.    We have different patents.         We

 5    have different inventors.      Here the inventors, as we've said,

 6    17 out of 18 of them are in the district.         Zero of them are in

 7    Delaware.

 8          Now, the suggestion was that there's a very similar

 9    situation going on in the Delaware case, and that's not

10    correct.     We have inventors from -- I think there are two

11    inventors from Arizona in that case.        There's an inventor from

12    the Netherlands.     There are three inventors from Israel.          And

13    so the locust or the sort of the center of all of those people

14    probably is closer to Delaware than here, but certainly it's

15    not here.    So it's just to suggest that that's inconsistent

16    with what we're saying here where the facts are different I

17    think is very misleading.

18          The second one.    The quote on the left from Delaware was

19    about where a claim for patent infringement arises.          The quote

20    on the right is about -- it's from a section that was talking

21    about witness convenience or the ability to subpoena witnesses.

22          THE COURT:    I got that too.

23          MR. HATTENBACH:    Just a -- okay.     It's a non sequitur.

24          THE COURT:    I actually understand some of this stuff.

25          MR. HATTENBACH:    I'm glad to hear it.
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 1          The third one.    We did say Delaware has an interest in

 2    adjudicating disputes among its citizens.         That doesn't mean

 3    it's the only place that that can be done, and that was just

 4    one of eight factors.      And we certainly think here there are

 5    other factors that support keeping the case here.

 6          The fourth one.    I don't really know what the

 7    inconsistency was even supposed to be on this one because we

 8    said the time to trial is 2.5 years.        I'm not great at math,

 9    but by my calculations that's 30 months which is exactly what

10    we told Your Honor was the case here.        The new fact, which we

11    didn't have I don't think at the time we made that statement in

12    Delaware, was from Judge Connolly.        He says -- he was

13    relatively new at the time.       He got hit with a lot of cases and

14    he actually told us he's overwhelmed with cases.          So that's

15    just a new fact and I don't think it's inconsistent with 2.5

16    years being 30 months.      So that's all I have to say about Slide

17    19.

18          There was some discussion of this.       I think he's a

19    financial person, Mr. Herrgott at Intel who provided a

20    declaration about where certain events have and have not

21    occurred.    And Mr. Lee said it supports the view that there's

22    essentially no relevant information among these 1,700 Intel

23    employees in the district and Mr. Lee said it was a direct

24    quote.   He said it's the only sworn statement before you.

25    That's not correct either.      Mrs. Wen my colleague here supplied
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 1    a sworn declaration as well.       Paragraphs 20 to 26 of that

 2    declaration not just speculated about but actually demonstrated

 3    that numerous of the people at that R&D facility in Austin have

 4    been working on technologies that are implicated squarely by

 5    our claims in this case.      And we didn't do it in a general

 6    manner.   We did it patent by patent and technology by

 7    technology and we mapped them together and we didn't have the

 8    ability to go and depose those people because discovery isn't

 9    open yet, but we looked at their publications and their

10    patents, and just as an example, there's a very specific

11    technology that we're accusing in one of the cases called QPI.

12    It's an Intel acronym for quick path interconnect which is an

13    Intel proprietary technology.       That's the very specific

14    technology we're accusing.      And the employees at Intel in this

15    district have over 100 patents describing or claiming that

16    technology.    And so the notion that they don't know anything

17    about it or didn't have anything to do with it is a really

18    difficult one for us to accept.       And so I went back and looked

19    at Mr. Herrgott's declaration, and he didn't say the things

20    that Mr. Lee described to you in broad terms about not having

21    anything to do with the products.       What he said was those

22    people didn't develop the, quote, "product features."           And so

23    what I think is going on here is it's an artfully drafted

24    declaration that's meant to suggest they don't know anything

25    about them, but it's limited to the product features, not the
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 1    development of the technology underlying those features that

 2    went into those features, and that would make perfect sense

 3    because it's not a production facility as far as I know.             It's

 4    a research and development facility where they develop the

 5    technology that then goes on to the productization people to

 6    turn it into a product.      So for Mr. Herrgott to say they didn't

 7    develop the product features really doesn't answer the relevant

 8    question of whether they'll have information bearing on our

 9    claims in this case about the technology and our evidence which

10    is again under oath from Mrs. Wen in her declaration supplied

11    with our opposition brief absolutely does.         It's directly on

12    point.

13          Another claim that we heard repeatedly from counsel was

14    about the motion to dismiss.       Said it's the very same motion

15    with the same allegations.      Those are direct quotes.       Very same

16    motion, same allegations as in Delaware.         And I submit that if

17    Your Honor looks at the -- really all you have to do is look at

18    the order in Delaware.      You will see that that is quite far

19    from correct.    There were two issues adjudicated in that -- in

20    that order.     One was as to a single patent.      VLSI did not plead

21    knowledge by Intel of the patent.       We've pled knowledge of

22    every patent here, as Mr. Chu will describe later today.             So

23    it's not the same issue at all.       We dealt with that issue in a

24    very different way.     Not only are the patents different.          The

25    pleadings are different.      It's not -- just not the same.         It's
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 1    completely different.      It's completely contrary to what the

 2    situation was there.

 3          The same applies to the other issue that was adjudicated

 4    in that ruling which was Intel's knowledge of infringement.

 5    And in the second part of that order Judge Connolly said that

 6    VLSI had not pled knowledge by Intel of its infringement of

 7    particular patents.     Well, guess what?     In this case we

 8    explicitly pled knowledge by Intel of its infringement of each

 9    of the asserted patents.      And so again the pleadings in this

10    case are actually responsive to the order in that case.              They

11    eliminate the problem that Judge Connolly said existed.              It's

12    very much not the same motion with the same allegations.              It's

13    the opposite.

14          So those are the principle points I wanted to raise in

15    response to what counsel said.       Let me just, if you don't mind,

16    address a couple more points from our slides.

17          THE COURT:    Please do.

18          MR. HATTENBACH:    In Slide 6 this is responsive to some of

19    the arguments they made in their reply brief suggesting that

20    the strong deference to a plaintiff's choice of forum will

21    disappear if the plaintiff happened to have filed a similar

22    case somewhere else previously.       Well, that's not the law in

23    this district.     The Eastern District here says the deference

24    never disappears under any circumstances.         And the only

25    contrary law they cite are I call them corner cases where, for
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 1    example, one of them had to do with an accident that occurred

 2    in Puerto Rico and the parties litigated the case for four

 3    entire years in Puerto Rico before the plaintiff dismissed the

 4    case and then filed it somewhere else.        Well, that's nothing of

 5    the sort like what we're dealing with here.         In fact, if --

 6    just to be clear, I want to be clear about what happened and

 7    didn't happen in the Delaware case where six patents of -- six

 8    patents from which were moved here, add it to two other patents

 9    that we filed here to make the current cases.

10          If you'll go to Slide 9 in VLSI's deck, we're talking

11    about a case that first of all didn't even have all of the

12    patents that are asserted here.       Secondly, it was dismissed as

13    a matter of right within six weeks, and there was a suggestion

14    that we did something wrong by giving them the extension.            They

15    were asking us to dismiss claims.       We were considering whether

16    we wanted to dismiss them or do something else.          We didn't want

17    them to have to file or prepare and file a motion to dismiss

18    under the circumstances because we're thinking about moving

19    things to a different place, and essentially we said, we'll

20    give you two weeks while we think about what we're going to do,

21    and the reason was we didn't want to put them through

22    unnecessary work.     It wasn't some kind of conspiracy.

23    Anyways...

24          THE COURT:    Save chicanery.

25          MR. HATTENBACH:    Yeah.
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 1            THE COURT:   It's one of the C words.

 2            MR. HATTENBACH:      So what did not happen in the -- what did

 3    not happen in that second Delaware case over those less than

 4    six weeks -- I mean, there were no hearings.            There was no

 5    answer.

 6            THE COURT:   Well, let me -- while you're on 9 -- and I've

 7    lost touch just a little bit.          But I think one of Mr. Lee's

 8    points is -- and I think I've got this -- is that one thing

 9    that they -- that Intel had told you they were going to do in

10    this period though was move to consolidate, correct?

11            MR. HATTENBACH:      Right.    They filed a motion and we

12    opposed the motion and there was no reply brief filed is my

13    recollection.

14            THE COURT:   So they filed a motion to consolidate before

15    they answered?

16            MR. HATTENBACH:      Yes.   That's correct.

17            THE COURT:   Okay.    And did you all file a response to

18    that?

19            MR. HATTENBACH:      We did.   We opposed it.    And by the way

20    so just to put this in perspective, this was a motion to

21    consolidate a case, but in their reply brief in this case they

22    called it sprawling and unmanageable.          And their motion was to

23    take that sprawling and unmanageable case, as they called it,

24    and add six patents to it and now they're asking Your Honor to

25    add eight patents to it even though it's almost an entire year
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 1    ahead, as Your Honor observed, scheduling wise from these

 2    cases.     So it's just -- the notion that any justice or

 3    consolidation or efficiency could occur by doing that is very

 4    hard to fathom.      I think what's much more likely to occur is

 5    frustration by Judge Connolly who already says he has enough

 6    cases or too many cases and delay and prejudice.          What they

 7    really -- I mean, I'll tell you -- since we're talking about

 8    conspiracy theories today, I'll tell you this isn't a theory.

 9    This is what they told us they were going to do.          They wanted

10    to consolidate the cases and then they were going to claim

11    there were too many patents in the cases -- in the case and

12    then they were going to ask the Court to force us to remove

13    patents from the case, that we couldn't pursue all the patents

14    that we had asserted against them.           They literally told me

15    that.

16            THE COURT:   Well, okay.     Well, here is what I was going to

17    ask since I -- with Mr. Lee.        I summarized things just to make

18    sure I'm following.       Would it not be fair -- how many patents

19    are in the current Delaware case that are going to be at the

20    Markman?

21            MR. HATTENBACH:      There's five.

22            THE COURT:   Five.    How many claim terms are being disputed

23    in that case at the Markman?

24            MR. HATTENBACH:      It's either nine or ten I think

25    approximately.
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 1          THE COURT:    And so another way of looking at what you all

 2    did, which is a different viewpoint than Mr. Lee and Intel

 3    have, is that when they told -- when Intel told you they wanted

 4    to consolidate that case and add this case that you could have

 5    been concerned that that would make that other case even more

 6    unmanageable by having whatever number that equals, 11, 12, 13,

 7    whatever, and that a reason for coming to this Court to avoid

 8    the motion to consolidate was to keep both cases more

 9    manageable by at least plaintiff, if not both parties.

10          MR. HATTENBACH:    Well, certainly we think -- we think that

11    coming here makes both cases more manageable, and in fact I

12    will say the reason -- one of the main reasons we filed it as

13    three separate cases instead of one case was because they had

14    complained about five patents being too many and so we wanted

15    everything by everyone's standards to be of manageable size.

16    So that is -- I think that was probably part of the thinking,

17    but it wasn't avoiding -- it wasn't so much of avoiding

18    Delaware but it was finding a place that was even more

19    sensible.

20          THE COURT:    I'm on your side on this one.       I handled a

21    case for AT&T against IV where they sued us on 19 patents and

22    that resulted in the case taking about a million years to -- it

23    eventually settled, but it took a very long time on the docket.

24    So I certainly understand that there can be a legitimate

25    concern about making a big patent case even bigger by adding
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 1    other patents.

 2          MR. HATTENBACH:       Right.    And we're in front of a judge who

 3    already says he's overwhelmed and things are unmanageable as it

 4    is.

 5          THE COURT:    Well, we all think we're overwhelmed.        That's

 6    in a federal judge's DNA is to think we're all overwhelmed.

 7          MR. HATTENBACH:       All right.

 8          THE COURT:    I don't think that though.       I'm happy every

 9    minute I'm sitting up here.

10          MR. HATTENBACH:       All right.    Quick aside.   So you'd asked

11    about the claims on which Intel didn't even -- didn't attempt

12    to institute an IPR or on which an IPR wasn't instituted.            So

13    the patent I had in mind is 8020014 and the asserted claims on

14    which IPRs were not instituted included at least '6, '10, '11,

15    '17, '21, '22 and '23.

16          THE COURT:    Okay.    Thank you for that.

17          MR. HATTENBACH:       So I'll try to wrap up here quickly.

18          THE COURT:    You don't -- I'm in no hurry.

19          MR. HATTENBACH:       Okay.    I thought -- you should hear from

20    Mr. Chu too.    He has some excellent points.

21          THE COURT:    I will hear from anyone who wants to stand up

22    and talk.    This is why this is the best job on the planet.          I

23    had great lawyers in the trial before you for a couple of days

24    and now I'm getting to do this.          I ought to pay the federal

25    government to get to sit up here.
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 1          MR. HATTENBACH:    Good job security as well, I hear.

 2          THE COURT:    They tell me that.

 3          MR. HATTENBACH:    Some of the best.

 4          All right.    So if we look at VLSI's Slide 29, this is also

 5    something that Mr. Lee glossed over but didn't really get into.

 6    As far as the benefits that would come from having all of these

 7    patents in Delaware and here put together, the best they could

 8    do in describing the overlap is to tell you they relate to

 9    semiconductor technologies.       That's the overlap.     Now, we're

10    talking about a semiconductor company.        Of course the claims

11    relate to semiconductor technologies.        If that was enough to

12    allow consolidation of claims, Intel could consolidate any case

13    ever brought against them.      The reality, and Your Honor

14    probably knows something about this, the products -- and I'll

15    give them a compliment here.       The products they make have been

16    described as the most complicated machines ever made by

17    mankind.   They literally have more transistors in some of them

18    than there are people on the face of planet earth.          And it's

19    all semiconductor technology, but that doesn't mean it's the

20    same semiconductor technology.       And in fact if you look at the

21    patents individually -- and I won't put you through that today

22    unless you really want to -- it's not.

23          If you turn to Slide 31 in their reply brief, they tried

24    to do a little better.      They said it's not just semiconductor

25    technology but it's that several of the patents, not all of
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 1    them, relate to power management in integrated circuits.             But

 2    here's what they told Northern California, and it's true, that

 3    every semiconductor chip includes power management features.

 4    They said you can't look at it at that level of abstraction.

 5    You have to look at the particular technology and see if

 6    there's an overlap at that level, and I would say when looking

 7    at consolidation you want to see if it's overlap at a level

 8    that will result in an overlap of technology or evidence to a

 9    substantial degree, and here the approaches that are taken to

10    power management in the various patents are for the most part

11    extraordinarily different and certainly different enough that

12    there wouldn't be significant overlap in evidence in a way that

13    would result in consolidation promoting judicial efficiency.

14          Slide 33 gives you a bit more of an idea into what's

15    happened in the Delaware case in the almost extra year that

16    it's been pending relative to this case.         Here we just

17    exchanged infringement contentions.        There we've also done

18    invalidity contentions.      We've done some narrowing of the

19    claims in prior arts.      By the way, on that point let me mention

20    because it was suggested to you that the judge's ruling --

21    Judge Connolly's ruling on case narrowing was extraordinarily

22    unfavorable to VLSI and we were running away from it.           There

23    were four issues in that -- in that hearing.         One was the

24    initial narrowing sort of interim narrowing in the middle of

25    discovery.    The second was the narrowing right before trial.
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 1    So how many claims and pieces of prior art do people get to

 2    present at trial?     The third had to do with how prior art was

 3    counted, whether it was individual references or combinations,

 4    and the fourth had to do with whether VLSI could add additional

 5    claims if they could demonstrate they were unique issues raised

 6    by those claims.     Mr. Lee didn't tell you this for obvious

 7    reasons.   VLSI won on three out of four of those issues.             The

 8    only issue we didn't win on was on the interim selection during

 9    discovery of the number of claims, but obviously what matters

10    the most is the number of claims you get to present at trial.

11    So we ran the board on everything else.        And that is not an

12    order from which we're running in any way, shape or form.             Nine

13    months of fact discovery.      330 requests for production.

14    Between the parties over 500 pages of interrogatory responses

15    and four hearings at the last of which the judge said to Intel

16    that unless they started producing documents that they were

17    supposed to be producing he was going to sanction them.              We're

18    not running from that either, Your Honor.

19          Let's look at Slide 35.      This is just Intel in its reply

20    brief saying the Delaware case as it stands -- I mentioned this

21    earlier -- is already sprawling and unmanageable.          The Court

22    was saying he thinks that essentially the number of claims that

23    already were asserted in the case are unworkable and they're

24    saying, well, add -- add eight more patents to it.          I don't

25    think he's going to find that any more workable.
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 1          I think, given Your Honor's admonitions at the beginning,

 2    those are the principle points that I wanted to mention.             I

 3    think I'll close by just saying two key points.          Clearly the

 4    trial here would be faster.        The judge in Delaware is really

 5    bogged down by cases now in a way that he wasn't a year ago.

 6    And, secondly, the prospects of consolidation in Delaware are

 7    not just bleak, but it wouldn't make any sense at all, given

 8    the amount of subject matter already at issue there, the

 9    differences between that subject matter and the subject matter

10    here and the procedural posture of that case to try and combine

11    the cases at this stage.

12          Unless there are any questions, that's all I have.

13          THE COURT:     I'm good.

14          Mr. Lee, I'm going to take a short break just because I

15    need a short break.        We'll resume in about ten minutes.

16          THE BAILIFF:    All rise.

17          (Recess taken from 3:32 to 3:44.)

18          THE BAILIFF:    All rise.

19          THE COURT:     Thank you.    You may be seated.

20          Mr. Lee, before I -- may I ask you a question before I

21    forget it?

22          MR. LEE:     Sure.

23          THE COURT:     I know if you're like me, and you're a much

24    better lawyer than me, I know whatever I'm going to say ready

25    to go and I wouldn't remember it.       So if it'd be easier for you
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 1    to go first.

 2          MR. LEE:     No.   You go first, Your Honor.

 3          THE COURT:    Okay.   So I understand your argument pretty

 4    well I think, but in terms of public policy, if that's what

 5    this is going to turn on, why wouldn't it be perfectly rational

 6    for a plaintiff who is in any court in America, including --

 7    you earlier said how would I feel if it had been in my court

 8    and they went somewhere else?       But let's apply actually what

 9    the reality of the patent world here.        The plaintiff is in

10    Delaware.    They've got a big case against you guys in Delaware,

11    lots of patents, lots of claims asserted.         And they file -- as

12    plaintiffs are want to do, they file another suit with even

13    more patents.     And Intel's response to that is in a very -- in

14    a heavily burdened district, Intel's response to that is to

15    file a motion to consolidate.       Perfectly your right to do.      I

16    probably -- I would have considered doing it myself if I was

17    representing Intel.      But what is the policy argument against a

18    plaintiff in that situation looking up and saying I don't want

19    to have eight, six, 12 patents added to the case.          I filed --

20    you know, I filed X number of patents in California.           I -- and

21    that's stayed.     I now filed patents in Delaware, a substantial

22    number, and I'm asserting a substantial number of claims and I

23    know already that we're at peril of it taking a great while for

24    our extant case to get to Markman and get to trial.          We've got

25    a new judge.     I believe he's a Trump nominee.      I mean, he's
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 1    with me.   He's one of the new judges.       So he's got, as you can

 2    imagine, a ton of new cases.       Welcome to Delaware.     Here's

 3    1,000 cases, some of which start with the number 10 because

 4    they were filed in 2010.      He's got that.     You all know it's in

 5    a district that's pretty burdened.        What is the policy argument

 6    against any plaintiff looking up and saying, wait a second.             I

 7    don't want this case -- I don't even want to have the risk of

 8    my third set of patents being consolidated on what is already

 9    maybe too big a case?      I want to go somewhere else.      And I'm

10    going to pick somewhere else.       First I'm going to make sure

11    that it's a legitimate place to file it.         I look around, and

12    you could have filed it in Northern California.          You could have

13    filed it in Oregon or you could file it in the Western District

14    because, you know, that would be acceptable.         And then you say,

15    well, and gosh.     There's a judge in Waco whose docket at least

16    currently is in good shape.       You know, it's growing, but it's

17    much -- regardless, it's -- I don't know about Oregon, but this

18    docket has to be faster than Northern District.          I know for a

19    fact from talking to the judges faster than Northern District,

20    faster than Delaware.      What is -- why is it a bad -- why would

21    it be against any public policy, A, for a rational plaintiff to

22    say, I'm going to get out of Delaware for this next case while

23    I can and get to a docket that makes more sense for me getting

24    to trial with a competent judge and, B, also policy, why

25    wouldn't a judge in Delaware who's got as many patent cases as
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 1    he can do if he works every minute for the next 30 years, why

 2    would that district judge be unhappy that a plaintiff said I'm

 3    going to burden a different judge with some of these patents

 4    too because I've got plenty?

 5          MR. LEE:     Your Honor, it's a great question and there's an

 6    answer, and the answer is in the chronology in this case.            And

 7    the second half of your question at the end is a huge part of

 8    Mr. Hattenbach's argument to you is about what Judge Connolly

 9    might have done or how he might have viewed the case.           He never

10    got a chance.    Now, the answer to Your Honor's question is the

11    public policy is --

12          THE COURT:    Well, let me interrupt you here.

13          MR. LEE:     Sure.

14          THE COURT:    I'm sorry.    But it seems to me -- I'm not --

15    I'm really not taking that into consideration about how he --

16    it seems to me when you guys filed the motion to consolidate,

17    it was binary.     Only two things could happen.      One, it would be

18    granted, and the other is it wouldn't be granted.          I can't -- I

19    think that's fair.

20          MR. LEE:     Actually, Your Honor --

21          THE COURT:    What else could he --

22          MR. LEE:     I actually think -- and Your Honor's order in

23    this case is the best indication.       My experience over the years

24    is when you get cases like that, either they're not

25    consolidated at all or the likelihood is they're consolidated
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 1    for some pretrial purposes including discovery and then the

 2    Court comes back to you at that point in time and says, all

 3    right.   Let's figure out what we're going to try.         And that's

 4    part of --

 5          THE COURT:    But in either way -- in either -- regardless,

 6    a rational plaintiff could look and say, there is a different

 7    venue -- as long as it's a legitimate venue.         I mean, you --

 8    maybe in -- I'll pick -- maybe in Arkansas there's a

 9    division -- a district that's even faster than this one because

10    it has less cases, but you would say, well, there's no

11    connection to Arkansas.      It can't be there.     But why is it

12    against policy for a plaintiff to say that Intel's filed a

13    motion to consolidate.      That is going to -- whatever happens,

14    it's not going to help our case.       In terms of pure procedure,

15    leaving aside running away from an order on a motion to dismiss

16    or any other reason, if a rational plaintiff says, we would be

17    better off in a different legitimate district and procedurally

18    it's okay to do it because no answer has been filed yet, what

19    is -- what is the public policy against that?

20          MR. LEE:     Your Honor, I -- two parts of the answer.         The

21    public policy first it's embodied in the phrase in the statute

22    in the interest of justice.       So that is the principle.      Here's

23    the policy.    If Your Honor looks at Slide 12 --

24          THE COURT:    Okay.

25          MR. LEE:     -- in our binder.
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 1          THE COURT:    Yes, sir.

 2          MR. LEE:     And this is where, and I don't know if I've been

 3    successful in convincing Your Honor, but this is what I believe

 4    which is the chronology speaks volumes.        Remember this dispute

 5    between the parties has been pending since 2017.          That's when

 6    the first California action was filed.        If you look at Slide

 7    12, the California action is stayed by agreement on March 1 and

 8    the Delaware action is filed on March 1.         We file the motion to

 9    consolidate on March 20.      Now, we've met and conferred before,

10    but the one date that's indisputable is March 20.          If the

11    rational plaintiff was making the determination, the decision

12    you just made, they would have moved to dismiss on March 21st.

13    What happens instead, Your Honor?       What happens instead is

14    after March 21st there is Judge Connolly's decision on the

15    motion for direct infringement and enhancement by willfulness.

16    What happens after that is our telling them we're going to move

17    to dismiss those same claims in the Delaware 2 action.           What

18    happens after that is a hearing on April 3rd.         So --

19          THE COURT:    But if I understand opposing counsel, they

20    weren't concerned about the threat of the motion to dismiss

21    because they had addressed the reasons that the Court had

22    given for -- to the extent it had granted the motion to

23    dismiss, they had already addressed in the current -- and I am

24    pretty familiar with what they've done because I am pretty up

25    to speed on y'all's motion to dismiss as well.
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 1          MR. LEE:   Your Honor, there are some words missing, but if

 2    the person who could have decided whether they had done

 3    something that would cure the problems for the first was Judge

 4    Connolly because he decided the first, and if the question is

 5    is there enough to reach a different decision, he could have

 6    done that.    It's not to say Your Honor can't do that, and we

 7    know Your Honor has entered some orders on cases that are

 8    similar but different, but, Your Honor, if I take your

 9    hypothetical, that rational actor either would never have filed

10    in Delaware because by March 1st the question of what Judge

11    Connolly's docket looked like was well-known, and I have a good

12    seven or eight other cases before him.        They were all known.

13    They had trial dates actually going off into the latter part of

14    this year.    Certainly by March 20th when we told -- when we

15    filed the motion to consolidate, if what they wanted to do was

16    just what you said, rather than oppose, they would have

17    dismissed and filed here in Waco.

18          Your Honor, at the outset you asked them to focus not so

19    much on the private and public factors because we have conceded

20    some are, you know, a challenge for us here.         We can argue

21    about whether the others are neutral or not, but you asked him

22    to address the forum shopping, and the answer to Your Honor's

23    question is they forum shopped here.        And the idea, honestly,

24    that on April 3rd they ran the table before Judge Connolly and

25    then eight days later all of a sudden the second case gets
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 1    dismissed is just not credible.        So the answer to Your Honor's

 2    question is if they had not filed the second case in Delaware

 3    and filed it here, the transfer motion would be very, very

 4    different.    If we had moved to consolidate and their response

 5    had been on that day to move to dismiss and file before Your

 6    Honor, I think that could fall within Your Honor's

 7    hypothetical, but you can't -- I don't think we can fairly

 8    ignore everything that happens in March and April, and the only

 9    explanation, the only explanation Your Honor got is that Mr.

10    Hattenbach, who accepted responsibility, didn't know of Your

11    Honor's expertise and your docket until April.

12            THE COURT:    Does it make a difference in my analysis that

13    the Delaware court had, as best I can tell, done literally

14    nothing on this case on these patents?

15            MR. LEE:     No, Your Honor.   The answer -- the fair answer

16    is it's not dispositive in either direction, but I think that's

17    not a fair characterization.       The -- first the parties are the

18    same.    The accused products overlap substantially the same.

19    The damages analysis is going to be very much the same.

20            THE COURT:    Well, the district court hasn't done anything

21    with regard to the damages.

22            MR. LEE:     Actually, the California court had.

23            THE COURT:    I understand, but I'm saying the Delaware --

24            MR. LEE:     Other than require us to answer contentions, and

25    one of the issues that has arisen there is the adequacy of
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 1    their damages answer to an interrogatory.         I don't think Your

 2    Honor -- we don't need to get into it with Your Honor here, but

 3    there's been a disagreement is the best way to put it.

 4          Your Honor, the question of whether there were

 5    efficiencies to be gained by -- as Your Honor has with these

 6    three cases consolidating for pretrial purposes is a decision

 7    that either could have been made by Judge Connolly.          I don't

 8    disagree with you that they could have filed here originally

 9    and it would look different.       I think if they had filed on

10    March 21st after we moved to consolidate, I think we'd still be

11    having the argument before Your Honor, but I think what they're

12    asking Your Honor to do is based upon the representation that

13    they were unaware of Your Honor's expertise and docket is to

14    ignore what happened on March 20th, 26th, 30th and April 3rd.

15    And the answer, Your Honor, at the end, one of the very first

16    things Mr. Hattenbach cited for Your Honor is a slide, their

17    Slide 5, which talks about lawfully engaging in forum shopping.

18    That was the phrase.     It's lawfully engaging in forum shopping.

19    Now, what our cases at Slide 22 and 26 show is there is

20    unlawful forum shopping, and what we have here is -- and I'm

21    not going to characterize it as legal or illegal.          What we have

22    here is forum shopping without an explanation because of

23    events, and the only explanations, Your Honor, is, well, Judge

24    Connolly is over burdened, but when he asked about the motion

25    to consolidate, he didn't say he was overburdened.          They -- the
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 1    quote they gave you about the case being too sprawling was his

 2    admonition of them that they needed to narrow their case.

 3    That's where that phrase came from.        And when he asked about

 4    the motion to consolidate, I think he was doing what most new

 5    or experienced district court judges would do is to figure out

 6    whether there's some efficiencies to be gained.

 7          THE COURT:    I want to go back -- what I care about is as a

 8    policy matter.     And I will spot you your concern about forum

 9    shopping.    But I'm saying as a policy matter when you have a

10    situation where a party before the district court -- a party

11    that has a case filed in a court like Delaware that has an

12    extremely heavy -- I think they're number one still.           They'll

13    always be number one in terms of the most cases.          If a party

14    moves to dismiss a case that is on the heaviest docket in

15    America and elects to move it to another docket that's

16    legitimate where they could have filed it to begin with without

17    much chance of it being argued it didn't belong there under the

18    Supreme Court stuff.     As a policy matter, how is that not

19    something I should also consider as a benefit to the system in

20    the same way if they'd filed it originally in Marshall and

21    said, wow.    There's a better -- by better there's a faster

22    option by going to the Western District instead of the Eastern

23    District?

24          MR. LEE:     And, Your Honor, the answer to that question

25    which is in the cases we cited, Your Honor, is I think what the
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 1    cases suggested is Your Honor has to say in the interest of

 2    justice what's the answer to the question of why did this

 3    happen?

 4            THE COURT:    They wanted to get to trial faster.

 5            MR. LEE:     Your Honor, if that were true, we would have

 6    been filed here on March 1st.       If that were true, we would have

 7    been filed here on March 21st.

 8            THE COURT:    Okay.

 9            MR. LEE:     And that's why the chronology speaks volumes,

10    and I think if I take Your Honor's hypothetical in the most

11    general sense, within that hypothetical there are circumstances

12    where it would be an interest of justice.

13            THE COURT:    But actually, Mr. Lee, it's not really that

14    much of a hypothetical.        It's -- I mean, it's what happened

15    here.

16            MR. LEE:     I guess, Your Honor, where I would respectfully

17    disagree is that's not what happened here.         What happened here

18    is not -- they didn't decide -- I knew about Your Honor's

19    appointment in September.        We knew about the Waco docket seven

20    months ago.    On March 1st of this year we knew about Your

21    Honor's docket and Your Honor's appointment and we knew about

22    the cases coming here.        On that day they could have filed here

23    and my transfer motion would have been even more an uphill

24    battle than it might be now.        On March 21st I sure as shooting

25    knew about Your Honor's docket and Your Honor's appointment.
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 1    We said we're going to move to consolidate.         Did anybody

 2    suggest we should come here?       No.   What happened between March

 3    21st and April 8th?     And what the cases say is in the interest

 4    of justice it's important for the Court at least to ask the

 5    question why, and if the answer that Your Honor reaches is it's

 6    just a rational plaintiff exercising their reasonable rights

 7    just like the forum, then that's a problem for us.          If the

 8    answer is, if I look at what happened from March 1st to April

 9    8th and I look at it in the context of what happened in

10    California and Delaware, this is forum shopping and that's

11    what's described in the cases at 22 and 26.         And, Your Honor,

12    there's even the case where someone filed it in East Texas,

13    decided to come to a different division of Texas and they said,

14    no.   No.    No.   You can't do that.    That's the key.    And when I

15    say to Your Honor it's not -- we know you have an awful lot and

16    a lot of cases before you.      When we say it's different, I know

17    everybody comes and says our case is different.          What makes

18    this different is there are a set of occurrences.          And you

19    don't have to believe me if I say they didn't run the table.

20    You don't have to believe Mr. Hattenbach when he says he ran

21    the table.    All you have to do is look at the events that occur

22    in what order over 45 days and that will answer your question.

23          THE COURT:     Okay.   And I need to thank you.      I told the

24    counsel yesterday when they were arguing with me about

25    something that they should always start it off by saying the
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 1    word "respectfully" which you just did.        When you're about to

 2    tell me that I'm wrong, you should -- I corrected -- yesterday

 3    they were telling me I was wrong and I said you should start

 4    with -- by saying respectfully like that.         That was a great

 5    lesson for everyone in the room.       That's the way to tell a

 6    judge he's wrong by starting with the word "respectfully" and

 7    then doing a great job of it.       So...

 8          MR. LEE:     And mine wasn't to tell you you were wrong, just

 9    I disagreed.     That's all.

10          THE COURT:    I understand.    Thank you very much, Mr. Lee.

11          Counsel?

12          MR. HATTENBACH:    May I respond briefly?

13          THE COURT:    Of course.    Take all the time you need.

14          MR. HATTENBACH:    I'll keep it short.      And I've been asked

15    to speak more slowly so I'll do my best.         I've had a little

16    caffeine this morning.

17          THE COURT:    If it was by my reporter, I get told the same

18    thing.   So...

19          MR. HATTENBACH:    That makes me feel better.

20          Okay.    Just a few points.    It was alleged that we were

21    suggesting that sprawling and unmanageable quote came from the

22    Court and that we were not quoting Intel.         We were quoting

23    their reply brief at Page 2, the penultimate bullet in the list

24    on that page and they repeated the phrase in their own language

25    on Slide 12 of Mr. Lee's deck to which I would like to turn
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 1    next.

 2            THE COURT:   I'm there.

 3            MR. HATTENBACH:      Okay.   I'm going to guess Your Honor is

 4    familiar with Occam's razor, --

 5            THE COURT:   I am.

 6            MR. HATTENBACH:      -- the notion that sometimes the simpler

 7    explanation is the correct one.         You don't need to go through

 8    13 slides setting up this conspiracy theory to know what

 9    happened here because I've already told you and I will tell you

10    again and I am happy to tell you under oath.         Maybe news of

11    this Court and Your Honor's experience made it to Boston faster

12    than Los Angeles or to my office, but I wasn't aware of it

13    until the second half of March, which is what I said earlier,

14    not what Mr. Lee just said which was until April.          It related

15    to a particular discussion I had with someone, and I don't

16    think it's necessary to get into the details, but I could pin

17    it down to an exact day.

18            What happened within the two weeks following that

19    discussion was that we completed a prefiling investigation on

20    two additional patents that weren't at issue in Delaware.            We

21    prepared new complaints.        We divided the patents up into cases

22    that we thought were not just bite sized but related in terms

23    of subject matter so that it would actually make sense to

24    present them to a jury independently.         We hired local counsel.

25    We dismissed the case in Delaware and we filed the case the
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 1    same day, because if we hadn't done that, we were under the

 2    expectation that they would file a declaratory judgment

 3    somewhere like California where things would be extraordinarily

 4    slow.    So that's what happened in that two week period.            It

 5    wasn't tied to rulings, bad or good, in Delaware.          That's the

 6    end of the story.       It doesn't require looking at 13 slides to

 7    figure out what happened.

 8            And if you have any questions about that, I'm happy to

 9    answer them.

10            Two more -- actually, I'll just make one more point which

11    is earlier today Mr. Lee was saying again that there's no one

12    at Intel's Austin premises that knows about the technology, and

13    it was pointed out to me, and I didn't mention this earlier, in

14    Mr. Herrgott's declaration, this is Intel's own declaration at

15    Page 10 he says, two of the inventors on the patents in suit

16    are employed by Intel now.        Intel went out and hired VLSI's

17    inventors and they're working for Intel in Austin.          So the

18    notion that the inventors of the patents in suit don't know

19    anything about the technology at issue in this case is one

20    that's very difficult for me to understand.

21            Thank you.

22            THE COURT:    Yes, sir.

23            MR. LEE:     Your Honor, I think what I precisely said was

24    that the people who design and develop the accused features and

25    products were not in Austin.
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 1          THE COURT:    I understood that too.

 2          Now we have the motion to dismiss.       If you'd like to take

 3    that up.

 4          MR. LEE:     Our motion again, Your Honor, so I'll go first.

 5    We have a separate set of slides.

 6          So, Your Honor, I'll try to move through this a little bit

 7    more quickly than we moved through the transfer motion because

 8    we're aware of the opinion Your Honor issued I think yesterday

 9    or the day before that addressed, as I said, some similar

10    issues in the area of direct infringement, indirect

11    infringement, and I thought what might be most useful is if we

12    point out what we think are the differences between the issues

13    Your Honor addressed.

14          THE COURT:    Okay.

15          MR. LEE:     Because I think we agree with you and I'm not

16    sure we disagree terribly with VLSI on what the law is.

17          So as Your Honor knows, if I turn to Slide 2, there are

18    the eight patents asserted, and the focus here is just on one

19    of the patents.     And this is not an effort to just fire off a

20    shotgun at their eight patents.       This is an effort to peel the

21    onion back I think is what we'll try to do because my bet is

22    that by the time they come to trial before Your Honor or

23    wherever there's going to be fewer than eight patents that are

24    probably left to be tried.      So if we take the Iqbal Twombly

25    standard and apply it to the '373 patent, that's the source of
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 1    our argument.

 2          Let me just make one comment on the law very briefly.

 3    VLSI cites a case called In Re Bill of Lading to Your Honor to

 4    suggest that their allegations are sufficient and this sort of

 5    pervades much of the motion to dismiss.        That was a case that

 6    was before the federal rules of procedure were amended and Form

 7    18 was abandoned.

 8          THE COURT:    Well, Mr. Lee, you may or may not know this.

 9    For reasons I have absolutely no idea, I actually wrote a long

10    article on the amendment of that rule and what needed to be

11    pled under in there.     So I'm actually -- this is probably the

12    only area of law I actually know anything about because I had

13    to write a paper and I couldn't find an associate to do it so I

14    had to do it myself.     So I'm pretty up to speed on what needs

15    to be pled in a patent case.

16          MR. LEE:     And, Your Honor, with that backdrop, let me just

17    move quickly the '373 patent.

18          THE COURT:    I keep trying to find that article so I can

19    put a footnote to it in one of my orders, but I haven't cared

20    enough to do it to actually find it.        So maybe I'll have a law

21    clerk find my article on the amended rule -- on the amended

22    pleading requirements.

23          MR. LEE:     If I turn you to Slide 4, Your Honor, the patent

24    concerns minimum memory of operating voltage techniques.             Most

25    importantly for our purposes today, if I turn you to Slide 5,
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 1    the only asserted claim is Claim 16, and this really is simply

 2    a question of whether the allegations of the complaint are

 3    inconsistent with what the claim says on its face and that's

 4    the only reason that we're moving, unlike Your Honor's decision

 5    of a couple days ago where there were arguably sufficient

 6    allegations to support the limitation.        Here what we're saying

 7    is they're simply inconsistent and there are really two

 8    important points.     The claim itself says you're going to

 9    provide a first voltage some of the time and you're going to

10    provide a second voltage some of the time.         It doesn't matter

11    actually what a voltage is.       Doesn't matter what the times are.

12    The claim says you provide first regulated voltage some of the

13    time and you provide a second regulated voltage other times.

14    But the complaint says you always provide the second voltage.

15          THE COURT:    Okay.

16          MR. LEE:     It can't be the same.    They're just simply

17    inconsistent.     And we were looking at the infringement

18    contentions to see if the allegation would be different.             I

19    don't think they are.       They may say they are, but they didn't

20    seem different to me.

21          The second inconsistency is from Paragraph 57 of the

22    complaint.    It's on Slide 7.     And the claim limitation says the

23    second regulated voltage is greater than the first regulated

24    voltage.     But then the complaint says that they're the same.

25    Right?     If you put together Paragraph 56 and 57 which is the
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 1    second voltage is always being supplied and they could be the

 2    same, you can't satisfy the limitation of the claim.

 3          THE COURT:    Got it.

 4          MR. LEE:     And it's just an inconsistency.

 5          The other argument that we've made to Your Honor is more

 6    just a classic Iqbal Twombly argument which is that the claim

 7    requires testing.     You have to do more than just say the words.

 8    What they do is say the words.       They make an argument to Your

 9    Honor about Paragraph 47 in a reference to a chart, but there's

10    no tie other than attorney argument and not even an allegation

11    saying that that's what's at issue.        So this, Your Honor, is a

12    very narrow and specific motion.       It's basically one that says

13    without any claim construction, without any need for technology

14    tutorial, the claims require two things.         They need to be

15    different.    The complaint says that they're either the same or

16    that one's always supplied.       It can't be both.     And that's why

17    we've moved on this patent.

18          If I move to the indirect infringement allegations, to

19    maintain -- and I'm going to do this very quickly, but to

20    maintain the claim, they have to show we either knew or we were

21    willfully blind.

22          THE COURT:    Right.

23          MR. LEE:     And they have to show we knew or were willfully

24    blind to the patents and the acts of infringement.

25          THE COURT:    Right.
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 1          MR. LEE:   There is, I think as Your Honor knows, if I turn

 2    to the first requirement, knew of other patents or were

 3    willfully blind -- if I turn Your Honor to Slide 11, there's no

 4    allegation that we knew of the patents before the suits were

 5    filed.   So the six Delaware patents -- the six patents that

 6    were in the Delaware case before the Delaware action was filed,

 7    the latter two that Mr. Hattenbach referred to when this case

 8    was filed.    I don't think there's any real disagreement.           There

 9    is an argument made to Your Honor that, well, some of Intel's

10    employees are actually named as inventors on these patents;

11    therefore, Intel knew about them.       That knowledge of that

12    individual about that patent is not something that's imputed to

13    Intel as actual notice.      And that's what the cases that are

14    cited on Slide 12 say.      It's a commonsensical resolution.        If

15    you have 17,000 employees, the fact that I know about it but

16    the people making decisions don't is not enough to impute

17    knowledge.

18          So since -- because there's no actual notice, the focus

19    before Your Honor has been on willful blindness.          And again the

20    law's pretty clear.     You have to subjectively believe that

21    there's a high probability that the patents exist and you have

22    to take deliberate actions to avoid learning about the patents.

23          I think, Your Honor, one way to view this is this:

24    They're relying upon willful blindness for both knowledge of

25    the patents or notice on the patents and notice of infringement
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 1    for both.    So if you take those two and put them together,

 2    they're saying there was a subjectively -- we had a subjective

 3    belief that there was a high probability the patents existed

 4    but we took steps to avoid learning about them but yet we had a

 5    subjectively -- there was a subjective belief that there was a

 6    high probability that we infringed the patents and took steps

 7    to avoid that.     It's very hard to put those four things

 8    together and have them hang together, and there's a reason why.

 9    If I take you to Slide 14, the only basis for willfull

10    blindness, and I think this distinguishes Your Honor's order of

11    a couple days ago.     I think I have it correctly.       In Your

12    Honor's order of a couple days ago there was actually a notice

13    letter sent that says you have a problem under these patents.

14    I think it was sent twice in consecutive orders.

15          THE COURT:    That made the lack of notice a little tougher.

16          MR. LEE:     Yeah.   I wouldn't be arguing it if I was stuck

17    with those facts.

18          Here there's nothing like that.       So what's the basis of

19    the willful blindness?      It is that Intel knew about other NXP

20    patents or Intel knew of other patents that the inventors of

21    these patents were inventors on.       So it's basically an argument

22    with that from this large NXP portfolio you know of some other

23    patents you've been accused of infringing or you knew that

24    these inventors were also inventors on other patents and that's

25    enough for a subjective belief that there's a high probability
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 1    that the patents in suit existed, and we would suggest that's

 2    not enough.    Even if it were, the question is, what's the

 3    deliberate action we took to avoid learning of these patents?

 4    And if I turn Your Honor to Slide 16, the focus is on Intel's

 5    corporate policy basically encouraging their engineers not to

 6    consult patents of others when they're designing products, and

 7    it's got a very commonsensical reason which is if you don't

 8    consult the patent, it's pretty -- it's much easier to say we

 9    didn't copy.

10          THE COURT:    Right.

11          MR. LEE:     Right.    And we --

12          THE COURT:    And you're not going to end up with

13    inequitable conduct.

14          MR. LEE:     Right.    And it's hard to say you copied.        It's

15    easier to say you independently developed.

16          As a consequence, if I turn you to Slide 17, the courts

17    have looked at policies like this and said, no.          That's not

18    enough to satisfy the willful blindness.          But even if they

19    could show willful blindness to the existence of these

20    patents -- and, Your Honor, remember these are NXP patents that

21    didn't even make it into the hands of VLSI until like the last,

22    in some cases, 12 months or so.          The idea that we should know

23    about them and we were willfully blind to them where they're

24    moving around these corporate entities is a little bit not

25    commonsensical.
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 1          But even if you could satisfy the willful blindness as to

 2    knowledge, you'd have to satisfy willful blindness as to

 3    infringement as well.      It's both.   And this is where -- not to

 4    leave us at the argument we spent most of our time on today --

 5    if I take Your Honor to Slide 19, this is where Judge Connolly

 6    addressed the indirect infringement claims.         Now, there and

 7    here we're focused on the presuit indirect infringement claims,

 8    and what he says is, VLSI never alleges that Intel had been

 9    willfully blind to the infringement of those patents.

10          Now, the question Your Honor asked me was, well, they say

11    that they've added allegations.       Isn't that enough?     I think

12    there are two answers.      One is, no.    What they've added is just

13    conclusions for Your Honor on the presuit infringement.

14    There's really nothing there substantively, but just for a

15    minute reverting to the earlier motion, the person who could

16    have decided whether it was enough additional would have been

17    Judge Connolly, and that's what we're going to ask him to do.

18          Setting aside that, the question of whether additional

19    words are enough, the additional words are a conclusion and not

20    much more, and if you look at Slide 20, the cases have reached

21    the commonsensical result that that's not enough.          And really

22    what VLSI does is it argues the same thing.         It sort of does a

23    rephrase which says, well, we accused you of infringing some

24    NXP patents, therefore, you should know that you infringed all

25    NXP patents, but that doesn't make any sense at all.
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 1          There were accusations that Intel infringed other patents

 2    naming the same inventors, but they named some of the same

 3    inventors in many others.      All of willful blindness is focused

 4    on the patents in issue.

 5          THE COURT:    Right.

 6          MR. LEE:     Right?

 7          What you know about other things doesn't make a

 8    difference.

 9          And then lastly, Your Honor, the question of

10    enhancement -- and I hope in our prayer for relief in the

11    motion I think we are hopefully specific in the request.             For

12    the indirect infringement claims we are seeking dismissal of

13    the presuit allegations because that's the place where there's

14    no notice.    There's no willful blindness.       There's no knowledge

15    of infringement.

16          For enhancement their allegation is enhancement based upon

17    willfulness, and that is an allegation that has a meeting post

18    Halo, and what it says is you need to allege sufficiently

19    egregious conduct that it rises to the level of piracy,

20    copying, that sort of thing.       There are no allegations here and

21    they don't really say that there are.        And the consequence of

22    this in order to basically take sprawling cases, if that's what

23    Your Honor has before you now, and bring them down to a level

24    where they can be litigated, if you go to Slide 24, the

25    question is this:     If you look at the allegations of their
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 1    complaint, have they alleged basically what you would see in a

 2    garden variety patent case, or have they described conduct that

 3    is sufficiently egregious based upon willfulness that they

 4    should be able to pursue the enhancement claim?          And there have

 5    been multiple cases throughout the country but in the Texas

 6    district courts which has said, no.        Halo really meant

 7    something, and now that Halo's there, if you don't have facts

 8    to allege that demonstrate that egregious conduct, the claim

 9    should be dismissed.

10          Thank you, Your Honor.

11          THE COURT:    Let's assume for a second I grant the motion

12    to dismiss without prejudice of course.

13          MR. LEE:     Right.

14          THE COURT:    And once discovery begins in this case, if I

15    retain it, the plaintiff wants to send you discovery that would

16    establish knowledge or the elements that would allow them to

17    plead both the indirect infringement and/or the claim for

18    enhanced damages, is Intel going to say, sorry.          You haven't

19    pled it so it's not relevant and we're not going to allow it to

20    take place?

21          MR. LEE:     Your Honor, the answer is no.     I mean, if the

22    claims are dismissed because the allegations are insufficient

23    but they seek discovery, for instance, on when we knew about

24    the patents, what we knew about infringement, they're going to

25    be seeking discovery on whether our conduct was egregious to
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 1    some nature.     They're seeking all the engineers, all the

 2    documents.     We're not going to -- we're not going to do that.

 3          THE COURT:    And at what point in the case, assuming that

 4    the plaintiff were diligent -- now remembering if I keep the

 5    case there won't be any discovery taking place until after the

 6    Markman.     It'll happen very quickly after the Markman because

 7    we'll get a decision out very quickly.        God.   I sound like

 8    President Trump.     You know, it'll be the best decision ever.

 9          But -- and let's assume Markman is on X date.         Discovery

10    begins when it can begin.      At what point -- how long, in your

11    opinion, does the plaintiff have an opportunity without

12    objection from Intel to amend its complaint to add these

13    elements back in if they were to establish -- you know, not

14    prove it but just say, based on these -- now that we have this

15    discovery, we want to add one or both of these issues?

16          MR. LEE:     And, Your Honor, could I answer it in two parts?

17          THE COURT:    However you want.

18          MR. LEE:     I think that as a matter of time, the -- they

19    ought to move promptly after they get the information.

20          THE COURT:    Sure.

21          MR. LEE:     So if they get it in the first two weeks of

22    discovery, they ought to move relatively promptly and be able

23    to let us know that they're going to move relatively promptly.

24          (Conference between Mr. Lee and Mr. Ravel.)

25          THE COURT:    Mr. Ravel isn't just a pretty face.        He
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 1    actually knows what's going on.

 2          MR. LEE:     Why don't you just -- you go ahead.

 3          THE COURT:    Mr. Ravel, go ahead.

 4          MR. LEE:     Yeah.    Go ahead.

 5          MR. RAVEL:    An idea that we had in that regard, Judge, is

 6    the pleading amendment deadline that's sometime into fact

 7    discovery would be an appropriate time and one we would stick

 8    by.

 9          THE COURT:    Okay.     Very good.

10          MR. LEE:     And, Your Honor, the only reason I was giving

11    you the answer in two parts is assuming they timely move, we

12    would not oppose on the basis it was untimely.           We might, for

13    instance, under Section 284 we might still challenge whether

14    the amendment was futile.

15          THE COURT:    Oh, absolutely.        Sure.   But let me hear from

16    the plaintiff.

17          MR. LEE:     Thank you, Your Honor.

18          THE COURT:    Mr. Chu, what a pleasure to have you here.

19          MR. CHU:     Thank you, Your Honor.

20          You have slides on our opposition, but let me start

21    without the slides.        One of the arguments has to do with direct

22    infringement, and the position of Intel is that for Claim 16 of

23    the '373 patent the allegations of direct infringement are

24    insufficient.     That claim is a method claim with eight

25    limitations.     Part of the claim language involves just plain
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 1    vanilla stuff, a processor, a processor with memory.           There are

 2    seven detailed pages in the complaint going through each of the

 3    limitations and providing clear, direct allegations of direct

 4    infringement.

 5          So let me give you one example.        And this is an example

 6    that Intel points to in their brief.        They say, well, we're not

 7    on notice under current pleadings standards with respect to

 8    testing.   Testing is mentioned in one of the limitations.

 9    Well, there is a direct allegation that Intel's involved in

10    testing, exactly what they're testing, that they're storing it

11    in a particular kind of memory, a nonvolatile memory.           That

12    alone would be sufficient.      What more do you need?      Suppose the

13    claim says a temperature is taken.         Does someone have to say

14    it's a thermometer under the tongue, a little device put into a

15    child's ear or something else?       No.    So the paragraph on

16    testing by itself is sufficient.

17          The very next paragraph says, for example, here is

18    evidence we know about on testing, and there's a graph that was

19    created by Intel I believe in the public domain now and it has

20    data points, seven different data points, and in the Intel

21    reply brief they attack that allegation by saying, well, that's

22    still not enough because they don't really explain how that

23    screen shot applies as if we have to say what's already on the

24    screen shot, what's on the X axis?         What's on the Y axis?     What

25    are each of the seven data points?         That's apparent, evident,
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 1    and it's also apparent and evident for one of the accused

 2    processors called out by name Ivy bridge.          So the more

 3    generalized allegation is enough.          The for example is not

 4    required by any case that I know of in any district at any

 5    time.    We gave them more and we gave them more than that by

 6    showing them their own screen shot, and there are other

 7    examples along the same line.

 8            I'm going to leave the arguments about direct

 9    infringement.

10            THE COURT:    Yes, sir.

11            MR. CHU:     The arguments about indirect infringement and

12    willful infringement.          There are a variety of different

13    elements, but almost all the arguments are trained on whether

14    or not there is sufficient allegations of knowledge.             Well,

15    there's a great big point not addressed today.          They obviously

16    have knowledge of the exact patents at issue since the filing.

17    They obviously from all the other allegations have knowledge

18    about the other elements for inducement, contributory and the

19    like, since filing.

20            THE COURT:    I didn't take it that there was a complaint

21    of this -- with regard to this since filing.

22            MR. LEE:     No.     The brief in the motion it's for presuit.

23            MR. CHU:     Okay.

24            THE COURT:    That was the way -- right.     I mean, I -- yeah.

25            MR. CHU:     So what I'm saying is that allegations,
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 1    including willful infringement post filing, should remain in

 2    the case.

 3          Now I'm going to go to prefiling.

 4          THE COURT:    I don't think they disagree with that.

 5          MR. CHU:     Okay.    I just wanted to know that we're all

 6    together.

 7          THE COURT:    Yeah.    We're all together.

 8          MR. CHU:     So let's think about it in terms of prefiling.

 9    All the arguments this afternoon and the great bulk of their

10    arguments in their brief they take one little factoid.           They

11    find a case that kind of stands for the proposition that that

12    little factoid standing alone is not enough.         But here's what

13    the law is.

14          THE COURT:    Mr. Chu, let me ask you this because this is

15    what I asked Mr. Lee.       What prejudice is there to you and your

16    client of me dismissing presuit only the indirect claims and

17    the claims for enhanced damages without prejudice with the

18    understanding, as Mr. Ravel pointed out that in this Court when

19    we -- we spent a lot of time -- it doesn't matter what we did,

20    but we kind of took these kind of issues into consideration as

21    we spent a lot of time coming up with the scheduling order, and

22    part of the reason we put in the deadline that we put in was I

23    get this tension of you guys feel -- plaintiff feels like they

24    need to put everything in there or the defense is going to say,

25    oh, we didn't have notice so you can't add it and defendant's
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 1    unhappy because you're saying you're accusing us of enhanced

 2    damages and we didn't even know about it.         What prejudice is

 3    there to you if I were to dismiss those claims without

 4    prejudice clearly only until you're given an opportunity in

 5    this case and under my scheduling order you don't get to do

 6    discovery until after the Markman.        Once the Markman is

 7    completed and the order is -- and I give you the constructions,

 8    then you could immediately take discovery on these issues,

 9    30(b)(6), whatever you needed to do, and if you complied with

10    the intermediate pleading deadline, I can tell you I would

11    allow these claims in for presuit -- for the presuit

12    allegations.     I can't figure out where there's prejudice to

13    you, but maybe I'm just missing it.

14          MR. CHU:     There are eight different patents in the three

15    suits.

16          THE COURT:    Okay.

17          MR. CHU:     There's a real practical issue of timing.         Let's

18    say within three weeks we have sufficient evidence with the

19    first patent but it takes more time to get it for the second

20    patent and more time for the third patent, more time for the

21    fifth patent and so forth.

22          THE COURT:    Well, let me interrupt you for just a second.

23          MR. CHU:     Yes.

24          THE COURT:    Mr. Ravel, remind me how long after the

25    Markman is the deadline to amend the pleadings?
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 1            MR. RAVEL:    In our proposal which is a little richer than

 2    theirs, it's about four months.

 3            THE COURT:    So you would have four months to -- there

 4    would be -- you'd have four months to complete discovery and

 5    move to amend.

 6            Hopefully he passed you a note so that's a good deal.          You

 7    ought to take it, but I'm not sure what he's...

 8            (Laughter.)

 9            THE COURT:    I mean, I'm very sympathetic to you all not

10    wanting to give up your claim, but if I leave them in, you're

11    still going to have to do discovery to prove them up, and it

12    seems to me that this is just a different way of skinning the

13    cat.    Intel's happy because they don't have what they feel are

14    unfounded claims currently pending against them.          You're not

15    prejudiced because if -- if you can do the -- once you do the

16    discovery you want to add them in, I can assure you I'm going

17    to be generous in allowing you to add them in.          So help me out

18    here.

19            MR. CHU:     Okay.   So let me -- first, a small technical

20    matter.

21            THE COURT:    Yes, sir.

22            MR. CHU:     Six of the eight patents they were put on notice

23    earlier in the Delaware action so there was presuit here, small

24    matter, to add to this.        So what I was starting to explain was

25    the timing issue.
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 1            THE COURT:    Okay.

 2            MR. CHU:     Whether it's four months, there's some competing

 3    proposals.    Whether it's four months or some other period of

 4    time.    They will make an argument, I believe, that we should

 5    have come forward earlier if we got sufficient evidence at an

 6    earlier point in time.

 7            THE COURT:    I can tell you without any fear of

 8    contradiction that that would not be a wise thing after having

 9    moved to have these claims dismissed at this time to then argue

10    you should have done it sooner.       I'm -- they've asked them to

11    be removed.     I understand why they want them to be removed

12    without prejudice, and again I'm trying to paint a map for you

13    here that I'm going to be very generous.         I want to have as

14    much equity between the parties as possible.         I'm going --

15    whatever it takes you to get this information, if I feel that

16    it's reasonable in the manner that you did it to get it, I'm

17    going to allow you to add those claims in.         With respect to the

18    defendants, for example, if the defendants have problems on

19    some of these and they can't get you the discovery that you

20    need until three months and three weeks after the Markman,

21    well, then I don't expect Mr. Ravel to allow the great firm of

22    Wilmer Cutler to argue that you're cut off.         And so that

23    wouldn't be wise, and I'm sure they wouldn't even ask them to

24    do that.     And so I'm trying to paint you a picture here that

25    I've done all this stuff, and as long as you all come back in
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 1    here -- you all, that being a collective -- and show me that

 2    you acted promptly in trying to obtain the discovery as soon as

 3    Intel was reasonably able to get you the discovery because, you

 4    know, you're going to have to set up those depositions and all

 5    that stuff too.     As soon as -- and I don't want you all to be

 6    going, well, we've got to -- you know, it's not the most

 7    important part of your case is proving this up.          And so what

 8    I'm saying is I'm going to dismiss without prejudice these

 9    claims, the claims of indirect infringement and the claim for

10    enhanced damages without prejudice.        I want it to be as clear

11    as possible that if plaintiff acts promptly and reasonably to

12    obtain information to be able to fully articulate -- I'm not

13    saying you've got to write a book, but I'm saying as long as

14    you are able to have a Rule 11 basis to file the claims and you

15    do so relatively quickly after Intel gets them to you -- and

16    they may not be able to get you that stuff for six months.             I

17    mean, I don't know how busy Intel is, but we -- there's going

18    to be a rule of reasonableness that is going to be favorable to

19    the plaintiff in being allowed to add these claims back in with

20    Intel having asked me to take them out.

21          MR. CHU:     So let me answer directly the question that

22    you've asked.

23          THE COURT:    Okay.

24          MR. CHU:     It's a fair question.    And then I want to in

25    general talk about the question of prejudice and then with Your
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 1    Honor's permission talk about the state of the pleadings and

 2    the law that should be applied.

 3          THE COURT:    Okay.

 4          MR. CHU:     So, first, Intel's position is that only of

 5    Intel.   So let me give you an example of facts that would

 6    support willfull infringement knowledge of the patent before

 7    the filing in Delaware or the actions before Your Honor.

 8          Freescale, which was the owner of some of the patents,

 9    went to Intel and said, as we understand it, we would like to

10    discuss with you taking a license to the portfolio.          So we

11    subpoena, let's say it's Freescale or maybe individuals who no

12    longer work for Freescale.      Their counsel will be free to stay,

13    you don't have any allegations in your complaint.          We're not

14    going to answer that.

15          NXP at some point in time became owner of the patents.

16    Same thing.    We go to NXP.    They of course don't want to get

17    involved in a litigation where they're not directly involved.

18    From their point of view it's just not a good investment of

19    their time and they take the same position.         It's not a

20    farfetched position.     They're not before Your Honor.        They're

21    not in this hearing.     They can say there are no allegations.

22          And it goes on and on.      There will be other former

23    employees of Intel or other individuals who were never employed

24    by Intel and we will have those discovery battles lumped one on

25    top of the other.
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 1          Second point on prejudice.      Since we have allegations of

 2    willful infringement post filing of the complaints, I don't see

 3    much prejudice to Intel.      It's not as if the Intel board of

 4    directors or the shareholders of Intel will say, oh, my

 5    goodness.    We're so embarrassed by these allegations of presuit

 6    filing of willful infringement as opposed to the kinds of

 7    prejudice that I've mentioned, Your Honor, that we, VLSI, will

 8    find when we're trying to take discovery of non parties.

 9          And the third issue that I mentioned that I wanted to get

10    to is, what is the law?      So the Intel argument has been

11    basically here is a particular factual allegation and then they

12    point to summaries saying that's not enough, but here's what

13    the law is that controls.      The law is not to look at individual

14    factual allegations.     It's to look at all of the allegations as

15    a whole taken together.      And that in fact is the decision in

16    SoftView vs. Apple a decision by Judge Stark in Delaware.            That

17    in fact is the decision in Sovereign vs. Microsoft, an Eastern

18    District of Texas decision.       And so you're trying to look at

19    all the facts together, not individual facts, and to be able,

20    as we believe Intel is trying to do, to nitpick them apart.

21          So there's knowledge which includes willful blindness.

22    Let me focus on willful blindness.        First, we have the

23    situation where Intel has a stated policy, we don't want our

24    people looking at patents.      This is a policy of an ostrich

25    sticking its head in the ground.
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 1          Second, Intel's chief architect for many years, as we have

 2    alleged, has stated the reason for Intel's policy is we just

 3    want to have a defense against treble damages, and that's

 4    exactly why we have this policy.       So it's not just in general

 5    willful blindness.     It's willful blindness specifically with

 6    respect to patent cases and the possibility of treble damages.

 7    So we add to that -- so it's not just willful ostrich like

 8    behavior in the abstract.      We add to that a series of other

 9    facts.     As an example, they hired named inventors on the

10    patents in suit.     What's the law about that?      In the Abstract

11    case, Abstract vs. Dell the Court said, if you're hiring an

12    employee from another company who knows about the patents, and

13    obviously the named inventors know about their own patents,

14    that's sufficient for knowledge.

15          In NASDAQ vs. IEX, the Court is looking at the fact that

16    IEX, the defendant, hired certain employees.         I think it was

17    four employees.     And they had knowledge of the patents and in

18    that case the Court said that is sufficient.         That's NASDAQ

19    vs. IEX.    The first case, Abstract vs. Dell.

20          What about notice not of a specific individual patent but

21    notice about a portfolio?      That exact situation came up in the

22    Raytheon case, and the Court in the Raytheon case said, if you

23    have knowledge in general about the portfolio, that's

24    sufficient, and we allege here that there is such knowledge

25    because Freescale went to Intel and said, we want to license
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 1    our portfolio to you and that includes the patents here.

 2            There are other facts too.    There were NXP patents that

 3    were asserted against Intel.       Intel was involved in the

 4    litigation with respect to working on claim charts about those

 5    patents, not necessarily the specific patents here but part of

 6    the portfolio that is relevant.       So they knew about those

 7    patents.    They knew about other NXP patents in addition to

 8    those being asserted against them, and NXP isn't some random

 9    patent donor.     So here's another fact.     They are competitors.

10    Intel knows that NXP is a competitor.        These are some of the

11    complex of facts taken together.

12            Now maybe I'm going to go to a slide just to summarize

13    this.    If you go to Slide No. 15, it says, the allegations

14    should be taken in combination.       It cites the SoftView case,

15    but I've already told you about the Sovereign vs. Microsoft

16    case from the Eastern District of Texas.

17            And if you look at the next Slide 16, we see Intel's

18    ostrich policy.     Knowledge from the filing of suit, explicit

19    pleading of knowledge, previous lawsuits involving the same

20    inventors, Intel's prior notice of the competitor's portfolio,

21    previous lawsuits involving the same NXP portfolio, Intel

22    instructing its customers with guides on infringing usage.                Of

23    course they know what acts they're telling their customers to

24    do and how to practice the method from their own guides.             So

25    they obviously have both knowledge, and this would fit a number
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 1    of the requirements for indirect infringement, and then of

 2    course Intel's hiring of the inventors in suit.          So that's

 3    Slide 16.    It is a mere summary of some of the facts taken

 4    together under the SoftView decision, under the Sovereign

 5    decision is sufficient for purposes of pleading in a context

 6    where the prejudice to Intel will be modest, if at all, but the

 7    prejudice in discovery to VLSI in fighting multiple discovery

 8    battles with non parties will be significant.

 9          Thank you.

10          THE COURT:    Mr. Lee?

11          MR. LEE:     Let me just make three points.     I think that

12    Your Honor's proposal or suggestion on how to deal with it

13    makes sense to Intel.      We hear Your Honor's admonition about

14    what's expected of us during discovery, and I think that at

15    some point in time you may be asked to decide whether this

16    would be sufficient when there are facts to support it, but

17    there's nothing today.      And the one interesting thing about

18    this Slide 16 is for everything that's on the puzzle, there's

19    nothing about the patents in suit or the infringement of the

20    patents in suit.     Not a thing at all.     And there's a reason

21    because there's no allegation of such.

22          Second point, Your Honor, is on the '373 patent.          I'll

23    just point out that Mr. Chu didn't address the contradictions.

24    He addressed only the testing limitation.

25          And then lastly, Your Honor, to answer the question you
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 1    asked earlier today about the IPRs in California and the

 2    claims, whether all of the claims were subject to IPRs, there

 3    are some claims that Mr. Hattenbach identified of the '014

 4    patent that were not subject to the IPRs.         I think, and we'll

 5    confirm and correct if we need to, that's because we did not

 6    seek an IPR on those claims.

 7            THE COURT:    Thank you, sir.

 8            MR. LEE:     Thank you, Your Honor.

 9            MR. CHU:     Both our papers as well as that single summary

10    slide refer to facts that have been alleged that relate to

11    specific patents in suit before the filing of the Delaware suit

12    or the filing of the suits here.        So we plainly allege that

13    Intel hired as employees named inventors of the patents in

14    suit.    I've already made mention of the Abstract case and the

15    NASDAQ case saying that's sufficient by itself.

16            The '373 patent which we were discussing earlier, one of

17    the named inventors was hired by Intel.        The '522 patent, the

18    '187 patent and the '357 patents, all of those patents in suit

19    before Your Honor, Intel hired named inventors of those

20    patents.    They plainly had actual knowledge under existing case

21    law and Intel has continued since the date of first knowledge,

22    since the date of the suits to continue to engage in practicing

23    infringing acts.       They haven't come forward with an opinion.

24    We think that that conduct is egregious and we alleged

25    egregious conduct.       Under existing law these allegations are
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 1    more than sufficient to maintain willfulness as well as

 2    indirect infringement before the date the suits were filed.

 3          Thank you.

 4          THE COURT:    Okay.   Let me just throw out a random question

 5    that if you say -- my guess is both of you have dealt with this

 6    a million times that I'm curious about.        Will there be any

 7    issue -- I remember having a case from Microsoft where the

 8    inventor of one of the patents we were being sued on had moved

 9    from Bell labs who was suing us to Microsoft and I remember

10    there being issues with respect to what the inventor could and

11    couldn't say in terms of certainly I think with regard to

12    invalidity perhaps.     Are those -- are we going to have issues

13    that we need to be prepared for in this case about that, or am

14    I just imagining this?

15          MR. CHU:     It's a great question.    I've had this occur a

16    lot of times.    So it's not uncommon of course for a

17    semiconductor engineer that was working at Freescale or NXP and

18    maybe Intel and then has moved on to another semiconductor

19    company.   Maybe it's Quallcomm.      Maybe Apple has become a

20    semiconductor company and it goes on and on.         And what does

21    their new employer say to the employee?        When we contact the

22    employee, we'd like to interview you.        If necessary we'll take

23    your deposition.     For some reason there is this tried and true

24    path where the new employer tells the employee not to cooperate

25    because they're concerned the patents might be asserted against
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 1    them as an example.        So it's a big issue and it's not just the

 2    sole former employee that might hire a lawyer to fight the

 3    discovery.     It's the new employer that usually fights the

 4    discovery and fights hard.

 5          THE COURT:    Okay.     We don't need to take up a lot.        I

 6    just -- it's something I want to be proactively letting you

 7    know I have some familiarity so if there's an issue with this

 8    in discovery down the road.

 9          MR. LEE:     Yeah.    I actually took Your Honor's question

10    differently.     There is a doctorate called assignor estoppel I

11    think is what you're thinking of from the Microsoft case where

12    if I assign -- I'm an employee and I assign the patent, then I

13    go off -- I assign it to you.       I go off and --

14          THE COURT:    That's right.        And then I want -- I have a new

15    patent and it would help me to -- that's what I'm thinking of.

16          MR. LEE:     You then sue me.      I can't say, no.     That

17    patent's invalid because I assigned it to you.             There's no

18    assignor estoppel issue in this case.          That's the issue.

19          THE COURT:    And if for some reason we have an issue with

20    respect to any discovery issues that Mr. Chu may have foretold,

21    we'll just deal with them as they come.

22          MR. LEE:     That's the right way to do it, Your Honor.

23          THE COURT:    Okay.     Mr. Chu?

24          MR. CHU:     One sentence.    We're not giving up assignor

25    estoppel as an issue in the case.          It may apply.
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 1            THE COURT:    That's fine.   I would expect.

 2            Here's what we're going to do.     I received a note from the

 3    jury that they have a verdict.       What I'd like for counsel to do

 4    while we're taking care of that is to huddle and come back in.

 5    I don't know what I'm going to do with respect to the Intel's

 6    motion to transfer; however, I do know that my -- in terms of

 7    getting you guys on the docket for a Markman is something that

 8    every day I wait it's harder to do.        So I have the following

 9    dates available to do -- I'm going to set aside two days.            If

10    you all don't need two days, let me know you don't need two

11    days.    And if I decide to transfer it, I'll -- the Markman

12    won't happen.     But -- and something that's unusual for me is

13    that the Markman will take place in Waco.         Ordinarily it would

14    be in Austin, but all my Fridays are booked now pretty solidly

15    on other cases.       So I have available Wednesday, December 4th

16    and December 5th.      We have December 5th and December 6th.        And

17    I have January 22nd and January 23rd.        I'm sensitive to the

18    fact that you guys have, I'm sure, extraordinarily busy

19    dockets.    And so but you guys go confer.       If there is a date --

20    if there's one set that works better for everyone, let me know,

21    and I'll take care of this other matter with regard to the

22    jury.

23            MR. TINDEL:    Do we need to move our --

24            THE COURT:    I don't think you need to move anything, but

25    y'all physically should go -- there's a room right around the
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 1    corner if you turn to the right that you can go discuss.

 2          (Recess taken from 4:56 to 5:08.)

 3          THE COURT:    Mr. Chu, I'll go with you just because you're

 4    the plaintiff.     Mr. Lee is welcome to stand by you.       Have you

 5    all picked a date that you think would be best?

 6          MR. CHU:     Yes.

 7          THE COURT:    And what would that be?

 8          MR. CHU:     December 6th.

 9          THE COURT:    Just the 6th?

10          MR. CHU:     Just the 6th.    Yeah.

11          THE COURT:    Okay.

12          MR. LEE:     We're good with that.

13          THE COURT:    I can get -- I could probably do -- I hate to

14    say this out loud.        I could probably get 20 claim terms done in

15    a day I would think.       I've done -- I haven't had more than a

16    dozen, but I could probably -- and if we needed to go a long

17    day, we could do that.

18          MR. LEE:     That'd be great.

19          THE COURT:    So if that works best for you all -- here's

20    what we're going to do.        I'm going to -- if you all want to

21    provide me with a tutorial, that's fine.         I doubt I will take

22    up any time on the 6th with the tutorial.         My law clerk to be

23    Josh Yi is sitting in the back of the courtroom.          He has a

24    Ph.D. EE so I'm hoping that he -- you know, anything I don't

25    understand, which will be most of it, he'll be able to help me
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 1    with as well as you will on a tutorial, but certainly if you

 2    want to submit a PowerPoint tutorial -- let me explain what I

 3    need -- what helps me in a tutorial.        What doesn't help me at

 4    all is for you all to take disparate quotes from the -- from

 5    the -- why am I blanking on it?       This isn't good.     From the

 6    patent.   You know --

 7          MR. CHU:     Specification.

 8          THE COURT:    Specification.    And say, here are 11 sections

 9    of the specification.      I can read that.    What would help me is,

10    you know, this is a chip.      You know, this is the functionality

11    in this patent.     This was the problem we were having.        You

12    know, we couldn't keep power -- we couldn't keep a power supply

13    long enough.     When we got -- you know, when we fixed it, you

14    know, this is -- this is one of the ways of fixing it.           In

15    other words, something that will put a practical non -- not on

16    the record.    You don't get to use the other sided's PowerPoint

17    and say, oh, look what -- they just claimed something in

18    their -- I mean, this is -- you know, if it were an oil and gas

19    case, this is pipe and it goes in the ground and when we put

20    pipe in the ground, we have a problem sometimes with getting

21    saline back in and this is how it was -- how we fixed it using

22    this valve.    That's what will be helpful on the tutorial.

23    Obviously on the -- at the Markman that is a different kettle

24    of fish and that will be a very normal Markman.

25          So you know, with respect to the Markman, I don't care who
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 1    goes first.     You know, there's no -- there's no limit.        In

 2    other words, if Mr. Lee goes first on the first claim term and

 3    Mr. Chu goes second or whoever, you all will go back and forth

 4    until I either feel like I know it or it doesn't help, but

 5    there's no -- there's no advantage to going first or second

 6    with the exception if one party, and it's usually the

 7    plaintiff, says plain and ordinary meaning, I don't need

 8    someone to stand up and say, plain and ordinary meaning.              I

 9    prefer to start with the party that is out proffering a

10    construction.     Now, that being said, for example, in a case I

11    had -- I did a Markman about a week ago, whatever it was we

12    were talking about even though I wound up going with plain and

13    ordinary meaning, we did have a discussion over whether or not

14    the plain and ordinary meaning could include hardware, hardware

15    and software or software, and I on the record made it clear

16    that it would -- the plain and ordinary meaning would only

17    include hardware or hardware and software but would not include

18    software alone.     So I've done that as well.      But I still would

19    prefer if the plaintiff who typically submits a plain and

20    ordinary meaning, I will probably -- I would go with Intel -- I

21    will allow Intel to argue first and explain the basis and then

22    the other side would have the freedom to do whatever they want

23    in responding.

24          Typically what I'll do, I've done in every case so far.

25    This may be more technical or may be a little longer, but so
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 1    far at the end of every argument on each claim term I've given

 2    you my claim construction at that time and then within

 3    hopefully about three weeks you'll get an order that gives you

 4    the substance and the basis for the claim.         It won't change it.

 5    I have one time in that process corrected something where I

 6    left a word out and I realized it as I was typing it and I

 7    added that word in, but y'all still got it relatively quickly

 8    where I didn't think anyone had been harmed.         It was just a

 9    scribner's error when I read it.       But you should expect a very

10    quick Markman ruling.      If I don't do it that day, it would be

11    the next day.    And so it's not -- and then as soon as you have

12    the Markman ruling, discovery can commence.         I have had parties

13    in the past -- I doubt it would be helpful in this case, given

14    all of the litigation that's going on, but I have had parties

15    in the past ask for a week or two stay on that.          So them having

16    the constructions, they could have a discussion over whether or

17    not they wanted to, you know, settle.        Doubt it would happen in

18    this case, but I would be open to that.

19          At the end of the hearing I will set a trial date.             You

20    should anticipate a trial date that is roughly -- if y'all are

21    December 6th, it would happen -- the trial will happen almost

22    for sure by the end of 2020.

23          In terms of length of the trial, depending on how many

24    patents there are -- the lawyers from the last case got --

25    especially after this trial, but after every trial, I am a
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 1    bigger believer than ever in time limits on lawyers, but

 2    they're not time limits where I'm trying to accomplish, for

 3    example, getting the trial done by the end of the day Friday or

 4    cutting anyone off.     What I'm going to do is I'm going to ask

 5    you all to suggest how many hours you need and then back it up

 6    by saying, we've got this many -- we've got to put on these

 7    witnesses, these inventors, these experts.         I anticipate,

 8    Judge, we'll need 15 hours, and I'll probably give you 15

 9    hours.   It's just -- I will never again start a trial where the

10    time was unlimited because that doesn't work for anybody.            And

11    so lawyers just can't help themselves if they have no ultimate

12    time limit, but y'all will probably get to pick the time limit

13    that I use within reason.      It's not a punitive effort.       It's --

14    I just want people to have some bumper that they've got to

15    finish within.

16          Again, I will work on the order.       I don't know what I'm

17    going to do, but we've set the Markman which is good because

18    you have a date.     Is there anything else we can take up while

19    you gentlemen are here?

20          MR. RAVEL:    Just a question, Judge.

21          THE COURT:    Sure.

22          MR. RAVEL:    The parties are both asking for variances from

23    the default order, more discovery limits, more time to do it.

24    It doesn't seem like that's a pressing question right now, but

25    it will be when Markman comes up.       So how would you like to
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 1    resolve that?

 2            THE COURT:    My attitude is this.    And this is probably for

 3    Mr. Lee and Mr. Chu to understand.        My goal when we came up

 4    with the default scheduling discovery, all that stuff, was to

 5    hopefully come up with an order that was fair enough to both

 6    sides that neither side wouldn't cooperate in amending it

 7    because they already had an advantage.        So my attitude is you

 8    guys can agree to anything you want.         In terms -- how much

 9    discovery you do, when it's done, I don't care.          You can agree

10    on however you want to do the case.        And if you agree to it,

11    God bless you.       If you can't agree to it, we've got -- you have

12    the default.    And if you can't agree to it and you want to

13    be -- somebody wants to change it, you just need to call me and

14    say, we have an issue over how many -- we'd like to do X and

15    Mr. Chu doesn't want to do X, and I understand you're

16    representing Intel and he's representing his client.           I won't

17    be unhappy about that.       That's an important part of your job

18    and I will listen to it and I will say, well, here's what we're

19    going to do.

20            And Mr. Ravel can correct me, but I do always -- I always

21    try and do my best to come to a resolution that I think is the

22    most helpful to the case and so I probably will ask you why you

23    need that and why you don't want it and then I'll probably try

24    and figure out the best solution that I can figure out for the

25    case.    So does that answer you?
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                                                                             109



 1          MR. RAVEL:    Yes, Judge.

 2          THE COURT:    Anything else?

 3          MR. LEE:     Nothing from Intel, Your Honor.

 4          MR. CHU:     Not on our side.   You were very clear.      It

 5    sounds superb.

 6          THE COURT:    Okay.    Again I hope you tell Mr. Regan he was

 7    a phenomenal opponent and one of the greatest gentleman I've

 8    ever met.

 9          MR. LEE:     His office is right next door to mine.       So I

10    will for sure.

11          THE COURT:    Okay.    You all have a great week what's left

12    of it and I may or may not see this group -- hopefully I will

13    see all of you again.       I don't know if it will be in this

14    combination or not, but I appreciate all the lawyer arguments.

15    They were terrific.

16          MR. CHU:     Thank you very much, Your Honor.

17          (Hearing adjourned at 5:18 p.m.)

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 1    UNITED STATES DISTRICT COURT )

 2    WESTERN DISTRICT OF TEXAS         )

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 4          I, Kristie M. Davis, Official Court Reporter for the

 5    United States District Court, Western District of Texas, do

 6    certify that the foregoing is a correct transcript from the

 7    record of proceedings in the above-entitled matter.

 8          I certify that the transcript fees and format comply with

 9    those prescribed by the Court and Judicial Conference of the

10    United States.

11          Certified to by me this 6th day of August 2019.

12
                                   /s/ Kristie M. Davis
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